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                           Nos. 24-1021, 24-1055
                                    IN THE
United States Court of Appeals for the Federal Circuit
                          ____________________

      FATE THERAPEUTICS, INC., WHITEHEAD INSTITUTE
               FOR BIOMEDICAL RESEARCH,
                     Plaintiffs-Appellants

                                      v.

                   SHORELINE BIOSCIENCES, INC.,
                      Defendant-Cross-Appellant
                       ____________________

On Appeal from the U.S. District Court for the Southern District of California,
     The Honorable Marilyn L. Huff, Case No. 3:22-cv-00676-H-MSB
                         ____________________

CORRECTED OPENING BRIEF OF PLAINTIFFS-APPELLANTS FATE
   THERAPEUTICS, INC. AND WHITEHEAD INSTITUTE FOR
               BIOMEDICAL RESEARCH
                  ____________________

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                   REPRESENTATIVE CLAIMS-IN-SUIT

Representative Method Claim

U.S. Patent No. 8,940,536:

1.    A method of making a primary somatic cell more susceptible to
      reprogramming to a less differentiated state, comprising: introducing an
      exogenous nucleic acid encoding an Oct 4 protein operably linked to at least
      one regulatory sequence into the somatic cell, wherein expression of the
      exogenously introduced nucleic acid results in making the somatic cell more
      susceptible to reprogramming to a less differentiated state.
Representative Composition Claim

U.S. Patent No. 8,071,369:
1.    A composition comprising an isolated primary somatic cell that comprises an
      exogenously introduced nucleic acid encoding an Oct4 protein operably
      linked to at least one regulatory sequence.




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                        CERTIFICATE OF INTEREST

     Counsel for Appellants, Kevin P. Martin, certifies the following:

1.   Represented Entities. Provide the full names of all entities represented by
     undersigned counsel in this case. Fed. Cir. R. 47.4(a)(1).

     Fate Therapeutics, Inc. and Whitehead Institute for Biomedical Research

2.   Real Party in Interest. Provide the full names of all real parties in interest
     for the entities. Do not list the real parties if they are the same as the entities.
     Fed. Cir. R. 47.4(a)(2).

     None/Not Applicable

3.   Parent Corporations and Stockholders. Provide the full names of all parent
     corporations for the entities and all publicly held companies that own 10% or
     more stock in the entities. Fed. Cir. R. 47.4(a)(3).

     None/Not Applicable

4.   Legal Representatives. List all law firms, partners, and associates that (a)
     appeared for the entities in the originating court or agency or (b) are expected
     to appear in this court for the entities. Do not include those who have already
     entered an appearance in this court. Fed. Cir. R. 47.4(a)(4).

     Greenberg Traurig, LLP: Aimee Housinger, Ben Witte, Brent Douglas
     Sokol, Danielle Zapata Mills, Giancarlo Luca Scaccia, Jeffrey Ray Colin, Lisa
     Christine McCurdy, Wen Xue

     Duane Morris LLP: Daniel Doft

     Wright, L’Estrange & Ergastolo: Joseph Thomas Ergastolo

5.   Related Cases. Provide the case titles and numbers of any case known to be
     pending in this court or any other court or agency that will directly affect or
     be directly affected by this court’s decision in the pending appeal. Do not
     include the originating case number(s) for this case. Fed. Cir. R. 47.4(a)(5).
     See also Fed. Cir. R. 47.5(b).



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     None/Not Applicable

6.   Organizational Victims and Bankruptcy Cases. Provide any information
     required under Fed. R. App. P. 26.1(b) (organizational victims in criminal
     cases) and 26.1(c) (bankruptcy case debtors and trustees). Fed. Cir. R.
     47.4(a)(6).

     None/Not Applicable


February 8, 2024                                     /s/ Kevin P. Martin
                                                       Kevin P. Martin




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                                     GLOSSARY

’369 patent                 U.S. Patent No. 8,071,369

’856 patent                 U.S. Patent No. 8,932,856

’797 patent                 U.S. Patent No. 8,951,797

’536 patent                 U.S. Patent No. 8,940,536

’490 patent                 U.S. Patent No. 9,169,490

’917 patent                 U.S. Patent No. 10,457,917

’744 patent                 U.S. Patent No. 10,017,744

CSO                         Chief Science Officer

DOE                         Doctrine of equivalents

ES cells                    Embryonic stem cells

Fate                        Fate Therapeutics, Inc.

iPSC                        Induced pluripotent stem cell

Lonza                       Lonza Walkersville, Inc.

Patents-in-suit             The ’369 patent, ’856 patent, ’797 patent, ’536 patent,
                            ’490 patent, ’917 patent, and ’744 patent

POSA                        Person of skill in the art

SCNT                        Somatic cell nuclear transfer

Shoreline                   Shoreline Biosciences, Inc.

UCSD                        University of California, San Diego




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                     STATEMENT OF RELATED CASES

      The following cases are related to these consolidated appeals, as defined by

Fed. Cir. R. 47.4(a)(5):

      None.




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                                 INTRODUCTION

      The district court granted summary judgment of non-infringement to

defendant Shoreline Biosciences and against plaintiff Fate Therapeutics based on

errors in claim construction, including the adoption of constructions that were the

opposite of how both of the parties said a POSA would understand the claims. This

Court should reverse.

      The patents-in-suit relate to methods for “reprogramming” adult “somatic”

cells to a less “differentiated” state.    The creation of less-differentiated cells,

including induced pluripotent stem cells or iPSCs, through the reprogramming of

adult cells has allowed researchers and doctors to pursue avenues of scientific

investigation and medical treatment that previously would have required embryonic

or fetal stem cells, with all of their associated ethical concerns. The inventors of the

patents-in-suit, including a founder of Fate, discovered that adding “transcription

factor” Oct4 to somatic cells would increase the efficiency of reprogramming. They

obtained method patents claiming the use of exogenous Oct4 to make somatic cells

“more susceptible” to reprogramming and composition patents claiming somatic

cells modified with exogenous Oct4.         The specification of the patents-in-suit

contrasts reprogramming somatic cells from a prior art method of creating

pluripotent cells—somatic cell nuclear transfer, or SCNT—in which a somatic cell

is not itself reprogrammed, but instead has its nucleus transferred to an egg cell.



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      The district court’s grant of summary judgment of non-infringement to

Shoreline largely turned on claim construction. To start, the court held that the

asserted method claims only cover the use of Oct4 to make SCNT more efficient,

not to make reprogramming somatic cells more efficient. It did this by construing

“reprogramming” to include SCNT and then construing “more susceptible to

reprogramming” to mean an increase in “cloning efficiency,” a metric only literally

applicable to SCNT. But if there was one thing the parties agreed on, it was that a

POSA would read the claims to apply to the reprogramming of somatic cells—the

opposite of the court’s construction.

      In construing the claims’ literal scope to be limited to SCNT, the district court

committed textbook claim construction errors. It failed to give primacy to the claim

language read as a whole, adopting a construction that renders the claims nonsensical

on their face. It relied on the fact that only an SCNT experiment was described in

the specification, when precedent is clear that a specification’s disclosure of only a

single embodiment does not limit the claims absent further disclaiming language of

the kind missing here. Likewise, the court found prosecution history disclaimer in

the absence of any clear and unmistakable statements disavowing use of the

invention to make reprogramming more efficient. The court’s erroneous claim

construction was case dispositive with respect to literal infringement, as Shoreline

uses iPSCs made by reprogramming somatic cells, not SCNT.


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      The district court, again relying on prosecution history disclaimer, also held

that the method claims require a rigidly distinct two-step process, with Oct4 added

and taking effect before any other step in reprogramming—such as the addition of

other transcription factors—occurs. But nothing that happened during prosecution

remotely warrants that construction.        During prosecution, the applicants had

submitted some claims covering a method of reprogramming somatic cells through

the addition of Oct4 alone. The examiner rejected those claims, explaining that the

specification did not show that Oct4 alone could reprogram somatic cells, but instead

that Oct4 could “prime” somatic cells for reprogramming. The applicants responded

by limiting their claims to “making the somatic cell more susceptible to

reprogramming.” At no point did the examiner ever opine that Oct4 needed to be

added to a somatic cell as a prior and entirely separate step from the addition of other

transcription factors, and at no point did the applicants ever describe the claimed

method that way. To the contrary, certain claims expressly require additional

transcription factors to be added as part of the claimed method.

      Even if some two-step process is required, the district court still erred by

granting summary judgment to Shoreline. A reasonable jury could find that two

steps were used to make Shoreline’s iPSCs based on evidence that, even when Oct4

is added at the same time as other transcription factors, it is the Oct4 that takes effect

first and makes it possible for the other transcription factors to play their part. A


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jury also could find two steps based on evidence that Oct4 performs its priming

function while the cells are in one growth medium, and then reprogramming requires

somatic cells to be moved to a second, different growth medium.

      The district court committed one more error with respect to the method claims:

finding, with respect to a particular accused line of iPSCs, that there was insufficient

evidence that the claimed method was used after the January 13, 2015 issuance of

the first method patent. Fate identified documentary evidence that the claimed

method was used in late January 2015, whereas Shoreline had a mere declaration

stating it happened in 2014. Resolving credibility issues in favor of Fate as the non-

moving party, the district court should have denied summary judgment on this issue.

      Finally, as relevant to both the asserted method and composition claims, the

district court erred in holding that Fate lacked evidence that Shoreline had the intent

to induce one of its suppliers to infringe. According to the district court, Shoreline

may not have known that the supplier would use Oct4 to create the accused iPSCs.

There was ample evidence, however, that Shoreline knew the supplier would

necessarily employ Oct4, and the district court should not have resolved credibility

determinations in favor of Shoreline at summary judgment.

      For all these reasons, the Court should reverse the grant of summary judgment

to Shoreline and remand for further proceedings.




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                       STATEMENT OF JURISDICTION

      The district court had jurisdiction under 28 U.S.C. §§ 1331, 1338. That court

entered judgment in Shoreline’s favor on August 31, 2023, and Fate timely appealed

on September 27, 2023. Appx1-2; Appx173. This Court has jurisdiction under 28

U.S.C. § 1295(a)(1).

                        STATEMENT OF THE ISSUES

      1.     Whether the district court erred in construing the asserted method

claims to apply only to SCNT and entering summary judgment of non-infringement

on this basis.

      2.     Whether the district court erred in construing the asserted method

claims to require the addition of Oct4 prior to and separate from other transcription

factors and entering summary judgment of non-infringement on this basis.

      3.     Whether the district court erred in granting summary judgment of non-

infringement with respect to the Lonza iPSC line on the disputed basis that the

alleged infringing acts occurred before issuance of the first asserted method patent.

      4.     Whether the district court erred in granting summary judgment of non-

infringement to Shoreline on Fate’s claims of induced infringement.




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                           STATEMENT OF THE CASE

I.    The technology at issue relates to reprogramming adult somatic cells to
      give them qualities akin to embryonic stem cells.

             A.     Adult somatic cells and embryonic stem cells differ in their
                    ability to “differentiate” into other types of cells.

      Somatic cells are the most common cell type, making up all the organs and

tissues in our bodies except for the germ cells—sperm and egg cells—involved in

reproduction. Appx11491-11492(¶24). During human development, embryonic

stem cells “differentiate” to become the various types of somatic cells, such as blood

cells, nerve cells, and muscle cells.           Embryonic stem cells are considered

“pluripotent” stem cells, referring to their ability to differentiate into any type of cell

in the body. Appx11493(¶28). Adult stem cells, on the other hand, are considered

“multipotent” stem cells because they have the ability to differentiate only into cell

types of a specific tissue. Appx11493-11494(¶29). Pluripotent cells are deemed

fully de-differentiated and multipotent cells are deemed partially differentiated.

Appx11494(¶30).

      Because “pluripotent cells can become any type of cell in the body,” they “can

be used to replace cells and tissues that,” for one reason or another, have been “lost

or degenerated.” Appx3437(¶33); Appx11493(¶28). Researchers and medical

professionals therefore covet pluripotent cells as “valuable resource[s] for




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developing or testing therapies” for, inter alia, “organ replacement[s]” and for “cell

therapies” for the treatment of cancer. Appx3437(¶33).

             B.    The prior art taught only methods of generating pluripotent
                   cells that raised ethical concerns.

      Before the priority date, pluripotent human stem cells could be harvested from

two sources: (1) embryonic stem cells—cells derived directly from an embryo; and

(2) embryonic germ cells—cells derived directly from the fetal tissue of aborted

fetuses. Appx2716. Given their sources, both types of pluripotent stem cells were

highly controversial. Id.; Appx2972(¶43).

      Pluripotent stem cells for other mammals also could be manufactured using

somatic cells employing a process known as somatic cell nuclear transfer, or SCNT.

Appx2972-2973(¶44). As the name suggests, SCNT involves transferring a somatic

cell’s nucleus into an egg cell, also known as an oocyte, that has had its own nucleus

removed. Id. The oocyte with the somatic cell nucleus is then stimulated to divide

and begin development to the blastocyst state, with an embryonic stem cell line,

referred to under these circumstances as a “cloned” embryonic stem cell line,

harvested from the blastocyst. Id. SCNT’s reliance on blastocysts, however, made

this process controversial as applied to humans too.                Appx2972(¶43);

Appx8296(¶82).

      Accordingly, as of 2003 there was a significant need in the art for methods of

creating pluripotent human stem cells that did not require controversial sources of

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material. Appx2973(¶45). Researchers were beginning to explore whether somatic

cells could themselves be “reprogrammed” into a “less differentiated” state,

avoiding the need to use embryonic or fetal cells, or oocytes.          Appx11494-

11496(¶¶32-34).

             C.    The inventors discover that transcription factor Oct4 makes
                   somatic cells more susceptible to reprogramming.

      The inventors of the patents-in-suit, Drs. Rudolf Jaenisch and Konrad

Hochedlinger, are renowned stem cell researchers. Dr. Jaenisch is known for

creating the first transgenic mouse and has won the first Peter Gruber prize in

Genetics (2001), the Robert Koch Prize for Excellence in Scientific Achievement

(2002), and the Charles Rodolphe Bruphacher Foundation Cancer Award (2003).

Appx10130-10131(¶4); see also Appx2737 (Shoreline’s expert, Dr. Snyder,

testifying that “it was an oversight for [Dr. Jaenisch] to not have gotten the Nobel

Prize”). As relevant here, Dr. Jaenisch received the prestigious Massry Prize in 2008

for his work in the field of iPSCs. Appx10130(¶4). Dr. Hochedlinger also has been

recognized for his work, including receiving the NIH Director’s Innovator Award in

2007 for “Reprogramming of somatic cells by defined factors” and the Scholar

Award by the Sydney Kimmel Foundation for Cancer Research in 2007.

Appx10111(¶3).

      Turning their focus to reprogramming, the inventors explored the use of

transcription factors, which are proteins binding to specific DNA sequences that

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regulate the expression of genes to give each cell type its characteristic properties.

Appx11494(¶31). They discovered that, by overexpressing a transcription factor

known as “Oct4” in a somatic cell, they could increase the yield of “ES cells,” a term

referring here to embryonic stem cells. Appx2716; Appx2725. This finding is

demonstrated by a working example in the specification, in which the inventors

disclosed that overexpression of Oct4 improved the efficiency of SCNT in

generating ES cells by more than twofold, from 3% on average to 7% on average,

and also increased the percentage of blastocyst formation. Appx2724-2725.

      While that experiment involved SCNT, the patents’ specification discloses

that the experiment’s results also mean that Oct4 will make somatic cells “more

susceptible to reprogramming.” Appx2725; see also Appx2724 (“Oct4-Induced

Fibroblasts are More Susceptible to Reprogramming than Unduced Fibroblasts as

Demonstrated by Nuclear Transfer Experiment.”). Fate’s expert Dr. Plath, herself a

renowned expert in the field, 1 explained that “[a] POSA would expect that the role

of Oct4 in the Example of the Asserted Patents, involving reprogramming via SCNT,

is the same as its role in transcription factor-based reprogramming because both

processes require the opening of closed chromatin of somatic cells around



1
  Dr. Plath, a Professor of Biological Chemistry at UCLA, is a leader in the fields of
stem cell biology, epigenetics, and gene regulation. Appx2961(¶4). She and her
team are known worldwide for their research into the mechanisms underlying the
reprogramming of somatic cells into iPSCs. Appx2965(¶18).

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pluripotency genes before reprogramming can occur.” Appx11500-11501(¶44); see

also Appx2975(¶52) (Dr. Plath explaining that the SCNT experiment “provid[es]

evidence that exogenously expressed Oct4 makes somatic cells more susceptible to

reprogramming to a less differentiated state”); Appx10131-10132(¶8) (Dr. Jaenisch

explaining that “[i]n both [direct reprogramming and SCNT], OCT4 must bind to

DNA in the chromatin to unwind the DNA from associated histones and permit

subsequent gene expression”); Appx10112(¶7) (Dr. Hochedlinger explaining “if one

were to refer to the function of Oct4 in the SCNT experiment in the Asserted Patents

as ‘priming,’ then Oct4 would serve the same function in a direct reprogramming

process”).

      In terms of measuring the increased susceptibility of somatic cells to

reprogramming, Dr. Plath explained that a POSA would understand that a somatic

cell normally “has no susceptibility to reprogramming,” and hence any “minor or

major changes in the somatic cell which move the cell in the direction toward

pluripotency” would indicate that it has been made “more susceptible to

reprogramming.” Appx2981-2982(¶67) (emphasis added). Such changes include

“the expression of an endogenous pluripotency gene (i.e., genes that are expressed

primarily in pluripotent stem cells)”; “the presence of cell surface markers … or

other cellular markers … indicative of reprogramming”; and “other pluripotency




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characteristics such as ES cell-like growth rate and morphology.” Appx2981-

2984(¶¶67-70).

       The inventors’ discovery of the critical role exogenous Oct4 plays in making

somatic cells more susceptible to reprogramming set the stage for the identification

of additional transcription factors for use in reprogramming somatic cells.

Appx2984-2985(¶¶73-79). In 2006, Dr. Shinya Yamanaka identified a “cocktail” of

four transcription factors, including Oct4, which together reprogrammed somatic

cells into pluripotent cells, an invention for which he won the Nobel Prize.

Appx11496(¶35); Appx8293(¶78). Even today, Oct4 is considered the most critical

transcription factor for producing high quality pluripotent stem cells and is used in

all   commercial       methods     for   reprogramming      somatic   cells   to   iPSCs.

Appx11500(¶41).

             D.    The patents-in-suit.

       Following their invention in 2003, the inventors applied for and were awarded

the patents-in-suit.    The inventors’ applications included some method claims

covering “reprogramming a primary somatic cell” using exogenous Oct4.

Appx2667. The examiner, however, rejected those claims, explaining that in her

view the specification did not enable “a method of reprogramming a primary somatic

cell to a less differentiated state” using Oct4 “alone.” Appx1467-1468. In particular,

the examiner noted that, in the SCNT experiment in the specification, Oct4 was used



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together with other transcription factors in the oocyte. Appx1475-1477; Appx1479.

The examiner repeated the point that the use of Oct4 “alone” or “solely” could not

reprogram somatic cells numerous places in the prosecution history.              E.g.,

Appx1471-1473; Appx1478-1479.

      The examiner recognized, however, that using Oct4 alone could result in an

“additive” effect which made reprogramming more “efficient.”                Appx1466;

Appx1479. And the examiner concluded that the application “provided specific

guidance to a means of priming somatic cells for reprogramming.” Appx1466-1467;

see also Appx1470 (“The specification describes a method of priming a somatic cell

for reprogramming by solely introducing Oct4[.]”).

      Therefore, in response to the examiner’s grounds for rejection, the inventors

amended most of their method claims to change from a method of “reprogramming”

using Oct4 to a method of “making a primary somatic cell more susceptible to

reprogramming” using Oct4. Appx1486 (cleaned up). They did not need to amend

claims 1 and 2 of the ’856 patent to adopt this approach, because those claims already

included the “more susceptible” formulation. Appx3994; Appx3492.

      Claim 1 of the ’536 patent is representative of the method claims. It recites:

             A method of making a primary somatic cell more
             susceptible to reprogramming to a less differentiated state,
             comprising: introducing an exogenous nucleic acid
             encoding an Oct 4 protein operably linked to at least one
             regulatory sequence into the somatic cell, wherein
             expression of the exogenously introduced nucleic acid

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             results in making the somatic cell more susceptible to
             reprogramming to a less differentiated state.

Appx3086. The applicants also received composition claims, of which claim 1 of

the ’369 patent is representative: “A composition comprising an isolated primary

somatic cell that comprises an exogenously introduced nucleic acid encoding an

Oct4 protein operably linked to at least one regulatory sequence.” Appx3030.

      The earliest of the method patents-in-suit issued on January 13, 2015. Appx4-

5. The patents are owned by the Whitehead Institute at MIT, which exclusively

licenses them to Fate. Appx5.

II.   The parties Fate and Shoreline compete in the market for iPSCs.

      Fate is a clinical-stage biopharmaceutical company dedicated to the

development of first-in-class cellular immunotherapies for patients with cancer, and

is the exclusive licensee of the patents-in-suit. Appx85; Appx4161(¶13); Appx4226;

Appx11146. Among its founders is Dr. Jaenisch, the inventor of the patents-in-suit.

Appx10130(¶1). Fate’s work entails using a proprietary iPSC product platform to

produce homogeneous cell products that deliver more effective pharmacologic

activity to cancer patients. Appx4428. This first-of-its-kind approach involves

engineering human iPSCs to manufacture cell therapy products that can be delivered

off-the-shelf for patient treatment. Id. Fate’s iPSC platform was designed to

overcome the problems associated with the production of cell therapies using

patient- or donor-sourced cells. Id.


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       Shoreline was founded in May 2020. Appx5927. Like Fate, Shoreline

develops immunotherapies derived from iPSCs. Appx5967; Appx6066-6067; Appx

8273-8282(¶¶46-66). Shoreline describes its business as “developing specialized

cells called natural killer cells,” which it develops by “start[ing] with [iPSCs] and

differentiat[ing] them into” natural killer cells. Appx2598. To pursue its business,

Shoreline acquired iPSCs from five other companies including, as relevant to issues

on this appeal, Lonza and Thermo Fisher. Appx112 n.12; Appx115; Appx5927.

       One of Shoreline’s founders and its former acting CSO is Dr. Daniel

Kaufman, a professor at UCSD. 2        Dr. Kaufman specializes in iPSCs.         See

Appx11508-11509(¶59). At the same time he was founding Shoreline, Dr. Kaufman

also was serving as a scientific advisor to Fate. Appx10784-10785(¶61). Indeed,

Dr. Kaufman and his Shoreline co-founders often referred to Shoreline as “Fate 2.0.”

Appx11157.

III.   Procedural history

             A.    Fate files suit against Shoreline.

       On May 13, 2022, Fate filed this lawsuit against Shoreline, alleging that

Shoreline was infringing the ’369, ’856, ’797, ’536, ’490, and ’917 patents under 35

U.S.C. §§ 271(a), 271(b), and 271(g). Appx190-217. On February 14, 2023, Fate


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 Dr. Kaufman was a named defendant. On June 9, 2023, the district court granted
Fate’s unopposed motion to dismiss Dr. Kaufman from the case with prejudice.
Appx5311-5312.

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filed an amended complaint adding a claim for infringement of the ’744 patent.

Appx4216-4223.

      Fate alleged that Shoreline infringed the asserted patents in three different

ways. First, Fate alleged that Shoreline directly infringed the asserted method

patents under § 271(g) by purchasing and using iPSCs created by third parties using

the patented methods.       Appx91-92; Appx4190; Appx4202; Appx4213-4214;

Appx4220-4221. Second, Fate alleged that Shoreline violated § 271(b) by inducing

third-party suppliers of iPSCs such as Thermo Fisher to infringe the asserted patents

under § 271(g).    Appx113-115; Appx4183; Appx4189; Appx4195; Appx4201;

Appx4207. And third, Fate alleged that Shoreline directly infringed the asserted

patents under § 271(a) by making, using, offering to sell, and/or selling, in the United

States, or importing into the United States, iPSCs that infringed at least one claim of

each asserted patent.        Appx118; Appx4180; Appx4185-4186; Appx4192;

Appx4197-4198; Appx4204; Appx4209.

             B.     The district court construes the method claims to cover only
                    SCNT and to require a rigidly distinct two-step process.

      On February 7, 2023, the district court issued its claim construction order. As

relevant to this appeal, the court construed “reprogramming to a [pluripotent/less

differentiated] state” and “makes the cell more susceptible to reprogramming.”

Appx16-37. While the court construed those terms separately, they appear together




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in the method claims:       e.g., “making a somatic cell more susceptible to

reprogramming to … a less differentiated state.” Appx3144.

      1.     With respect to “reprogramming to a [pluripotent/less differentiated]

state,” one dispute between the parties was whether “reprogramming” should be

limited to “direct reprogramming.” Shoreline argued that the word “direct” was

necessary to exclude use of the claimed method in connection with SCNT, asserting

that SCNT was excluded from the scope of “reprogramming” by the language of the

claims, the specification, and the prosecution history. Appx2607-2610. Shoreline’s

expert Dr. Snyder supported that position, opining that “[t]he claim language of the

asserted method claims … makes clear that the alleged invention was the [sic]

making a somatic cell more susceptible to direct reprogramming to a less

differentiated or pluripotent state, and not the use of the existing nuclear transfer

technology.” Appx3463(¶73). In response, Fate agreed that the claims do not reach

SCNT:      “Plaintiffs do not argue the Asserted Claims encompass SCNT as

Defendants presuppose.” Appx4827. Fate instead opposed inclusion of the word

“direct” in the claim construction on the basis it had no fixed meaning to a POSA

and would be confusing. E.g., id.

      The district court, however, held that the claimed methods do apply to SCNT.

Appx16-22. In the course of doing so, the court also repeatedly hinted that the

claimed methods do not apply to reprogramming somatic cells: “the claims at issue


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are not directed to methods of reprogramming a somatic cell.” Appx22; see also

Appx22 n.11 (“the method claims … are not directed to methods of reprogramming

somatic cells”).

      2.     After first construing the claims to apply to SCNT, the district court

then construed “makes the cell more susceptible to reprogramming” to limit the

claims just to SCNT. Appx22-35. Fate had proposed that this term be construed to

mean “improves the efficiency of reprogramming the cell.” Appx22. In support,

Fate pointed to the passage in the specification disclosing that, in the SCNT

experiment, “blastocyst formation and ES cell derivation … is more efficient from

Oct4 induced fibroblast than from uninduced fibroblasts.”             Appx2696-2697;

Appx2725. “This result,” the specification states, “demonstrated that induced Oct4

expression in somatic cells such as fibroblasts make these cells more susceptible to

reprogramming.” Appx2725. As recounted above, Fate’s expert Dr. Plath explained

how a POSA would determine whether the efficiency of reprogramming had been

improved. See supra, pp. 10-11.

      Shoreline, for its part, asserted that the term is indefinite, arguing that a POSA

would not understand how to determine whether a somatic cell had been made more

susceptible to reprogramming.      Appx2611-2615.         In the alternative, Shoreline

argued that the term should be construed to mean “prime the cell for subsequent

reprogramming.” Appx2615-2618.


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      Once again, whatever their differences, both parties construed this claim

language as relating to the reprogramming of somatic cells.

      But on this issue too, the district court adopted a claim construction that was

(in relevant part) proposed by neither party, because it limited the claims to SCNT.

Specifically, while the court agreed with Fate that “makes the cell more susceptible

to reprogramming” should mean an increase in “efficiency,” the court then went far

beyond what either party had proposed by limiting “efficiency” to “cloning

efficiency.” Appx25. In doing so, the court emphasized that cloning efficiency is

the type of efficiency discussed in the specification’s SCNT experiment and that

cloning efficiency was discussed by the examiner and the applicants in the context

of that experiment. Appx25-28.

      The parties’ experts had agreed, however, that cloning efficiency is a metric

applicable only to SCNT, not reprogramming somatic cells. E.g., Appx8304(¶92)

(Shoreline’s expert Dr. Snyder stating “Dr. Plath and I agree that improved cloning

efficiency is directed to more efficient blastocyst formation and ES cell derivation,

which are SCNT-specific results. There is no question that blastocyst formation and

ES cell derivation never occur in iPSC reprogramming.” (footnotes omitted)). The

court’s construction thus limited the literal scope of the claims to use of the claimed

method in connection with SCNT.




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      3.     Having issued those two constructions effectively limiting the method

claims to SCNT, the district court then addressed Shoreline’s argument that “makes

the cell more susceptible to reprogramming” should be read to mean “primes the cell

for subsequent reprogramming.” Appx28-34. The crux of the dispute here was

whether Oct4 must make cells “more susceptible to reprogramming” before any part

of the reprogramming begins; according to Shoreline, “[t]he reprogramming of the

somatic cell to a pluripotent or less differentiated state must ... occur in a subsequent

step that occurs after first priming the somatic cell for reprogramming.” Appx2617

(emphasis in original). Shoreline argued that its proposed two-step construction was

supported by the prosecution history of the ’536 patent—specifically, by the

examiner’s use of the word “priming.” Appx2617-2618.

      Fate contested Shoreline’s proposed construction, noting that the dispute

between the applicants and the examiner during prosecution had focused on whether

Oct4 “alone” or “solely” would reprogram somatic cells, not whether Oct4 needed

to be added and to take effect in a first step of reprogramming. Appx4820-4821.

      The district court agreed with Shoreline, finding that the applicants had

disclaimed the use of Oct4 except to “prime” somatic cells for reprogramming.

Appx28-33. The court also agreed with Shoreline that “priming” must occur as the

first step in a two-step process, noting that the specification’s SCNT experiment

involved “induc[ing] Oct4 expression” in the cells before the nuclear transfer


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occurred. Appx33-34; see also Appx34 (“the specification, consistent with the

examiner’s description, describes it as a two-step process”).

      4.     Fate moved for reconsideration of the claim construction order, which

the district court denied. See Appx43-70.

             C.    The district court grants summary judgment to Shoreline.

      On August 30, 2023, the district court granted Shoreline’s motion for

summary judgment of non-infringement. Appx83-120.

                           The district court enters summary judgment for
                           Shoreline on Fate’s claims under § 271(g).

      The district court first addressed Fate’s claims for direct infringement of the

asserted method claims under § 271(g), which were based on Shoreline’s purchase

and use of iPSCs manufactured by third parties. Based upon its claim construction,

the court agreed with Shoreline that Fate could not prove direct infringement.

      With respect to the “priming” issue, Shoreline argued that “the

reprogramming processes used by the iPSC manufacturers at issue do not satisfy the

relevant two-step requirement because … Oct4 is added with other transcription

factors in one step to initiate the reprogramming process.” Appx93. In response,

Fate submitted evidence from Dr. Plath explaining that even if Oct4 is added at the

same time as the other transcription factors, the Oct4 takes effect first and makes it

possible for the other transcription factors to perform their functions. Appx11498-

11503(¶¶39-48). Dr. Plath further explained that the Oct4 takes effect while the


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somatic cells are present in one growth medium, then the cells are moved to a second

growth medium for reprogramming, which shows that the Oct4 is “making the

somatic cell more susceptible to reprogramming” in an initial step. Appx1148-

1149(¶¶39-40); Appx11502(¶¶46-47).

      The district court ruled for Shoreline, explaining that Dr. Plath’s evidence was

irrelevant because “[t]he Court’s claim construction specifically requires that the

induction of Oct4 expression occur prior to and be separate from the reprogramming

process.” Appx94 (emphasis added). Based on evidence that Oct4 and the other

transcription factors are added at the same time, the court held that Fate could not

prove infringement. Appx93-94.

      With respect to the “cloning efficiency” requirement, Shoreline argued that it

does not infringe because the accused cell lines were made through reprogramming

somatic cells and, therefore, not by increasing the cells’ “cloning efficiency.”

Appx5938-5939. Fate responded that this limitation is satisfied under the doctrine

of equivalents. Appx10085-10088. The district court ruled for Shoreline on the

DOE issue. Appx104-105. In this appeal Fate does not challenge the court’s DOE

decision, but only the court’s “cloning efficiency” claim construction that made

Fate’s reliance on DOE necessary in the first place.

      The district court also held, in a footnote, that Shoreline’s purchase of iPSCs

from Lonza did not infringe under § 271(g) because Lonza performed the claimed


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method before the January 13, 2015 first issuance of an asserted method patent.

Appx112-113 n.12. For this holding, the court relied on a declaration from Lonza’s

head of development averring that the reprogramming of its iPSCs was completed

by October 2014 or earlier, while rejecting documentary evidence pointing to a late

January 2015 manufacture date. Id.

                          The district court enters summary judgment for
                          Shoreline on Fate’s claims for induced infringement.

      Finally, the district court entered summary judgment against Fate on its claims

of induced infringement under § 271(b). With respect to the method claims, the

court granted “summary judgment of Plaintiffs’ induced infringement claims to the

extent they are based on underlying acts of direct infringement under § 271(g).”

Appx114. As for the asserted composition claims, Shoreline argued that Fate could

not prove Shoreline’s intent to induce infringement by Thermo Fisher because the

record evidence showed that “[n]o one at Shoreline knew what methods or

reprogramming factors” Thermo Fisher “had used to produce” the iPSCs as issue.

Appx5950. Fate responded by pointing to evidence that Thermo Fisher used the

“CytoTune 2.0 kit,” which performs the asserted method claims through its use of

Oct4. Appx10101-10102; Appx11512-11518 (¶¶65-75). While the court agreed

that the “evidence … show[ed] that Shoreline knew that Thermo Fisher would use

the CytoTune 2.0 kit,” the court concluded there was insufficient evidence “that

Shoreline knew of the precise processes utilized by the CytoTune 2.0 kit.” Appx116.

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Nor, in the court’s view, was there any “showing that Shoreline ever instructed or

directed Thermo Fisher to specifically use Oct4 during the manufacturing process

for the iPSCs at issue.” Id.

                       SUMMARY OF THE ARGUMENT

      This Court should reverse the district court’s claim constructions and its grant

of summary judgment of non-infringement to Shoreline.

      I.     The district court erred in construing “reprogramming to a

[pluripotent/less differentiated] state” and “makes the cell more susceptible to

reprogramming.”

      A.     The court limited the claimed methods to SCNT—the opposite of how

both of the parties agreed a POSA would have understood the claims.

      1.     The court construed “more susceptible to reprogramming” to require an

increase in “cloning efficiency,” a metric literally applicable only to SCNT and not

reprogramming somatic cells. But the claims on their face cover “making a primary

somatic cell more susceptible to reprogramming to a less differentiated state,” which

to a POSA means reprogramming somatic cells. The court’s construction fails to

read the patents and claims as a whole and renders the claims nonsensical.

      2.     The specification does not clearly and unambiguously limit the reach

of the method claims to SCNT. The district court emphasized that the single working

example related to SCNT, calling it the “preferred embodiment.”              But the



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specification never referred to the SCNT experiment as the “preferred embodiment”

and, regardless, precedent is clear that disclosed embodiments—even if there is only

one—will not limit claim scope absent “words or expressions of manifest exclusion

or restriction,” which are absent here.

      3.     During prosecution the applicants did not clearly and unambiguously

disclaim using the claimed methods in connection with reprogramming somatic

cells. The examiner stated that the applicants had not shown that Oct4 “alone” was

enough to reprogram somatic cells, in response to which the applicants amended the

claims to “making the somatic cell more susceptible to reprogramming.” Neither

the examiner nor the applicants ever stated that the claims were limited to SCNT.

      B.     The district court erred by finding that the method claims are limited to

a method of “priming” comprising a rigidly divided two-step process.

      1.     The claim language does not require that Oct4 be added separate from

other transcription factors. The claims on their face only require “making the

somatic cell more susceptible to reprogramming.” The plain and ordinary meaning

of that language does not rule out adding Oct4 while other steps in reprogramming

are also underway.

      2.     The prosecution history and the specification do not support the district

court’s construction.   The court focused on the examiner’s use of the word

“priming,” but the examiner never said that by “priming” she meant some rigid two-


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step process. Instead, the examiner only distinguished the use of Oct4 “alone” to

reprogram somatic cells from the use of Oct4 to make reprogramming more

efficient. This prosecution history contains no clear and unambiguous disclaimer of

adding Oct4 at the same time as other transcription factors. Indeed, certain allowed

claims require the presence of at least one other transcription factor involved in

reprogramming as part of the claimed method.

      II.    The district court erred by granting summary judgment of non-

infringement to Shoreline.

      A.     The court’s grant of summary judgment of non-infringement of the

asserted method claims was based on the court’s incorrect claim constructions. If

the Court agrees with Fate regarding claim construction, then the Court should

reverse the grant of summary judgment and remand for further proceedings.

      B.     The evidence shows that a two-step “priming” process was used to

make the accused iPSCs. Even when Oct4 is added at the same time as other

transcription factors, the Oct4 takes effect first and makes it possible for the other

transcription factors to perform their functions. Somatic cells also must be moved

to a different growth medium for reprogramming after Oct4 has primed the cells.

      C.     The district court should not have resolved a factual dispute as to

whether Lonza reprogrammed its iPSCs after January 13, 2015, the earliest issuance

date of an asserted method patent. A reasonable jury could have concluded that


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Lonza reprogrammed the iPSCs at issue after January 13, 2015, based on Lonza

documentation stating that the iPSCs were manufactured on January 29, 2015.

      D.    The district court should not have resolved a factual dispute as to

whether Shoreline had the necessary intent to induce Thermo Fisher to infringe the

asserted composition claims. There was ample evidence showing that Shoreline told

Thermo Fisher to use the CytoTune 2.0 kit and knew that the kit uses Oct4 to

reprogram somatic cells.

                           STANDARD OF REVIEW

      “Claim construction is ultimately a question of law that this court reviews de

novo.” Trustees of Columbia Univ. in City of New York v. Symantec Corp., 811 F.3d

1359, 1362 (Fed. Cir. 2016) (citation omitted). “Claim construction requires a

determination as to how a person of ordinary skill in the art would understand a

claim term ‘in the context of the entire patent, including the specification.’” Id.

(quoting Phillips v. AWH Corp., 415 F.3d 1303, 1313 (Fed. Cir. 2005) (en banc)).

      This Court reviews a district court’s grant of summary judgment under

regional circuit law. Duncan Parking Techs., Inc. v. IPS Grp., Inc., 914 F.3d 1347,

1359 (Fed. Cir. 2019). In the Ninth Circuit, summary judgment is reviewed de novo.

Id.; Protect Our Communities Found. v. LaCounte, 939 F.3d 1029, 1034 (9th Cir.

2019). Summary judgment is only appropriate where “there is no genuine dispute

as to any material fact and the movant is entitled to judgment as a matter of law.”


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Fed. R. Civ. P. 56(a); see Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 247-48

(1986).

                                    ARGUMENT

      The district court erred in its constructions of “reprogramming to a
      [pluripotent/less differentiated] state” and “makes the cell more
      susceptible to reprogramming.”

      The district court committed legal error when it construed the asserted method

claims as limited to SCNT, and when it construed the claims to require a rigidly

distinct two-step reprogramming process in which Oct4 is added to the somatic cells

by itself, without any other transcription factor present.

             A.     The district court erred by limiting the scope of claims to
                    SCNT.

      The parties agreed on at least one thing: a POSA would have understood the

asserted method claims to relate to reprogramming somatic cells. The district court’s

adoption of an SCNT-only construction was based on textbook legal errors. While

courts may adopt claim constructions not proposed by either party, that the district

court’s construction in this case was the opposite of how both of the parties and their

experts thought a POSA would understand the claims should have served as a giant

red flag that the court’s construction was wrong. Cf. Yoon Ja Kim v. ConAgra Foods,

Inc., 465 F.3d 1312, 1319 (Fed. Cir. 2006) (“While we may have the authority to

adopt claim constructions which have not been proposed by either party … we

should be hesitant to do so.”)


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                           The claim language is not limited to SCNT.

      This Court time and again has reminded the district courts that “a claim

construction analysis must begin and remain centered on the claim language itself,

for that is the language the patentee has chosen to ‘particularly point[] out and

distinctly claim[] the subject matter which the patentee regards as his invention.’”

Innova/Pure Water, Inc. v. Safari Water Filtration Sys., Inc., 381 F.3d 1111, 1116

(Fed. Cir. 2004) (quoting Interactive Gift Express, Inc. v. Compuserve, Inc., 256

F.3d 1323, 1331 (Fed. Cir. 2001)). Yet in this case the district court scarcely

addressed the claim language at all, focusing instead on the prosecution history and

specification.

      The district court limited the claims to SCNT when it held that “makes the

cell more susceptible to reprogramming” requires an improvement not in

reprogramming efficiency (as Fate proposed) but instead in “cloning efficiency,” a

metric only literally applicable to SCNT. Supra, pp. 16-18. Yet here, the claim

language makes clear that the claimed method concerns “making a primary somatic

cell more susceptible to reprogramming to a less differentiated state,” Appx86-87;

Appx1486, not SCNT. As Shoreline explained, “[i]n the claims, a somatic cell or

primary somatic cell is what is being made more susceptible to reprogramming; the

claims do not recite making an oocyte/egg or a somatic nucleus inserted into an egg

cell more susceptible to reprogramming[.]” Appx2609. Fate did not disagree.



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Shoreline went on to argue that the claims are indefinite because there was no known

way of measuring increased somatic cells’ susceptibility to reprogramming—

because “cloning efficiency” only literally applies to SCNT. Appx2611-2622

(arguing that “improved blastocyst formation and ES cell derivation … are specific

to SCNT”); see also Appx4756 (Shoreline arguing “Blastocyst formation is solely a

measure of the efficiency of SCNT, and not a measure of reprogramming of a

somatic cell to a pluripotent state”). Fate obviously disagreed with Shoreline’s

indefiniteness argument, but not because it believed the claims should be limited to

improving cloning efficiency.

      Because the claims on their face relate to reprogramming somatic cells, the

district court’s “cloning efficiency” construction runs afoul of bedrock rules of claim

construction: that claims and patents must be read as a whole and construed where

possible to avoid “facially nonsensical” and “internally inconsistent” results. Abbott

Lab’ys v. Syntron Bioresearch, Inc., 334 F.3d 1343, 1351 (Fed. Cir. 2003) (“The

usage of the disputed claim terms in the context of the claims as a whole … informs

the proper construction of the terms”); Budde v. Harley-Davidson, Inc., 250 F.3d

1369, 1379-80 (Fed. Cir. 2001) (“In construing claim terms, it is necessary to

consider the specification as a whole, and read all portions of the written description,

if possible, in a manner that renders the patent internally consistent.” (cleaned up));

Becton, Dickinson and Co. v. Tyco Healthcare Group, LP, 616 F.3d 1249, 1255


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(Fed. Cir. 2010) (“A claim construction that renders asserted claims facially

nonsensical cannot be correct.” (cleaned up)).

      Here, a POSA reading the claims and patents as a whole would have

understood that the claimed methods relate to reprogramming somatic cells, which

the specification distinguishes from SCNT. Supra, pp. 9-11. A POSA also would

have understood that cloning efficiency is a metric only literally applicable to SCNT

and not to reprogramming somatic cells. Supra, p. 18. A POSA therefore would

not read “making somatic cells more susceptible to reprogramming” to mean an

increase in cloning efficiency, because that would be “facially nonsensical.” A

POSA instead would look to measures of efficiency actually applicable to

reprogramming somatic cells, as explicated by Dr. Plath. Appx2975-2984(¶¶52-70).

                          Nothing in the specification limits the claims to SCNT.

      In finding that the claims are limited to cloning efficiency and therefore

SCNT, the district court relied in part on the specification, reasoning that the only

type of increased efficiency discussed is “cloning efficiency.” E.g., Appx26-28;

Appx35; Appx37; Appx62 & nn.9-10.

      But the applicants did not act as their own lexicographers by defining “making

a primary somatic cell more susceptible to reprogramming” to mean only an increase

in cloning efficiency. See Parkervision, Inc. v. Vidal, 88 F.4th 969, 975-76 (Fed.

Cir. 2023) (“To act as its own lexicographer, a patentee must clearly set forth a



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definition of the disputed claim term other than its plain and ordinary meaning and

must clearly express an intent to redefine the term.”). Nor did the district court even

assert lexicography.

      To the extent the district court thought the specification’s discussion of

cloning efficiency was a disclaimer of measures of efficiency applicable to

reprogramming somatic cells, that was error. “The standard for disavowal of claim

scope is ... exacting.” Thorner v. Sony Comput. Ent. Am. LLC, 669 F.3d 1362, 1366

(Fed. Cir. 2012).      “To disavow claim scope, the specification must contain

‘expressions of manifest exclusion or restriction, representing a clear disavowal of

claim scope.’” Retractable Techs., Inc. v. Becton, Dickinson & Co., 653 F.3d 1296,

1306 (Fed. Cir. 2011) (quoting Epistar Corp. v. Int’l Trade Comm’n, 566 F.3d 1321,

1335 (Fed. Cir. 2009)). “Absent [such] a clear disavowal in the specification … the

patentee is entitled to the full scope of its claim language.” Home Diagnostics, Inc.

v. LifeScan, Inc., 381 F.3d 1352, 1358 (Fed. Cir. 2004).

      The district court ignored that legal principle in reasoning that the

specification’s discussion of the SCNT experiment limited the claims to improving

cloning efficiency. There are no “words or expressions of manifest exclusion or

restriction” in the specification demonstrating “a clear intention to limit the claim

scope” to SCNT. See Liebel-Flarsheim Co. v. Medrad, Inc., 358 F.3d 898, 906 (Fed.

Cir. 2004) (citation omitted). To the contrary, the applicants distinguished their


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invention from SCNT: “the methods of the present invention allow one to generate

pluripotent [cells] without using embryos, oocytes, and/or nuclear transfer

technology.”   Appx3022 (emphasis added).        The specification is replete with

statements that the inventors intended to broadly claim methods of reprogramming

somatic cells. See, e.g., Appx3021 (“The present invention provides engineered

somatic cells”); id. (“The present invention also provides methods for

reprogramming somatic cells to a less differentiated state”); Appx3024 (stating that

“reprogramming” encompasses any “process that alters or reverses the

differentiation status of a somatic cell, which can be either partially or terminally

differentiated.”). The applicants certainly did not limit their invention to SCNT and

improvements in cloning efficiency.

      The district court emphasized at various points that the only “working

example” and the “preferred embodiment” in the specification relates to SCNT, not

reprogramming somatic cells. Appx17-19; Appx 24. That was error for two reasons.

First, this Court has explained that “even where a patent describes only a single

embodiment, claims will not be read restrictively unless the patentee has

demonstrated a clear intention to limit the claim scope using words or expressions

of manifest exclusion or restriction.” Innova/Pure Water, 381 F.3d at 1117 (internal

quotation marks and citation omitted). Applying this principle, the Court has

concluded time and again that, even if the specification describes only a single


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embodiment, a court should not construe the patent claims to be limited to that

embodiment absent a clear disavowal. See, e.g., Liebel-Flarsheim, 358 F.3d at 906

(“this [C]ourt has expressly rejected the contention that if a patent describes only a

single embodiment, the claims of the patent must be construed as being limited to

that embodiment”); Hill-Rom Servs., Inc. v. Stryker Corp., 755 F.3d 1367, 1372

(Fed. Cir. 2014) (“‘[e]ven when the specification describes only a single

embodiment, the claims of the patent will not be read restrictively unless the patentee

has demonstrated a clear intention to limit the claim scope using “words or

expressions of manifest exclusion or restriction”’” (quoting Teleflex, Inc. v. Ficosa

N. Am. Corp., 299 F.3d 1313, 1327 (Fed. Cir. 2002)).

      Based on this principle, even if the SCNT experiment were the sole disclosed

embodiment, it would be error to limit the claims in light of that experiment, because

there is no expressed intent in the specification to so constrain the claims. To the

contrary, the specification describes numerous embodiments pertaining to

reprogramming somatic cells as coming within the scope of “the present invention.”

For example, it recites that “[t]he present invention further provides methods for

programming somatic cells to a less differentiated state,” such that “[i]n one

embodiment, reprogramming of a somatic cell turns the somatic cell all the way back

to a pluripotent state.” Appx3022. The SCNT experiment, for its part, is never

described as a “preferred embodiment.” The specification states only that the SCNT


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experiment is being provided “for purposes of illustration of certain aspects and

embodiments of the present invention,” and that is “not intended to limit the

invention.” Id.

      Second, the district court’s focus on the SCNT “working example” confuses

concepts of enablement and claim construction. Even as to enablement—which, to

be clear, is not at issue on this appeal—the court’s reasoning ignores that actual

reduction to practice is not required and prophetic examples can be enabling. Alcon

Research Ltd. v. Barr Lab’ys, Inc., 745 F.3d 1180, 1189 (Fed. Cir. 2014) (“[i]t is

well settled that an invention may be patented before it is actually reduced to

practice”); Atlas Powder Co. v. E.I. du Pont De Nemours & Co., 750 F.2d 1569,

1577 (Fed. Cir. 1984) (“Use of prophetic examples … does not automatically make

a patent non-enabling.”). Here, the examiner concluded that claims to a method of

making somatic cells more susceptible to reprogramming were enabled, and Fate’s

expert Dr. Plath credibly opined that a POSA would understand that the SCNT

experiment proved the utility of Oct4 for reprogramming somatic cells. Appx2975-

2984(¶¶52-70); Appx5141-5147(¶¶8-11). No party argued that the claims should be

limited to SCNT to avoid enablement concerns. It therefore was error for the district

court to allow the specification’s “working example” to dictate its claim

construction.




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      As with the claim language, Shoreline did not argue that the specification

limits the claims to SCNT to the exclusion of reprogramming somatic cells. Here

too, Shoreline argued the very opposite, stating that “the shared specification of the

Asserted Patents explicitly describes the ‘reprogramming’ of somatic cells as

‘directly’ reprogramming the cells to pluripotent cell,” which would be

accomplished “without the use of oocytes and nuclear transfer technology[.]”

Appx2611-2612 (cleaned up). Putting a fine point on it, Shoreline asserted that “a

POSA reading the specification would understand that … the methods of the present

invention relates to methods of reprogramming somatic cells without … nuclear

transfer technology[.]” Appx2610 (emphasis added; cleaned up). And Fate did not

disagree. Supra, p. 16.

                           Nothing in the prosecution history limits the claims to
                           SCNT.

      In effectively limiting the reach of the method claims to SCNT, the district

court also misread the interplay between the examiner and the applicants during

prosecution. Appx20 n.11 (court stating “it is clear from a review of the intrinsic

record, particularly the prosecution history, that the method claims … are not

directed to methods of reprogramming somatic cells”).

      Like specification disclaimer, prosecution history disclaimer is very difficult

to establish. The party arguing for a disclaimer bears the burden of “proving the

existence of a ‘clear and unmistakable’ disclaimer that would have been evident to

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one skilled in the art.” Trivascular, Inc. v. Samuels, 812 F.3d 1056, 1064 (Fed. Cir.

2016). This Court does “not apply the doctrine of prosecution history disclaimer

where the alleged disavowal is less than clear.” Baxalta Inc. v. Genentech, Inc., 972

F.3d 1341, 1348 (Fed. Cir. 2020). A purported disavowal is “less than clear” when

the allegedly disclaiming passages are “ambiguous,” Aria Diagnostics, Inc. v.

Sequenom, Inc., 726 F.3d 1296, 1302 (Fed. Cir. 2013), or “amenable to multiple

reasonable interpretations,” Genuine Enabling Tech. LLC v. Nintendo Co., 29 F.4th

1365, 1374 (Fed. Cir. 2022).

      The prosecution history in this case does not clearly and unambiguously

amount to a disclaimer of using the claimed method except to improve cloning

efficiency in SCNT. To the extent the examiner and applicants discussed concepts

relating to cloning efficiency, that was merely in the context of addressing the

specification’s SCNT experiment, which was itself not limiting for the reasons given

above. Supra, pp. 30-35.

      The district court’s emphasis on the examiner’s rejection of claims to

“reprogramming” is even more misplaced. As recounted above, the examiner

believed the applicants had failed to demonstrate that the addition of Oct4 “alone”

would be sufficient to fully reprogram somatic cells into a less differentiated state.

Some version of “alone” or “solely” appears numerous times in the examiner’s office

actions, making the examiner’s focus abundantly clear. E.g., Appx1469; Appx


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1470; Appx1471; Appx1477; Appx1478-1479; Appx1481 (examiner noting, among

other things, that the “specification … provided no evidence that alone the

exogenous Oct4 in the cell is reprogramming the somatic cell”). The examiner did

not, however, state that the claims as they had been amended to cover “making the

cell more susceptible to reprogramming” were not enabled. Appx1465-1468. To

the contrary, the examiner recognized that the application disclosed that Oct4 created

an “additive” effect which made reprogramming more “efficient.” Appx1466;

Appx1479.     In making those statements, the examiner did not state that by

“reprogramming,” what she really meant was SCNT and just SCNT. And the

applicants certainly never said that.

       Once again, not even Shoreline argued that the prosecution history amounted

to a disclaimer of using the claimed method in connection with reprogramming

somatic cells. Shoreline argued the opposite: after asserting that “a POSA would

understand that the term ‘reprogramming refers to ‘directly reprogramming’ using

transcription factors and not to SCNT or other methods,” Shoreline stated “[t]he

prosecution history also supports Defendants’ construction.” Appx2613. And its

expert agreed. Appx3464(¶77) (Dr. Snyder opining “[t]he prosecution history of the

Asserted Patents also evidences that what the inventors were attempting to do was

to directly reprogram a somatic cell into a less differentiated state or a pluripotent

state”).


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                                        * * *

      In summary, the district court went astray in construing the claims to require

an increase in cloning efficiency, a concept directly applicable only to SCNT and

not reprogramming somatic cells. This ruled out literal infringement by Shoreline,

forcing Fate to argue DOE in opposition to Shoreline’s motion for summary

judgment. This Court should reverse the district court’s claim construction limiting

an increase in “efficiency” to only “cloning efficiency,” which would allow Fate to

argue literal infringement on remand.

             B.    The district court erred in finding that the claims are limited
                   to a rigidly divided two-step “priming” process.

      In addition to construing the method claims to be effectively limited to SCNT,

the district court also limited the method claims to “a method of ‘priming’ a somatic

cell for reprogramming,” in which Oct4 is added and makes somatic cells more

susceptible to reprogramming before any other step in reprogramming—most

importantly the addition of other transcription factors—occurs.         Appx28-35;

Appx53-65. This too was error.

                          The claim language does not support the district
                          court’s two-step construction.

      Nothing on the face of the method claims requires Oct4 to be added first,

separate and apart from the other transcription factors. The claims only require that

the Oct4 “mak[e] the somatic cell more susceptible to reprogramming.” No timing



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element is implied by the claim language, except that the Oct4 must have its effect

some time before reprogramming is complete. To give an analogy, an assailant

might make someone who already is tottering “more susceptible to falling” by

giving them a push. A push might also make a victim “more susceptible to falling”

if delivered at the same time as another assailant’s push.        That other factors

contributing to the victim’s potential fall previously were, or simultaneously are, in

play does not eliminate the push’s impact. So too here, the claims are silent as to

whether Oct4 must make a somatic cell “more susceptible to reprogramming” before

any other part of reprogramming has occurred—whether Oct4 could be added at the

same time as the other transcription factors used in reprogramming somatic cells, or

even after the other transcription factors were added.

      It matters too that the asserted claims are “comprising” claims, not

“consisting” claims. As the Court knows, “[t]he transition ‘comprising’ in a method

claim indicates that the claim is open-ended and allows for additional steps.”

Invitrogen Corp. v. Biocrest Mfg., L.P., 327 F.3d 1364, 1368 (Fed. Cir. 2003). In

Invitrogen, for example, “Claim 1 use[d] the open-ended transition ‘comprising’ to

introduce the recited steps” of growing E. coli cells. Id. The Court explained that

“the claim signals to patent practitioners that claim 1 allows activity, even activity

that produces E. coli cell growth, before the recited steps.” Id. In the instant case,

because the asserted method claims are “comprising” claims they allow additional


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steps, such as the introduction of other transcription factors, to be performed in

conjunction with the introduction of Oct4. The district court’s construction, on the

other hand, effectively and improperly converts the claims into closed-ended

“consisting of” claims.

                           The prosecution history and specification do not
                           support the district court’s construction.

      The district court’s principal rationale for its construction was prosecution

history disclaimer—the court pointed to the examiner’s many uses of the word

“priming,” and concluded that “priming” must mean that Oct4 takes effect before

any step in reprogramming occurs. Supra, pp. 18-19. But the examiner never

explained that that was what she meant by “priming,” nor that she believed the

claims should be limited to such a method. It is clear from the prosecution history

that the examiner was merely using “priming” to distinguish the use of Oct4 alone

to reprogram somatic cells—which she thought the specification did not enable—

from the use of Oct4 to make reprogramming somatic cells more efficient, which

she thought was enabled. Supra, pp. 11-12. While the examiner repeatedly focused

on the problems she saw with claiming Oct4 “alone” or “solely” Oct4 to reprogram

somatic cells, supra, pp. 11-12, she never expressed concern with claiming the

addition of Oct4 at the same time as other transcription factors.

      Indeed, the district court’s prosecution history disclaimer ruling never

accounts for certain allowed claims of the asserted patents that expressly require

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other transcription factors to be present while Oct4 is “making a somatic cell more

susceptible to reprogramming.” Sox-2 and Nanog are other transcription factors that

can be used in reprogramming somatic cells. E.g., Appx11494-11495(¶32). Claim

12 of the ’536 patent covers a “method of making a somatic cell more susceptible to

reprogramming” which requires both “(a) contacting the somatic cell” with Sox2

and “(b) introducing an exogenous nucleic acid encoding an Oct4 protein.”

Appx3086. Nothing in that claim counterintuitively requires that step “(b)” must

precede and be complete before step “(a).” Claim 1 of the ’744 patent calls for the

introduction both of Oct4 and “an exogenously introduced polynucleic acid

encoding Sox-2 or Nanog protein … wherein the exogenously introduced

polynucleic acids”—plural—“result in making the somatic cell more susceptible to

reprogramming to a less differentiated state.” Appx3144. Claim 10 of the ’917

patent likewise calls for the introduction of Sox-2 or Nanog as part of the claimed

“method of making a somatic cell more susceptible to reprogramming.” Appx3124.

These claims demonstrate that neither the examiner who approved the claims nor the

applicants understood “priming” inherently to require the introduction of Oct4 alone,

to the exclusion of other transcription factors. Fate consistently raised this point

below, yet the district court never addressed it. See Appx4825 (Fate responsive

claim construction brief); Appx5134 (Fate motion for reconsideration).




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      As with the SCNT versus reprogramming somatic cells issue discussed above,

supra pp. 25-37, the district court thought it significant that the examiner and

applicants discussed the SCNT experiment disclosed in the specification, which

involved two steps: first Oct4 was exogenously expressed in a somatic cell, then

that cell’s nucleus was transferred to an oocyte.        Appx992-993; Appx33-34;

Appx63-64. But for all the same reasons already given, the district court’s approach

to prosecution history was error on this issue too. That the SCNT experiment

happened to involve Oct4 expression as an initial first step does not limit the scope

of the claims, absent additional disclaiming statements that do not exist here. Supra,

pp. 35-37. And to the extent the district court also relied on the SCNT experiment

to find specification disclaimer, that reliance was misplaced for the same reason.

Supra, pp. 30-35.

      To cover the gap in the specification and prosecution history, Shoreline’s

expert opined that “priming” should have the same meaning as in painting and

hydraulics, where a wall is “primed” before painting occurs and a well is “primed”

before it is pumped. Appx3475 n.9. But Fate’s expert explained that, unlike in those

completely unrelated fields, priming “is not a term that is used in the field of

reprograming somatic cells.” Appx2992(¶87). The examiner’s use of that term

therefore cannot have been a “clear statement” to a POSA that “priming” necessarily

means a distinct first step in reprogramming. Cf. Baxalta, 972 F.3d at 1348


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(amendment to include a term “not … commonly used in the art” did not give rise

to a “clear and unmistakable” disclaimer).

      Perhaps for this reason, the district court foreswore any reliance on

Shoreline’s expert’s opinion.      Appx34-35 n.16.       Instead, the court pointed to

common dictionary definitions of “priming.” Appx60-61. The court acknowledged,

however, that “priming” can mean many things, including to “supply with an

essential prerequisite (such as a hormone, nucleic acid, or antigen) for chemical or

biological activity.” Id. Under that definition, “priming” would not unambiguously

foreclose a method of “supply[ing]” Oct4 as “an essential prerequisite” for

reprogramming somatic cells at the same time that the other transcription factors are

added—particularly given the evidence that, when Oct4 is added with other

transcription factors, it is the Oct4 that takes effect first. Infra, pp. 49-51.

      In any event, there is no evidence that the examiner or applicants had any of

those dictionaries’ definitions of “priming” in mind during prosecution. Again, the

examiner and applicants were focused on something entirely different than the

timing question: what could be accomplished using Oct4 “alone.” At best for

Shoreline the examiner’s use of “priming” is ambiguous with respect to the timing

question, which simply is not good enough for a disclaimer. Honeywell Int’l, Inc. v.

Universal Avionics Sys. Corp., 493 F.3d 1358, 1365 (Fed. Cir. 2007) (where a




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“passage is ambiguous … it does not constitute a sufficiently clear and deliberate

statement to meet the high standard for finding a disclaimer of claim scope”).

      Finally, the district court’s focus on dictionary definitions of “priming” was

misguided for yet another reason: because the applicants amended their claims to

cover a method of “making the somatic cell more susceptible to reprogramming,”

not to, e.g., “priming the somatic cell for reprogramming.” “Priming” is therefore

not the proper subject of the claim construction inquiry.          The district court

considered it important that, in amending their claims, the applicants cited the

examiner’s rejections that included her “priming” explanation. Appx32. But

because the examiner never stated that she viewed “priming” as requiring some

rigidly separate two-step process, the applicants’ citation to her “priming”

statements in amending their claims to include different claim language should be

doubly irrelevant. See Honeywell, 493 F.3d at 1365 (responsive statements to

rejection did not “meet the high standard for finding a disclaimer of claim scope”

where exchange was amenable to more than one interpretation); Iowa State Univ.

Rsch. Found., Inc. v. Wiley Organics, Inc., 125 F. App’x 291, 296 (Fed. Cir. 2005)

(“examiner’s statements and the inventors’ subsequent response do not present a

sufficiently clear definition of the claim terms … to merit limiting the claim scope”).




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             C.    The cases on which the district court relied are readily
                   distinguishable.

      The district court’s approach to the prosecution history in this case was

premised primarily on Biogen Idec, Inc. v. GlaxoSmithKline LLC, 713 F.3d 1090

(Fed. Cir. 2013), and SandBox Logistics LLC v. Proppant Express Invs. LLC, 813 F.

App’x 548, 554 (Fed. Cir. 2020). Appx55-56 (district court stating in its motion for

reconsideration decision that it “primarily relied” on Biogen and SandBox with

respect to the priming issue). But as Biogen and Sandbox demonstrate, whether the

prosecution history amounts to a disclaimer “[d]epend[s] on important details.”

Ancora Techs., Inc. v. Apple, Inc., 744 F.3d 732, 739 (Fed. Cir. 2014); id.

(“disclaimer arose where the applicants ‘let[] stand an examiner’s narrow

characterization of a claim term’ and ‘adopt[ed] ... that characterization to overcome

the examiner’s ... rejection’” (quoting Biogen, 713 F.3d at 1097 n.6)). Particularly,

those cases demonstrate that, for an applicant’s responsive amendments to amount

to a clear and unmistakable disclaimer, an examiner must, in the first instance,

clearly express a narrow view of what the specification enables. See Biogen, 713

F.3d at 1095 (applicant must “unequivocally and unambiguously disavow[] a certain

meaning to obtain a patent” for disclaimer to apply).

      In Biogen, for example, the Court addressed whether applicants claiming a

method of using “anti-CD20 antibodies” to treat cancer had limited the term to only

those “antibodies that bind to the same epitope” as Rituxan® (a specific anti-CD20

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antibody referenced in the specification) “with similar affinity and specificity.” 713

F.3d at 1092-1094. In holding that the applicants had so limited the term, the Court

noted that the examiner initially rejected the claims because the specification

enabled only Rituxan®, rather than “any and all anti-CD20 antibodies” binding to

the same epitope—regardless of their affinity or specificity. See id. at 1093, 1095-

1096. Instead of “challeng[ing] the examiner’s understanding,” the applicants

“conceded that [those] other ‘antibodies … might have different affinities’” and

“limited their claims to antibodies similar to Rituxan®.” Id. at 1096. From this

series of events, the Court reasoned, “it [wa]s clear that [the applicants] were limiting

their invention to what the examiner believed they enabled”: “antibodies [with]

similar specificity and affinity for” the same epitope as Rituxan®. Id.

      Likewise, in SandBox, the Court considered whether the term “bottom” was

limited to “bottom wall” in connection with patents concerning “storage container

assemblies” allowing “product in one container [to] flow to … a lower container.”

813 F. App’x 5 at 550. During prosecution, the examiner “twice rejected claims for

‘omitting essential elements[,]’ viz., ‘[t]he bottom wall on which the hatch [allowing

material to flow from one container to the other] is mounted.’” Id. at 554. The

applicant “did not challenge” the examiner’s understanding that the “bottom wall”

was essential, but instead amended the claims to reference a “bottom” and explained

that, “although the claims ‘were rejected on the basis [that] they lack[ed] essential


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elements[,]’ the claims were ‘being amended to include a bottom.’” Id. The

examiner then allowed the claims “at least in part on his understanding that [they]

… were amended to include a ‘bottom wall on which the hatch is mounted.’” Id.

Relying on Biogen, the Court concluded that this sequence amounted to a disclaimer

that “bottom” meant anything other than “bottom wall.” Id. at 554-555.

      Reading these cases together, the “important details” resulting in the

disclaimers in those cases included the examiners’ clearly expressed views of what

the specifications narrowly enabled. For the reasons given above, such “important

details” are lacking here. The examiner never stated that the specification only

enabled claims to a method of making cells more susceptible to SCNT, as measured

by increased cloning efficiency, and the applicants never agreed that their invention

was so limited. And the examiner never stated that the specification only enabled

claims in which Oct4 is added separate from the other transcription factors and

primes the somatic cells before any step in their reprogramming occurs, and the

applicants never agreed that their invention was so limited. The district court

therefore erred by construing the claims to be so limited.

II.   The district court erred in granting summary judgment of non-
      infringement to Shoreline.

             A.    The district court’s grant of summary judgment relied on its
                   incorrect claim construction.

      The district court’s grant of summary judgment of non-infringement of the



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asserted method claims was based in the first instance on the court’s incorrect claim

constructions. In particular, the district court relied on its two-step “priming”

construction to hold that: (1) Shoreline does not infringe the asserted method claims

under § 271(g) because, in making the accused iPSCs, Oct4 was added at the same

time as other transcription factors; and (2) Shoreline did not induce the third-party

manufacturers to infringe the asserted method claims because there is no underlying

infringement under § 271(g). Appx112; Appx114. The court also rejected Fate’s

DOE argument with respect to “cloning efficiency,” which Fate only needed to make

because the court had incorrectly construed the claims to require an increase in

cloning efficiency. Appx95-96.

      If this Court agrees with Fate on the claim construction issues, then the Court

should reverse the grant of summary judgment and remand for further proceedings

in accordance with the proper claim constructions. See, e.g., Brookhill-Wilk 1, LLC.

v. Intuitive Surgical, Inc., 334 F.3d 1294, 1304 (Fed. Cir. 2003) (“Because the

district court’s construction of ‘remote location’ was erroneous and because the

district court’s grant of summary judgment in favor of Intuitive was predicated

entirely on this erroneous construction, we reverse the judgment and remand the case

to the district court for further proceedings consistent with this opinion.”).




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             B.     Fate presented substantial evidence that Shoreline’s
                    suppliers made their iPSCs using a two-step process.

      Even if the Court agrees with the district court that “makes the cell more

susceptible to reprogramming” requires some two-step “priming” process, it still

should reverse the grant of summary judgment. Unless the claims are construed to

require adding Oct4 separate and apart from the other transcription factors—which

is an entirely unsupported aspect of the district court’s claim construction—then Fate

presented substantial evidence from which a reasonable jury could have concluded

that a two-step priming process was used to create the accused iPSCs.

      Fate’s expert Dr. Plath explained that Oct4 is a “pioneer transcription factor,”

meaning it binds to specific DNA sites that otherwise are closed to transcription

factors, causing them to “open” and become accessible to other, non-pioneer

transcription factors. Appx11497-11499(¶¶38-39). As she explained, “the pioneer

factor activity of Oct4 plays a critical role” in reprogramming somatic cells because

it “bind[s] to closed chomatin to enable opening of chromatin at critical sites so that

pluripotency gene expression and reprogramming can subsequently occur.”

Appx11499(¶39). “Other transcription factors would not significantly contribute to

reprogramming until after Oct4 binds to chromatin to prime the cell for subsequent

reprogramming.”     Appx11502(¶47).       Critically, in light of the district court’s

requirement of rigid separation between Oct4 and the other transcription factors, Dr.

Plath further explained that:

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            it does not matter if other transcription factors are added
            contemporaneously with Oct4 or as part of the same
            plasmid encoding Oct4, as they will not significantly
            contribute to reprogramming until after Oct4 primes the
            cell for reprogramming by increasing chromatin
            accessibility.
Appx11529(¶101) (emphasis in original); see also Appx11521-11522(¶86)

(“[S]omatic cells are not immediately reprogrammed to a pluripotent state when

multiple transcription factors are added to a cell. Rather, the somatic cell must

undergo changes triggered by Oct4[.]”) Nor does the presence of the other factors

interfere with the ability of Oct4 to unlock closed chromatin, so there would have

been no reason for the applicants even to want to exclude the presence of other

transcription factors during priming. See Appx11522-11523(¶87) (“Oct4 will prime

the somatic cell for subsequent reprogramming whether or not these other factors

are present during priming.”).

      In addition to the “pioneer” role played by Oct4, Dr. Plath explained that for

somatic cells to be reprogrammed, the cells also must be moved from the growth

media in which the Oct4 primes the cells to a different growth media capable of

supporting iPSCs. Appx11502-11503(¶48) (“Many types of media exist because

different types of cells have different metabolic and other requirements to survive.

Somatic cells are generally maintained in different media than iPSCs and the

induction of iPSCs requires an appropriate reprogramming medium.”). Dr. Plath

walked through evidence describing the processes used to make the accused iPSCs,


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indicating in every instance that, following priming by Oct4, the cells had been

transferred to a different growth media for reprogramming. Appx11508(¶58);

Appx11509-11510(¶60); Appx11510-11512(¶¶62-63); Appx11513-11514(¶¶66-

68); Appx11518-11519(¶¶77-78); Appx11520-11521(¶85). She concluded that “[i]t

is only after the somatic cells are transferred into this new medium that the

pluripotent state is established via reprogramming.” Appx11521-11522(¶86).

      The district court brushed aside all this evidence of a two-step process on the

basis that its “claim construction specifically requires that the induction of Oct4

expression occur prior to and be separate from the reprogramming process.”

Appx94 (emphasis added). Fate concedes that if the Oct4 cannot be added at the

same time as other transcription factors, then it cannot show literal infringement of

the method claims. But, for the reasons given above, the district court’s claim

construction on this point is clearly incorrect. Nothing in the claim language, the

specification, or in the prosecution history forecloses adding Oct4 at the same time

as the other transcription factors. Supra, pp. 38-44. The court therefore erred in

rejecting Fate’s evidence that a two-step “priming” process was used to create the

accused iPSCs.

             C.    The district court erred in resolving a factual dispute as to
                   when Lonza reprogrammed its iPSCs.

      The district court erred in holding that Shoreline does not infringe under

§ 271(g) with respect to the line of iPSCs created by Lonza because those iPSCs

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were primed with Oct4 after the January 13, 2015 issuance of the earliest asserted

method patent. See Appx112 n.12. On the summary judgment standard, the district

court should have credited Fate’s documentary and expert opinion evidence

demonstrating that Lonza performed the claimed method in late January 2015.

Instead, the court improperly resolved a credibility dispute in Shoreline’s favor.

      Fate provided substantial evidence from which a reasonable jury could

conclude that the Lonza iPSCs at issue were primed with Oct4 after January 13,

2015. For example, Lonza’s packaging for the “TC1133” iPSC line provides a

manufacture date of January 29, 2015. Appx112 n.12; Appx4683. Dr. Plath

explained that, in Lonza’s manufacturing process, “[t]he priming with Oct4 lasted

~2 days, during which the cells were left in the priming medium, Oct4 would have

been expressed and would have carried out its function as a pioneer transcription

factor by binding to chromatin to open the DNA and allow the other transcription

factors to initiate gene expression necessary for subsequent reprogramming.”

Appx11511-11522(¶63) (emphasis added). Given this timing, a reasonable jury

could have concluded that Oct4 was added two days before the reprogramming, such

that priming of the Lonza iPSCs with Oct4 occurred on or about January 27, 2015,

two weeks after January 13, 2015.

      Consistent with the documentary evidence and Dr. Plath’s testimony,

Shoreline admitted in discovery that the Lonza line of iPSCs was manufactured in


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January 2015. See, e.g., Appx259(¶112). (Shoreline’s counterclaims stating that

“[t]he Lonza iPSCs were manufactured by Lonza in January 2015”);

Appx4450(¶174);      Appx4453(¶194);        Appx4457(¶232);     Appx4460(¶255);

Appx4465(¶298); Appx4468(¶319).        Shoreline’s corporate representative, Dr.

Edward Cherok, also submitted a declaration confirming that Lonza’s TC-1133 “was

reprogrammed from somatic cells by Lonza Walkersville, Inc. in 2015.”

Appx2581(¶5).

      Despite this evidence, the district court held that the evidence showed that

Oct4 was used to prime the Lonza cells before January 13, 2015. Appx112 n.12.

The only piece of evidence the court cited was a declaration from a Lonza witness

averring that the reprogramming for the Lonza iSPCs was completed by October

2014, based on a 2015 article titled “cGMP Manufactured Human Induced

Pluripotent Stem Cells Are Available for Pre-Clinical and Clinical Applications.”

Appx 6137(¶9). That 2015 article, however, never references the specific iPSC line

at issue in this case—TC1133. Appx6221-6233. Instead, the article discusses

engineering runs to produce several iPSC clones, two of which were selected and

banked—“[c]lone A (product no. CTI-1134, lot no. 50-001-02A) … and clone D

(product no. CTI-1134, lot no. 50-001-02D).” Appx6227-6228. These product and

lot numbers do not match those for TC1133, which is product no. CTI-1139, lot no.

50-001-21. Appx4683. Based on this and the other evidence discussed above, a


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reasonable jury could have rejected the witness’s testimony. It therefore was error

for the district court to grant summary judgment to Shoreline on this issue.

             D.    The district court erred in resolving a factual dispute as to
                   whether Shoreline induced Thermo Fisher to infringe.

      Finally, the district court erred by granting summary judgment to Shoreline

on Fate’s claim that Shoreline induced Thermo Fisher to infringe the asserted

composition claims around December 2021.

      To establish induced infringement, a plaintiff must show “that the defendant

possessed specific intent to encourage another’s infringement.” GlaxoSmithKline

LLC v. Teva Pharms. USA, Inc., 7 F.4th 1320, 1327 (Fed. Cir. 2021) (quoting DSU

Med. Corp. v. JMS Co., 471 F.3d 1293, 1306 (Fed. Cir. 2006)). This, in turn,

“requires a plaintiff to show ‘that the alleged infringer’s actions induced infringing

acts and that he knew or should have known his actions would induce actual

infringements.’”   Id. (citation omitted).    “[D]irect evidence” of intent “is not

required.” Id. (internal quotation marks omitted); see TecSec, Inc. v. Adobe Inc., 978

F.3d 1278, 1286 (Fed. Cir. 2020) (“The intent standard focuses on, and can be met

by proof of, the defendant’s subjective state of mind, whether actual knowledge or

the subjective beliefs (coupled with action to avoid learning more) that characterizes

willful blindness”).

      In this case, the evidence showed that in July 2021 Shoreline emailed Thermo

Fisher a scientific article entitled “An analysis of monocytes and dendritic cells

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differentiated from human peripheral blood monocyte-derived induced pluripotent

stem cells,” explaining in the cover email “We came across a paper using CytoTune

2.0 to generate iPSCs from PB monocytes.” Appx115-116; Appx10707. Two

weeks later, Thermo Fisher asked Shoreline for information on “protocols on growth

condition for the monocytes,” reattaching the same article Shoreline had sent it.

Appx116; Appx10827-10828(¶124). In response, Shoreline told Thermo Fisher that

the protocols disclosed in the article would be “ok to use … for our project.”

Appx116; Appx10827-10828(¶124). This demonstrates that Shoreline encouraged

Thermo Fisher to use the CytoTune 2.0 kit.

      There also was evidence that Oct4 is necessarily used by the CytoTune 2.0

kit, not just that its use is “possible,” as the district court reasoned. Appx117. Dr.

Plath, for example, explained that all commercially-available iPSCs are made by

introducing exogenous Oct4 during the reprogramming process, Appx7353(¶109);

Appx7519-7521(¶¶567–570), such that Shoreline either knew or would have needed

to turn a blind eye to the fact that Oct4 is used in the CytoTune 2.0 kit. Testimony

from Shoreline witnesses confirmed Dr. Plath’s opinion.           For example, Dr.

Kaufman, Shoreline’s acting CSO, previously had used the CytoTune 2.0

reprogramming kit and so knew how the kit worked. Appx117; Appx10336-10337.

      The district court rejected the import of this evidence, explaining that “this

evidence at best shows that Defendant knew that Thermo Fisher would use the


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CytoTune 2.0 kit to manufacture the iPSCs at issue,” not that the CytoTune kit would

employ Oct4. Appx116. But that is not the only reasonable interpretation of this

evidence. A jury could conclude that the only reason Shoreline felt comfortable

telling Thermo Fisher that the CytoTune 2.0 kit is “ok to use … for our project” is

because Shoreline knew how the kit worked. And because Shoreline was a very

small company at the time, e.g., Appx11278; Appx11279; Appx11282, a jury could

conclude that Shoreline, through its acting CSO Dr. Kaufman, knew that the process

used by Thermo Fisher would employ Oct4.

      Accordingly, this issue too should have been left for a jury to decide. The

district court should not have decided credibility issues in Shoreline’s favor, and its

grant of summary judgment to Shoreline should be reversed.

                                  CONCLUSION

      For the reasons set forth above, the Court should overturn the district court’s

claim constructions and grant of summary judgment of non-infringement in

Shoreline’s favor, and the case should be remanded for further proceedings.




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February 8, 2024                         Respectfully submitted,

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                                         Counsel for Plaintiffs-Appellants




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           ADDENDUM
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  (2) Denying Plaintiffs’ Motion for Partial Summary Judgment as
  Moot, Dkt. No. 390 (Aug. 30, 2023) ................................................. Appx83-120

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U.S. Patent No. 8,932,856................................................................. Appx3032-3049

U.S. Patent No. 8,951,797................................................................. Appx3050-3069
U.S. Patent No. 8,940,536................................................................. Appx3070-3088
U.S. Patent No. 9,169,490................................................................. Appx3089-3105
U.S. Patent No. 10,457,917............................................................... Appx3106-3125

U.S. Patent No. 10,017,744............................................................... Appx3126-3145
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                         United States District Court
                           SOUTHERN DISTRICT OF CALIFORNIA


See attached
                                                           Civil Action No.    22-cv-00676-H-MSB

                                             Plaintiff,
                                      V.
See attached                                                 JUDGMENT IN A CIVIL CASE


                                           Defendant.


Decision by Court. This action came to trial or hearing before the Court. The issues have been tried
or heard and a decision has been rendered.

IT IS HEREBY ORDERED AND ADJUDGED:
For the reasons above, the Court grants Shoreline’s motion for summary judgment of non-
infringement, and the Court denies Plaintiffs’ motion for partial summary judgment as moot.
Judgment is entered in favor of Defendant Shoreline and against Plaintiffs Fate and Whitehead. Case
closed.




Date:          8/31/23                                        CLERK OF COURT
                                                              JOHN MORRILL, Clerk of Court
                                                              By: s/ M. Williams
                                                                                 M. Williams, Deputy




                                               Appx1
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                           United States District Court
                             SOUTHERN DISTRICT OF CALIFORNIA

                                     (ATTACHMENT)

                                                       Civil Action No. 22-cv-00676-H-MSB


Fate Therapeutics, Inc.; Whitehead Institute for Biomedical Research,
Plantiffs
v.
Shoreline Biosciences, Inc.; Dan S. Kaufman,
Defendants
___________________________________________________________________________

Shoreline Biosciences, Inc.; Dan S. Kaufman
Counter Claimants
v.
Fate Therapeutics, Inc.; Whitehead Institute for Biomedical Research
____________________________________________________________________________

Lonza Walkersville, Inc.
Amicus




                                         Appx2
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 7
 8                          UNITED STATES DISTRICT COURT
 9                        SOUTHERN DISTRICT OF CALIFORNIA
10
11     FATE THERAPEUTICS, INC.; and                      Case No.: 22-cv-00676-H-MSB
       WHITEHEAD INSTITUTE FOR
12
       BIOMEDICAL RESEARCH,                              CLAIM CONSTRUCTION ORDER
13                                     Plaintiffs,
14     v.
15     SHORELINE BIOSCIENCES, INC.; and
16     DAN S. KAUFMAN,
17                                   Defendants.
18
            In the present action, Plaintiffs Fate Therapeutics, Inc. (“Fate”) and Whitehead
19
      Institute for Biomedical Research (“Whitehead”) assert claims for patent infringement
20
      against Defendants Shoreline Biosciences, Inc. (“Shoreline”) and Dan S. Kaufman,
21
      alleging claims for infringement of U.S. Patent Nos. 8,071,369 (“the ’369 Patent”),
22
      8,932,856 (“the ’856 Patent”), 8,951,797 (“the ’797 Patent”), 8,940,536 (“the ’536
23
      Patent”), 9,169,490 (“the ’490 Patent”), U.S. Patent No. 10,017,744 (“the ’744 Patent”),
24
      and 10,457,917 (“the ’917 Patent”) (collectively, “the asserted patents”). (Doc. No. 162,
25
      Supp. FAC ¶¶ 157-414.) On January 6, 2023, the parties filed their amended joint claim
26
      construction hearing statement, chart, and worksheet pursuant to Patent Local Rule 4.2.
27
      (Doc. No. 113.)    On February 7, 2023, the parties each filed their opening claim
28

                                                     1
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                                            Appx3
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 1    construction briefs. (Doc. Nos. 149, 150, 151.) On February 17, 2023, the parties each
 2    filed their responsive claim construction briefs. (Doc. Nos. 178, 179, 180.) On February
 3    22, 2023, the Court issued a tentative claim construction order. (Doc. No. 192.)
 4          The Court held a claim construction hearing on February 27, 2023. Jonathan D.
 5    Ball, Rose C. Prey, Giancarlo L. Scaccia, Danielle M. Zapata, and Joseph T. Ergastolo
 6    appeared for Plaintiffs. Eric M. Acker, Drew A. Hillier, and Sarah J. Vandervalk appeared
 7    for Defendant Shoreline.      Sudip Kundu and Nicol Malick appeared for Defendant
 8    Kaufman. After considering the parties’ briefs, the parties’ arguments at the hearing, and
 9    all relevant information, the Court issues the following claim construction order.
10                                            Background
11          In the present action, Plaintiffs allege that Defendants infringe the asserted patents
12    under 35 U.S.C. § 271(a) and 35 U.S.C. § 271(b) and that Defendants infringe the asserted
13    method patents under 35 U.S.C. § 271(g). 1 (See Doc. No. 162, Supp. FAC ¶¶ 157-414.)
14    Specifically, Plaintiffs allege that Defendants, individually and acting in concert, make,
15    use, sell, offer for sale, and/or import induced pluripotent stem cells (“iPSCs”) that infringe
16    one or more claims of the asserted patents.2 (Id. ¶ 140; see, e.g., id. ¶¶ 162 (“Defendants’
17    use of their ‘iPSC-derived cell therapy manufacturing platform’ infringed at least claim 1
18    of the ’369 Patent.”), 212 (“iPSCs used by Defendants to make at least the iPSC-derived
19
20
      1
            The asserted method patents are the ’856 Patent, the ’536 Patent, the ’744 Patent,
21
      and the ’917 Patent.
22    2
             Induced pluripotent stem cells (“iPSCs”) “are pluripotent stem cells generated from
23    somatic cells by reprogramming.” (Doc. 162, Supp. FAC ¶ 31; see Doc. No. 184, Answer
      to Supp. FAC ¶ 31; see also Doc. No. 151-14, Plath Decl. ¶ 59; Doc. No. 152, Snyder Decl.
24
      ¶ 43.) “Four specific genes—cMYC, OCT3/4, SOX2 and KLF4—encoding transcription
25    factors play a role in converting or reprogramming somatic cells into pluripotent stem
      cells.” (Doc. 162, Supp. FAC ¶ 32; see Doc. No. 184, Answer to Supp. FAC ¶ 32; Doc.
26
      No. 204, Answer to Supp. FAC ¶ 32; see also Doc. No. 184, Counterclaims ¶ 43 (“iPSCs
27    are generated in culture from somatic cells through the introduction of reprogramming
      factors that transform a somatic cell into a pluripotent state.”); Doc. No. 152, Snyder Decl.
28
      ¶¶ 41, 43.)

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                                              Appx4
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 1    natural kill (NK) cell platforms are made by a process that comprises at least each step of
 2    claim 1 of the ’856 Patent.”).)
 3          Plaintiff Whitehead is the owner via assignment of the patents-in-suit. See U.S.
 4    Patent No. 8,071,369, at [73] (issued Dec. 6, 2011); U.S. Patent No. 8,932,856, at [73]
 5    (issued Jan. 13, 2015); U.S. Patent No. 8,951,797, at [73] (issued Feb. 10, 2015); U.S.
 6    Patent No. 8,940,536, at [73] (issued Jan. 27, 2015); U.S. Patent No. 9,169,490, at [73]
 7    (issued Oct. 27, 2015); U.S. Patent No. 10,017,744, at [73] (issued Jul. 10, 2018); U.S.
 8    Patent No. 10,457,917, at [73] (issued Oct. 29, 2019). Plaintiffs allege that Fate is the
 9    exclusive licensee of the patents-in-suit. (Doc. No. 162, Supp. FAC ¶¶ 16, 19.)
10          The ’369 Patent is entitled “Compositions for reprogramming somatic cells” and
11    was issued on December 6, 2011. ’369 Patent at [45], [54]. The ’856 Patent is entitled
12    “Methods for reprogramming somatic cells” and was issued on January 13, 2015. ’856
13    Patent at [45], [54].     The ’797 Patent is entitled “Compositions for identifying
14    reprogramming factors” and was issued on February 10, 2015. ’797 Patent at [45], [54].
15    The ’536 Patent is entitled “Methods for making somatic cells more susceptible to
16    reprogramming” and was issued on January 27, 2015. ’536 Patent at [45], [54]. The ’490
17    Patent is entitled “Methods for reprogramming somatic cells” and was issued on October
18    27, 2015.    ’490 Patent at [45], [54].        The ’744 Patent is entitled “Methods for
19    reprogramming somatic cells” and was issued on Jul. 10, 2018. ’744 Patent at [45], [54].
20    The ’917 Patent is entitled “Methods for reprogramming somatic cells” and was issued on
21    October 29, 2019. ’917 Patent at [45], [54].
22          The asserted patents are all related and all share a common specification.3 (See Doc.
23    No. 149 at 5 & n.2; Doc. No. 151 at 2 & n.2 (agreeing that the asserted patents all share
24    the same specification); see also Doc. No. 162, Supp. FAC ¶ 132).)               The shared
25    specification states that the disclosed invention is directed to “methods for reprogramming
26
27
      3
             The Court will cite to the ’369 Patent’s specification as the “shared specification” of
28
      the asserted patents.

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                                             Appx5
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 1    somatic cells to a less differentiated state.” ’369 Patent col. 2 ll. 24-25; see also id. at [57]
 2    (“The invention provides methods for reprogramming somatic cells to generate multipotent
 3    or pluripotent cells.”).
 4          Independent claim 1 of the ’369 Patent claims:
 5          A composition comprising an isolated primary somatic cell that comprises an
            exogenously introduced nucleic acid encoding an Oct4 protein operably
 6
            linked to at least one regulatory sequence.
 7
      ’369 Patent col. 20 ll. 40-43.
 8
            Independent claim 1 of the ’856 Patent claims:
 9
            A method of making a somatic cell more susceptible to reprogramming to a
10          pluripotent state comprising introducing at least one exogenous nucleic acid
            encoding Oct 4 operably linked to at least one regulatory sequence into the
11
            cell, thereby increasing expression of Oct4 protein in the somatic cell, wherein
12          increased expression of Oct4 protein makes the cell more susceptible to
            reprogramming to a pluripotent state.
13
      ’856 Patent col. 20 ll. 38-44.
14
            Independent claim 1 of the ’797 Patent claims:
15
            A composition comprising an isolated primary somatic cell that comprises an
16          exogenously introduced nucleic acid encoding Oct 4, wherein the
17          exogenously introduced nucleic acid increases Oct4 expression in the cell.
18    ’797 Patent col. 20 ll. 40-43.
19          Independent claim 1 of the ’536 Patent claims:
20          A method of making a primary somatic cell more susceptible to
            reprogramming to a less differentiated state, comprising: introducing an
21          exogenous nucleic acid encoding an Oct 4 protein operably linked to at least
22          one regulatory sequence into the somatic cell, wherein expression of the
            exogenously introduced nucleic acid results in making the somatic cell more
23          susceptible to reprogramming to a less differentiated state.
24    ’536 Patent col. 20 ll. 37-44.
25          Independent claim 1 of the ’490 Patent claims:
26          A somatic cell comprising an exogenous nucleic acid encoding Oct4 and an
27          amount of Oct4 expression comparable to the amount of Oct4 expression in
            an embryonic stem cell.
28

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                                               Appx6
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 1    ’490 Patent col. 20 ll. 39-41.
 2          Independent claim 1 of the ’744 Patent claims:
 3          A method of making a somatic cell more susceptible to reprogramming to a
            cell having a less differentiated state, comprising:
 4
                   obtaining a somatic cell that comprises an exogenously introduced
 5
                   polynucleic acid encoding Oct4 protein, and an exogenously introduced
 6                 polynucleic acid encoding Sox2 or Nanog protein;
 7                 wherein the exogenously introduced polynucleic acids result in making
                   the somatic cell more susceptible to reprogramming to a less
 8                 differentiated state.
 9    ’744 Patent col. 21 ll. 14-23.
10          Independent claim 1 of the ’917 Patent claims:
11          A method of making a somatic cell more susceptible to reprogramming to a
12          less differentiated state, comprising: introducing an exogenous nucleic acid
            encoding an Oct 4 protein operably linked to at least one regulatory sequence
13          into the somatic cell, thereby increasing expression of Oct4 protein in the
14          somatic cell, wherein increased expression of Oct4 protein makes the cell
            more susceptible to reprogramming; and wherein the exogenous nucleic acid
15          is transiently transfected into the somatic cell.
16    ’917 Patent col. 21 ll. 16-24.
17          On May 13, 2022, Plaintiffs filed a complaint against Defendants, alleging claims
18    for infringement of the ’369 Patent, the ’856 Patent, the ’797 Patent, the ’536 Patent, the
19    ’490 Patent, and the ’917 Patent. (Doc. No. 1, Compl. ¶¶ 66-236.) On August 12, 2022,
20    the Court issued a scheduling order. (Doc. No. 51.)
21          On December 5, 2022, the parties filed their joint claim construction hearing
22    statement, chart, and worksheet pursuant to Patent Local Rule 4.2. (Doc. No. 90.) On
23    January 3, 2023, Plaintiffs filed a first amended complaint against Defendants, adding a
24    claim for infringement of the ’744 Patent. (Doc. No. 112, FAC ¶¶ 375-414.) On January
25    6, 2023, the parties filed an amended joint claim construction hearing statement, chart, and
26    worksheet pursuant to Patent Local Rule 4.2. (Doc. No. 113.) On January 10, 2023, the
27    Court issued an amended scheduling order. (Doc. No. 115.) On February 14, 2023,
28    Plaintiffs filed a supplemental first amended complaint – the operative complaint. (Doc.

                                                   5
                                                                                  22-cv-00676-H-MSB
                                             Appx7
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 1    No. 162, Supp. FAC.) On February 17 and 23, 2023, Defendants filed answers and
 2    counterclaims to Plaintiffs’ supplemental first amended complaint. (Doc. Nos. 184, 204.)
 3          By the present claim construction briefs, the parties agree to the proper construction
 4    for two claim terms, and the parties request that the Court construe six disputed claim terms
 5    from the asserted patents. (See Doc. Nos. 149, 150, 151, 178, 179, 180; see also Doc. No.
 6    113-1, Ex. A; Doc. No. 113-7, Ex. D.)
 7                                            Discussion
 8    I.    Legal Standards for Claim Construction
 9          Claim construction is an issue of law for the court to decide. Teva Pharms. USA,
10    Inc. v. Sandoz, Inc., 574 U.S. 318, 326 (2015); Markman v. Westview Instruments, Inc.,
11    517 U.S. 370, 372 (1996). Although claim construction is ultimately a question of law,
12    “subsidiary factfinding is sometimes necessary.” Teva, 574 U.S. at 326.
13          “It is a ‘bedrock principle’ of patent law that the ‘claims of a patent define the
14    invention to which the patentee is entitled the right to exclude.’” Phillips v. AWH Corp.,
15    415 F.3d 1303, 1312 (Fed. Cir. 2005) (en banc) (citations omitted). “The purpose of claim
16    construction is to ‘determin[e] the meaning and scope of the patent claims asserted to be
17    infringed.’” O2 Micro Int’l Ltd. v. Beyond Innovation Tech. Co., 521 F.3d 1351, 1360
18    (Fed. Cir. 2008) (citation omitted).
19          Claim terms “‘are generally given their ordinary and customary meaning[,]’” which
20    “is the meaning that the term would have to a person of ordinary skill in the art in question
21    at the time of the invention.” Phillips, 415 F.3d at 1312–13. “In some cases, the ordinary
22    meaning of claim language as understood by a [PHOSITA] may be readily apparent even
23    to lay judges, and claim construction in such cases involves little more than the application
24    of the widely accepted meaning of commonly understood words.” Id. at 1314. “However,
25    in many cases, the meaning of a claim term as understood by persons of skill in the art is
26    not readily apparent.” O2 Micro, 521 F.3d at 1360. If the meaning of the term is not
27    readily apparent, the court must look to “‘those sources available to the public that show
28    what a person of skill in the art would have understood disputed claim language to mean.’”

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 1    Phillips, 415 F.3d at 1314 (quoting Innova/Pure Water, Inc. v. Safari Water Filtration Sys.,
 2    Inc., 381 F.3d 1111, 1116 (Fed. Cir. 2004)). “Those sources include ‘the words of the
 3    claims themselves, the remainder of the specification, the prosecution history, and extrinsic
 4    evidence.’” Id. (quoting Innova, 381 F.3d at 1116); see Ericsson, Inc. v. D-Link Sys., Inc.,
 5    773 F.3d 1201, 1217–18 (Fed. Cir. 2014).
 6          In determining the proper construction of a claim, a court should first look to the
 7    language of the claims. See Allergan Sales, LLC v. Sandoz, Inc., 935 F.3d 1370, 1373
 8    (Fed. Cir. 2019) (“‘[C]laim construction must begin with the words of the claims
 9    themselves.’”); Source Vagabond Sys. Ltd. v. Hydrapak, Inc., 753 F.3d 1291, 1299 (Fed.
10    Cir. 2014) (“‘a claim construction analysis must begin and remain centered on the claim
11    language itself’”). The context in which a disputed term is used in the asserted claims may
12    provide substantial guidance as to the meaning of the term. See Phillips, 415 F.3d at 1314.
13          A court must also read claims “in view of the specification, of which they are a part.”
14    Markman, 52 F.3d at 979; see 35 U.S.C. § 112(b) (“The specification shall conclude with
15    one or more claims particularly pointing out and distinctly claiming the subject matter
16    which the inventor or a joint inventor regards as the invention.”). “‘Apart from the claim
17    language itself, the specification is the single best guide to the meaning of a claim term.’”
18    Vederi, LLC v. Google, Inc., 744 F.3d 1376, 1382 (Fed. Cir. 2014) (quoting AIA Eng’g
19    Ltd. v. Magotteaux Int’l S/A, 657 F.3d 1264, 1272 (Fed. Cir. 2011)).
20          But “[t]he written description part of the specification does not delimit the right to
21    exclude. That is the function and purpose of claims.” Markman v. Westview Instruments,
22    Inc., 52 F.3d 967, 980 (Fed. Cir. 1995) (en banc). Therefore, “it is improper to read
23    limitations from a preferred embodiment described in the specification—even if it is the
24    only embodiment—into the claims absent a clear indication in the intrinsic record that the
25    patentee intended the claims to be so limited.” Dealertrack, Inc. v. Huber, 674 F.3d 1315,
26    1327 (Fed. Cir. 2012); accord Openwave Sys., Inc. v. Apple Inc., 808 F.3d 509, 514 (Fed.
27    Cir. 2015).
28          In addition to the claim language and the specification, the patent’s prosecution

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 1    history may be considered if it is in evidence. Phillips, 415 F.3d at 1317. The prosecution
 2    history “consists of the complete record of the proceedings before the [Patent and
 3    Trademark Office (‘PTO’)] and includes the prior art cited during the examination of the
 4    patent.” Id. “Like the specification, the prosecution history provides evidence of how the
 5    PTO and the inventor understood the patent.” Id. “Yet because the prosecution history
 6    represents an ongoing negotiation between the PTO and the applicant, rather than the final
 7    product of that negotiation, it often lacks the clarity of the specification and thus is less
 8    useful for claim construction purposes.” Id.
 9          In most situations, analysis of the intrinsic evidence will resolve claim construction
10    disputes. See Vitronics, 90 F.3d at 1583; Teva, 574 U.S. at 331; see also Seabed
11    Geosolutions (US) Inc. v. Magseis FF LLC, 8 F.4th 1285, 1287 (Fed. Cir. 2021) (“If the
12    meaning of a claim term is clear from the intrinsic evidence, there is no reason to resort to
13    extrinsic evidence.”). However, “[w]here the intrinsic record is ambiguous, and when
14    necessary,” district courts may “rely on extrinsic evidence, which ‘consists of all evidence
15    external to the patent and prosecution history, including expert and inventor testimony,
16    dictionaries, and learned treatises.’” Power Integrations, Inc. v. Fairchild Semiconductor
17    Int’l, Inc., 711 F.3d 1348, 1360 (Fed. Cir. 2013) (quoting Phillips, 415 F.3d at 1317). A
18    court must evaluate all extrinsic evidence in light of the intrinsic evidence. Phillips, 415
19    F.3d at 1319. “‘[E]xtrinsic evidence is to be used for the court’s understanding of the
20    patent, not for the purpose of varying or contradicting the terms of the claims.’” Genuine
21    Enabling Tech. LLC v. Nintendo Co., 29 F.4th 1365, 1373 (Fed. Cir. 2022); see also
22    Summit 6, LLC v. Samsung Elecs. Co., 802 F.3d 1283, 1290 (Fed. Cir. 2015) (“Extrinsic
23    evidence may not be used ‘to contradict claim meaning that is unambiguous in light of the
24    intrinsic evidence.’”). In cases where subsidiary facts contained in the extrinsic evidence
25    “are in dispute, courts will need to make subsidiary factual findings about that extrinsic
26    evidence.” Teva, 574 U.S. at 332.
27          “[D]istrict courts are not (and should not be) required to construe every limitation
28    present in a patent’s asserted claims.” O2 Micro, 521 F.3d at 1362; see also Eon Corp. IP

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 1    Holdings v. Silver Spring Networks, 815 F.3d 1314, 1318–19 (Fed. Cir. 2016) (“‘[O]nly
 2    those terms need be construed that are in controversy, and only to the extent necessary to
 3    resolve the controversy.’”). In certain situations, it is appropriate for a court to determine
 4    that a claim term needs no construction and its plain and ordinary meaning applies. O2
 5    Micro, 521 F.3d at 1360; Phillips, 415 F.3d at 1314. But “[a] determination that a claim
 6    term ‘needs no construction’ or has the ‘plain and ordinary meaning’ may be inadequate
 7    when a term has more than one ‘ordinary’ meaning or when reliance on a term’s ‘ordinary’
 8    meaning does not resolve the parties’ dispute.” O2 Micro, 521 F.3d at 1361. If the parties
 9    dispute the scope of a certain claim term, it is the court’s duty to resolve the dispute. Id. at
10    1362; Eon, 815 F.3d at 1318.
11    II.   Agreed Upon Claim Terms
12          1.     “primary somatic cell”
13          In their amended joint claim construction worksheet, the parties agree that the claim
14    term “primary somatic cell” should be construed as “non-immortalized somatic cell.”
15    (Doc. No. 113-7, Ex. D at 37-42.) The parties’ joint proposed construction for this claim
16    term is well supported by the shared specification. See ’369 Patent col. 5 ll. 63-66 (“The
17    somatic cells in the invention may be primary cells or immortalized cells. Such cells may
18    be primary cells (non-immortalized cells), such as those freshly isolated from an animal . .
19    . .”). As such, the Court construes the claim term “primary somatic cell” as “non-
20    immortalized somatic cell.” See Phillips, 415 F.3d at 1316 (“[T]he specification may
21    reveal a special definition given to a claim term by the patentee . . . . In such cases, the
22    inventor’s lexicography governs.”); Edwards Lifesciences LLC v. Cook Inc., 582 F.3d
23    1322, 1329 (Fed. Cir. 2009) (explaining that a patentee acts as his own lexicographer when
24    the patentee “‘clearly set[s] forth a definition of the disputed claim term in either the
25    specification or prosecution history”’); see, e.g., Biogen MA Inc. v. EMD Serano, Inc., 976
26    F.3d 1326, 1336 (Fed. Cir. 2020).
27    ///
28    ///

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 1            2.    “candidate agent of interest with respect to its potential to reprogram a somatic
 2                  cell”
 3            In their amended joint claim construction worksheet, the parties agree that the claim
 4     term “candidate agent of interest with respect to its potential to reprogram a somatic cell”
 5     should be construed as “a candidate agent of interest with respect to its potential to
 6     reprogram a somatic cell, including naturally arising, recombinant, synthetic, designed,
 7     chemically modified, or isolated compounds, including organic compounds, biomolecules,
 8     peptides, saccharides, fatty acids, steroids, purines, pyrimidines, nucleic acids,
 9     oligonucleotides, oligopeptides, bacterial extracts, fungal extracts, plant extracts, animal
10     extracts, chromatin remodeling proteins, and pluripotency proteins.” (Doc. No. 113-7, Ex.
11     D at 16-24.) The parties’ joint proposed construction for this claim term is well supported
12     by the shared specification. See ’369 Patent col. 11 ll. 51-67, col. 12 ll. 1-8. As such, the
13     Court construes the claim term “candidate agent of interest with respect to its potential to
14     reprogram a somatic cell” as “a candidate agent of interest with respect to its potential to
15     reprogram a somatic cell, including naturally arising, recombinant, synthetic, designed,
16     chemically modified, or isolated compounds, including organic compounds, biomolecules,
17     peptides, saccharides, fatty acids, steroids, purines, pyrimidines, nucleic acids,
18     oligonucleotides, oligopeptides, bacterial extracts, fungal extracts, plant extracts, animal
19     extracts, chromatin remodeling proteins, and pluripotency proteins.”
20     III.   Disputed Claim Terms
21            A.    “less differentiated state”
22            Plaintiffs propose that the claim term “less differentiated state” be construed as “a
23     state in which the differentiation status of the cell has moved along a continuum of
24     differentiation states toward a pluripotent state.” (Doc. No. 151 at 16.) Defendants propose
25     that the claim term be construed as “a state where the cell has the potential to differentiate
26     into more types of cells compared to its prior state.” (Doc. No. 149 at 21.) Here, the parties
27     dispute whether the term “less differentiated state” requires that the state being one where
28     the cell has the potential to differentiate into more types of cells compared to its prior state

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 1     (e.g., from unipotent to multipotent or from multipotent to pluripotent) or whether the state
 2     is simply one where the differentiation status of the cell has moved along a continuum
 3     toward a pluripotent state.
 4           The Court begins its analysis of the parties’ dispute by reviewing the intrinsic record.
 5     The shared specification sets forth the meaning of the term “less differentiated state” within
 6     the context of the claimed invention. The specification explains:
 7           Differentiation status of cells is a continuous spectrum, with terminally
             differentiated state at one end of this spectrum and de-differentiated state
 8
             (pluripotent state) at the other end. Reprogramming, as used herein, refers to
 9           a process that alters or reverses the differentiation status of a somatic cell,
             which can be either partially or terminally differentiated. Reprogramming
10
             includes complete reversion, as well as partial reversion, of the differentiation
11           status of a somatic cell. In other words, the term “reprogramming”, as used
             herein, encompasses any movement of the differentiation status of a cell along
12
             the spectrum toward a less-differentiated state. For example, reprogramming
13           includes reversing a multipotent cell back to a pluripotent cell, reversing a
             terminally differentiated cell back to either a multipotent cell or a pluripotent
14
             cell. In one embodiment, reprogramming of a somatic cell turns the somatic
15           cell all the way back to a pluripotent state. In another embodiment,
             reprogramming of a somatic cell turns the somatic cell back to a multipotent
16
             state. The term “less-differentiated state”, as used herein, is thus a relative
17           term and includes a completely de-differentiated state and a partially
             differentiated state.
18
       ’369 Patent col. 7 ll. 55-67, col. 8 ll. 1-8.       Here, the specification describes the
19
       differentiation status of cells as a “continuous spectrum,” and that “reprogramming”
20
       encompasses “any movement” of the differentiation status of a cell along that spectrum.
21
       Id. By using the phrase “continuous spectrum,” the specification describes “differentiation
22
       status” as being a connected, unbroken range of states. 4 And, by describing the claim term
23
24
25     4
              The Court notes that the common meaning of the word “continuous” is “connected,
       unbroken.” OXFORD ENGLISH DICTIONARY, https://www.oed.com/view/Entry/40280?
26
       redirectedFrom=continuous#eid (defining “continuous” as “[c]haracterized by continuity;
27     extending in space without interruption of substance; having no interstices or breaks;
       having its parts in immediate connection; connected, unbroken”); see also MERRIAM-
28
       WEBSTER       DICTIONARY,        https://www.merriam-webster.com/dictionary/continuous

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 1     “less differentiated state” as being related to any movement along that continuum of
 2     differentiation status, Plaintiffs’ proposed construction aligns with the specification’s
 3     description of the terms differentiation status and less differentiated state. As such,
 4     Plaintiffs’ proposed construction is well supported by the specification. See Phillips, 415
 5     F.3d at 1316 (“[T]he specification may reveal a special definition given to a claim term by
 6     the patentee . . . . In such cases, the inventor’s lexicography governs.”); Edwards
 7     Lifesciences, 582 F.3d at 1329 (explaining that a patentee acts as his own lexicographer
 8     when the patentee “‘clearly set[s] forth a definition of the disputed claim term in either the
 9     specification or prosecution history”’); see, e.g., Biogen, 976 F.3d at 1336.
10           Defendants argue that this same passage in the shared specification supports their
11     proposed construction. (Doc. No. 149 at 21-22; Doc. No. 178 at 10.) The Court disagrees.
12     By requiring that the “less differentiated state” be a state where the cell has the potential to
13     differentiate into more types of cells compared to its prior state (e.g., unipotent to
14     multipotent), Defendants fails to adhere to the specification’s description of the
15     differentiation status of cells as being a “continuous spectrum” of states. Moreover, to
16     support their proposed construction, Defendants only rely on examples and preferred
17     embodiments described in the specification. (See Doc. No. 149 at 22; Doc. No. 178 at 10.)
18     “[C]laims should not be limited ‘to preferred embodiments or specific examples in the
19     specification.’” VLSI Tech. LLC v. Intel Corp., 53 F.4th 646, 652 (Fed. Cir. 2022)
20     (quoting Teleflex, Inc. v. Ficosa N. Am. Corp., 299 F.3d 1313, 1328 (Fed. Cir. 2002)); see
21     also Dealertrack, 674 F.3d at 1327 (“It is improper to read limitations from a preferred
22
23
       (defining “continuous” as “marked by uninterrupted extension in space, time, or
24
       sequence”). And the common meaning of the word “spectrum” is “a range of different
25     positions.”    CAMBRIDGE DICTIONARY, https://dictionary.cambridge.org/us/dictionary/
       english/spectrum (defining “spectrum” as “a range of different positions, opinions, etc.
26
       between two extreme points”); OXFORD ENGLISH DICTIONARY, (defining “spectrum” as
27     “[t]he entire range or extent of something, arranged by degree, quality, etc.”); see also
       MERRIAM-WEBSTER          DICTIONARY,      https://www.merriam-webster.com/dictionary/
28
       spectrum (defining “spectrum” as “a continuous sequence or range”).

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 1     embodiment described in the specification—even if it is the only embodiment—into the
 2     claims absent a clear indication in the intrinsic record that the patentee intended the claims
 3     to be so limited.”). Here, there is no clear indication in the specification that the claims
 4     should be limited to those specific examples. To the contrary, the specification describes
 5     the differentiation status of cells as a “continuous spectrum.” ‘369 Patent col. 7 ll. 55. As
 6     such, the shared specification does not support Defendants’ proposed construction.
 7           Turning to the prosecution history, the prosecution history also supports Plaintiffs’
 8     proposed construction for the claim term “less differentiated state.” During prosecution of
 9     the ’856 Patent, the examiner stated: “according to the specification, the breadth of the
10     claims encompass reprogramming to a partially less differentiated state, such as a
11     multipotent cell, a full differentiated state, such as [a] pluripotent cell, and anywhere in
12     between.” (Doc. No. 113-2, Ex. B-11 at 7; see also Doc. No. 113-5, Ex. B-31 at 10
13     (“Applicant refers to the teachings of the specification which teaches that the invention
14     encompasses any shift along the continuous spectrum of differentiation status as long as it
15     is in the direction of less differentiated . . . .”).) See 3M Innovative Properties Co. v.
16     Tredegar Corp., 725 F.3d 1315, 1332 (Fed. Cir. 2013) (explaining that an examiner’s
17     statement during prosecution of the patent can be “representative of how one of skill in the
18     art would understand the term”). As such, Plaintiffs’ proposed construction for this claim
19     term is well supported by the intrinsic record, including both the specification and the
20     prosecution history.5
21
22     5
              The Court rejects Defendants’ contention that the prosecution history supports their
       proposed construction. (See Doc. No. 149 at 23.) To support their assertion, Defendants
23
       rely on the following statement from the examiner: “[T]he breadth of ‘reprogramming’
24     without specifying a particular differentiation status encompasses transdifferentiation,
       reprogramming the[sic] a less differentiated state, including unipotent, multipotent,
25
       pluripotent, and totipotent.” (Doc. No. 113-2, Ex. B-13 at 3.) This language is insufficient
26     to support Defendants’ proposed construction. Here, the examiner uses open-ended
       language in explaining that “a less differentiated state” includes unipotent, multipotent,
27
       pluripotent, and totipotent states. The examiner does not state that it only includes those
28     four specific states.

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 1           In sum, the Court adopts Plaintiffs’ proposed construction for this claim term, and
 2     the Court rejects Defendants’ proposed construction. The Court construes the claim term
 3     “less differentiated state” as “a state in which the differentiation status of the cell has moved
 4     along a continuum of differentiation states toward a pluripotent state.”
 5           B.     “reprogramming to a [pluripotent/less differentiated] state”
 6           Plaintiffs contend that the claim term “reprogramming to a [pluripotent/less
 7     differentiated] state” need not be construed, and, instead, the term should be given its plain
 8     and ordinary meaning. (Doc. No. 151 at 18.) Defendants propose that the claim term be
 9     construed as “directly reprogramming to a [pluripotent/less differentiated] state.” (Doc.
10     No. 149 at 10.)
11           Here, the parties dispute whether the asserted claims at issue are limited to “direct
12     reprogramming.” Defendants contend that the “reprogramming” claimed in the asserted
13     claims is “direct” reprogramming (i.e., reprogramming without the use of embryos, oocytes
14     and/or nuclear transfer technology), 6 and Plaintiffs dispute Defendants’ contention.7 (See
15
16     6
              The Court notes that Defendants’ interpretation of the meaning of the phrase
17     “directly reprogramming” is consistent with how the shared specification defines
18     “reprogramming . . . directly.” See, e.g., ’369 Patent col. 3 ll. 65-67 (“It would be useful
       to reprogram somatic cells directly into ES cells without the use of oocytes and nuclear
19     transfer technology.”); see also Phillips, 415 F.3d at 1316 (“[T]he specification may reveal
20     a special definition given to a claim term by the patentee . . . .”). (See also Doc. No. 113-
       5, Ex. B-31 at 5 (examiner stating “the art at the time was not developed to the point of
21     demonstrating any methods of direct reprogramming with pluripotency factors, let alone,
22     solely the use of Oct4”).) As such, the Court rejects Plaintiffs’ assertion that Defendants’
       use of the phrase “directly reprogramming” would inject unnecessary ambiguity into the
23     claims. (See Doc. No. 151 at 18-19.) Nevertheless, even though the specification supports
24     Defendants’ interpretation of the meaning of the phrase “directly reprogramming,” that
       does not resolve the current claim construction issue as to whether the asserted claims
25     should be limited to direct reprogramming.
26     7
              In their responsive claim construction briefs, Plaintiffs clarify that they do not argue
       that the asserted claims encompass somatic cell nuclear transfer (“SCNT”); rather,
27
       Plaintiffs disagree that the word “directly” should be read into the claim language. (Doc.
28     No. 179 at 9 & n.7.)

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 1     Doc. No. 149 at 10-13; Doc. No. 151 at 18-19; Doc. No. 179 at 9.)
 2           The Court begins its analysis of the parties’ dispute by reviewing the claim language.
 3     The claim language at issue merely uses the term “reprogramming.” It does not contain
 4     the words “direct” or “directly.” For example, independent claim 1 of the ’856 Patent
 5     claims: “A method of making a somatic cell more susceptible to reprogramming to a
 6     pluripotent state . . . . wherein increased expression of Oct4 protein makes the cell more
 7     susceptible to reprogramming to a pluripotent state.” ’856 Patent col. 20 ll. 38-44; see also,
 8     e.g., ’917 Patent col. 21 ll. 16-23 (“A method of making a somatic cell more susceptible to
 9     reprogramming to a less differentiated state . . . wherein increased expression of Oct4
10     protein makes the cell more susceptible to reprogramming . . . .”). As such, the claim
11     language does not support Defendants’ proposed construction.
12           Defendants contend that the claim language supports their proposed construction
13     because the claim language states that a “somatic cell” or a “primary somatic cell” is what
14     is being made more susceptible to reprogramming, and the claim language does not recite
15     making a somatic cell nucleus inserted into an egg more susceptible to reprogramming.
16     (Doc. No. 149 at 12; see also Doc. No. 18 at 3-4.) The Court rejects this argument.
17     Defendants’ argument is based on their assumption that the patentees would not use the
18     terms “somatic cell” or “primary somatic cell”8 when referring to a method involving
19     reprogramming via nuclear transfer technology, such as SCNT, and, instead, the patentees
20     would use a term like “somatic cell nucleus inserted into an egg.” Defendants’ assumption
21     is not supported by a review of the intrinsic record. The parties agree that the sole working
22     example in the specification, Example 1, is “a SCNT experiment.” (Doc. No. 149 at 6;
23     Doc. No. 151 at 6.) When describing the result of that SCNT experiment, the specification
24     states: “This result demonstrated that induced Oct4 expression in somatic cells such as
25     fibroblasts make these cells more susceptible to reprogramming.” ’369 Patent col. 19 ll.
26
27     8
             The Court construes the claim term “primary somatic cell” as “non-immortalized
28     somatic cell” based on the parties’ joint proposed construction. (Doc. No. 113-7 at 37-42.)

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 1     32-34.    Here, the specification uses the term “somatic cells” when referring to
 2     reprogramming via nuclear transfer technology, specifically SCNT. 9 In addition, in
 3     explaining the process of SCNT, the specification explains that SCNT involves a normal
 4     egg with its nucleus removed (i.e., an “enucleated egg”) and a “donor diploid somatic cell.”
 5     Id. at col. 1 ll. 48-50. (See also Doc. No. 152, Snyder Decl. ¶ 35 (explaining SCNT); Doc.
 6     No. 151-14, Plath Decl. ¶ 62 (explaining nuclear transfer/nuclear cloning).) Further, during
 7     the prosecution of the asserted patents, the examiner also used the term “somatic cell[s]”
 8     when referring to reprogramming via nuclear transfer. (See Doc. No. 113-5, Ex. B-31 at 5
 9     (“At the time of the invention, the sole means of reprogramming a somatic cell known in
10     the art was via nuclear transfer or somatic cell fusion with an ES cell.” (citation omitted)),
11     8 (“This demonstrates, as consist[ent] with the prior art, that nuclear transfer itself
12     reprograms somatic cells.”).) As such, Defendants’ assumption is erroneous and not
13     supported by the intrinsic record.
14           Indeed, a review of the shared specification demonstrates that Defendants’ proposed
15     construction should be rejected. Defendants contend that “direct reprogramming” means
16     reprogramming without the use of embryos, oocytes, and/or nuclear transfer technology.
17     (See Doc. No. 149 at 10-13.) As Defendants acknowledge, the only working example
18     provided in the specification, Example 1, is an SCNT experiment. See ’369 Patent col. 18
19     ll. 54-56, col. 19 ll. 22-34, Table 1 (describing “Nuclear Transfer Experiment”). (See Doc.
20     No 149 at 6.) Because Defendants’ proposed construction would limit the claims at issue
21     to “direct reprogramming” (thereby, excluding use of nuclear transfer technology,
22     including SCNT), Defendants’ proposed construction would exclude the preferred
23     embodiment described in Example 1 from the scope of the claims. “‘A claim construction
24
25
       9
              Indeed, in describing the SCNT “nuclear transfer experiment,” the shared
26
       specification explains that “[n]uclear transfer was performed on fibroblasts derived from
27     tail biopsies of mice that carry the inducible Oct4 transgene.” ’369 Patent col. 19 ll. 23-
       25. The specification expressly lists “fibroblasts” as one of the types of “[m]ammalian
28
       somatic cells useful in the present invention.” Id. col. 6 ll. 6-15.

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 1     that excludes a preferred embodiment is rarely, if ever correct and would require highly
 2     persuasive evidentiary support.’” Kaufman v. Microsoft Corp., 34 F.4th 1360, 1372 (Fed.
 3     Cir. 2022) (quoting Epos Technologies Ltd. v. Pegasus Technologies Ltd., 766 F.3d 1338,
 4     1347 (Fed. Cir. 2014)); see Duncan Parking Techs., Inc. v. IPS Grp., Inc., 914 F.3d 1347,
 5     1364 (Fed. Cir. 2019) (“[A] claim construction that excludes the preferred embodiment is
 6     highly disfavored.”); Immunex Corp. v. Sanofi-Aventis U.S. LLC, 977 F.3d 1212, 1220
 7     (Fed. Cir. 2020) (“‘[T]here is a strong presumption against a claim construction that
 8     excludes a disclosed embodiment.’” (quoting Nobel Biocare Servs. AG v. Instradent USA,
 9     Inc., 903 F.3d 1365, 1381 (Fed. Cir. 2018)). Indeed, Defendants’ proposed construction
10     excludes not only a preferred embodiment; it excludes the only working preferred
11     embodiment described in the shared specification. As such, the specification strongly
12     supports rejecting Defendants’ proposal requiring that the claims be limited to direct
13     reprogramming.
14           Defendants contend that the shared specification supports their proposed
15     construction. (Doc. No. 149 at 10-12; Doc. No. 178 at 2-3.) The Court disagrees. In an
16     attempt to support their proposed construction, Defendants rely on the following passage
17     in the specification:
18                 Generating pluripotent or multipotent cells by somatic cell
             reprogramming using the methods of the present invention has at least two
19
             advantages. . . . . Second, the methods of the present invention allow one to
20           generate pluripotent without using embryos, oocytes and/or nuclear transfer
             technology.
21
       ’369 Patent col. 4 ll. 21-32. The Court acknowledges that the Federal Circuit has explained
22
       in many cases that: “When a patentee ‘describes the features of the ‘present invention’ as
23
       a whole,’ he implicitly alerts the reader that ‘this description limits the scope of the
24
       invention.’” Luminara Worldwide, LLC v. Liown Elecs. Co., 814 F.3d 1343, 1353 (Fed.
25
       Cir. 2016) (quoting Regents of Univ. of Minnesota v. AGA Med. Corp., 717 F.3d 929, 936
26
       (Fed. Cir. 2013)); accord Pacing Techs., LLC v. Garmin Int’l, Inc., 778 F.3d 1021, 1025
27
       (Fed. Cir. 2015); Verizon Servs. Corp. v. Vonage Holdings Corp., 503 F.3d 1295, 1308
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 1     (Fed. Cir. 2007); see Techtronic Indus. Co. v. Int’l Trade Comm’n, 944 F.3d 901, 907 (Fed.
 2     Cir. 2019). But there are two problems with Defendants’ reliance on this passage in the
 3     specification. First, the passage uses permissive language in explaining that the methods
 4     of the present invention “allow” for one to generate pluripotent cells by somatic cell
 5     reprogramming without using embryos, oocytes and/or nuclear transfer technology. The
 6     language at issue does not require that the claimed reprogramming must be done without
 7     the use of embryos, oocytes and/or nuclear transfer technology.
 8           Further, the passage at issue does not appear to be even applicable to the claims at
 9     issue. Although the passage at issue is describing “the present invention,” it is describing
10     the present invention within the context of “methods” for “[g]enerating pluripotent or
11     multipotent cells by somatic cell reprogramming.” ’369 Patent col. 4 ll. 21-22. The claims
12     at issue are not directed to methods for reprogramming a somatic cell. As both parties
13     concede, the patentees attempted to obtain claims directed to “reprogramming a somatic
14     cell,” but those claims were rejected by the examiner for lack of enablement. (See Doc.
15     No. 149 at 7-8; Doc. No. 151 at 6; see, e.g., Doc. No. 113-5, Ex. B-31 at 2-16; Doc. No.
16     113-3, Ex. B-23; Doc. No. 113-4, Ex. B-28.) In contrast, the claims at issue merely
17     encompass “making a somatic cell more susceptible to reprogramming.” 10 ’856 Patent col.
18     20 ll. 38-39; accord ’536 Patent col. 20 ll. 37-44; ’744 Patent col. 21 ll. 14-23; ’917 Patent
19     col. 21 ll. 16-24. (See also Doc. No. 113-5, Ex. B-32.)
20           Defendants also attempt to support their proposed construction by relying on the
21     shared specification’s discussion of the prior art in the “Background of the Invention”
22
23
       10
              For this same reason, the Court rejects Defendants’ reliance on the prosecution
24
       history to support their proposed construction. (See Doc. No. 149 at 12-13.) At most, the
25     cited prosecution history shows that the patentees attempted to obtain claims directed to
       methods for reprogramming a primary somatic cell. (See Doc. No. 113-5, Ex. B-31 at 3-
26
       5.) But this is of no consequence because those claims were rejected by the examiner for
27     lack of enablement, (see id. at 2-16), and the claims currently before the Court are different
       claims with a different scope. (See id. at 5 (“the specification . . . actually teaches an
28
       invention of a total different scope”).)

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 1     section. In the “Background of the Invention” section, the shared specification explains
 2     that four prior art methods exist for obtaining pluripotent stem cells (also referred to in the
 3     specification as “ES cells”). See ’369 Patent col. 1 ll. 39-67, col. 2 ll. 1-3. One of the four
 4     methods is “somatic cell nuclear transfer (SCNT).” Id. at col. 1 ll. 46-48. The specification
 5     then goes on to explain with respect to these four prior art methods:
 6                   [A]ll presently available methods depend on controversial sources—
              embryos (either created naturally or via cloning), fetal tissue and via the
 7
              mixing of materials of multiple species. The controversy surrounding the
 8            sources for such cells, according to many leading scientists and public and
              private organizations including the NIH, has greatly compromised and slowed
 9
              the study of such cells and their application.
10
                    There is thus a great demand for alternative methods of generating
11            pluripotent cells.
12     Id. at col. 2 ll. 4-13. In the “Detailed Description of the Invention” section, the specification
13     reiterates this point and explains:
14            Presently, human ES cells or ES-like cells can only be generated from
              controversial sources. It would be useful to reprogram somatic cells directly
15            into pluripotent cells. Nuclei from somatic cells retain the totopotency
16            potential to direct development of an animal, as demonstrated by nuclear
              transfer technology. It would be useful to reprogram somatic cells directly
17            into ES cells without the use of oocytes and nuclear transfer technology.
18     Id. at col. 3 ll. 60-67.
19            The Federal Circuit has explained that a patentee may disavow claim scope “when
20     the specification distinguishes or disparages prior art.” See Poly-Am., L.P. v. API Indus.,
21     Inc., 839 F.3d 1131, 1136 (Fed. Cir. 2016); Techtronic, 944 F.3d at 906; Openwave, 808
22     F.3d at 513–17. “To find disavowal of claim scope through disparagement of a particular
23     feature,” a court should ask “whether ‘the specification goes well beyond expressing the
24     patentee’s preference . . . [such that] its repeated derogatory statements about [a particular
25     embodiment] reasonably may be viewed as a disavowal.’” Openwave, 808 F.3d at 513.
26     In the cited passages, the shared specification disparages the prior art methods for obtaining
27     pluripotent stem cells, including SCNT and nuclear transfer technology, and the
28     specification explains, therefore, that it would be useful to directly reprogram somatic cells

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 1     into pluripotent stem cells without the use of nuclear transfer technology. Nevertheless,
 2     the Court finds this language insufficient to constitute a disclaimer that would support
 3     Defendants’ proposed construction because, as previously explained, the claims at issue
 4     are not directed to methods of reprogramming a somatic cell, and the only working example
 5     provided in the specification utilizes SCNT. 11 In sum, the shared specification does not
 6     support Defendants’ proposed construction.
 7           Finally, to support their proposed construction, Defendants rely on extrinsic
 8     evidence. (See Doc. No. 149 at 13.) The cited extrinsic evidence is not persuasive. At
 9     most, the extrinsic evidence demonstrates that there is a difference between directly
10     reprogramming somatic cells into pluripotent cells and SCNT. (See Doc. No. 152-3,
11     Snyder Decl. Ex. 18 at 409.)        But this is of no consequence because the claimed
12     “reprogramming” in the claims at issue is not limited to direct reprogramming.
13           In the sum, the Court rejects Defendants’ proposed construction. The Court gives
14     the claim term “reprogramming to a [pluripotent/less differentiated] state state” its plain
15     and ordinary meaning, and the Court declines to construe the claim term.
16           C.     “makes the cell more susceptible to reprogramming”
17           Plaintiffs propose that the claim term “makes the cell more susceptible to
18     reprogramming” be construed as “improves the efficiency of reprogramming the cell.”
19     (Doc. No. 151 at 10.) Defendants argue that the claim term “makes the cell more
20
21     11
              The Court notes that if the claims at issue were directed to methods of
22     reprogramming somatic cells, then the specification’s discussion of the methods of “the
       present invention” combined with its disparagement of the prior art would likely constitute
23
       disclaimers of claim scope. But it is clear from a review of the intrinsic record, particularly
24     the prosecution history, that the method claims at issue are of a different scope and are not
       directed to methods of reprogramming somatic cells. (See, e.g., Doc. No. 113-5, Ex. B-31
25
       at 5 (“[T]he specification fails to enable a method of reprogramming a cell to a less
26     differentiated state by introduction of Oct4 because the specification fails to provide
       specific guidance to such embodiments and actually teaches an invention of a total different
27
       scope.”).) As such, the purported disclaimers identified in the specification are
28     inapplicable to the claims at issue.

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 1     susceptible to reprogramming” renders independent claim 1 of the ’856 Patent and
 2     independent claim 1 of the ’917 Patent invalid for indefiniteness. (Doc. No. 149 at 14.) In
 3     the alternative, Defendants propose that the claim term be construed as “primes the cell for
 4     subsequent reprogramming.” (Id.)
 5           The Court finds it appropriate to first address the parties’ competing proposed
 6     constructions for this claim term prior to addressing Defendants’ indefiniteness arguments.
 7     By presenting the Court with competing proposed constructions, it is clear that the parties
 8     dispute the proper scope of this claim term. To analyze indefiniteness, the Court must
 9     determine whether the claim “language, when read in light of the specification and the
10     prosecution history, ‘fail[s] to inform, with reasonable certainty, those skilled in the art
11     about the scope of the invention.’” Interval Licensing LLC v. AOL, Inc., 766 F.3d 1364,
12     1369–70 (Fed. Cir. 2014) (quoting Nautilus, Inc. v. Biosig Instruments, Inc., 572 U.S. 898,
13     901 (2014)); see Infinity Computer Prod., Inc. v. Oki Data Americas, Inc., 987 F.3d 1053,
14     1059 (Fed. Cir. 2021) (“‘[W]e look to the patent record—the claims, specification, and
15     prosecution history—to ascertain if they convey to one of skill in the art with reasonable
16     certainty the scope of the invention claimed.’” (quoting Teva Pharms. USA, Inc. v. Sandoz,
17     Inc., 789 F.3d 1335, 1341 (Fed. Cir. 2015))). As such, in order to properly analyze
18     Defendants’ indefiniteness challenge, the Court must first assess the proper scope of the
19     claim term at issue and thereby, in turn, the scope of the invention claimed.
20           With respect to this claim term, the parties dispute whether the claim term “makes
21     the cell more susceptible to reprogramming” means improving the efficiency of
22     reprogramming the cell or whether it is means priming the cell for subsequent
23     reprogramming. The Court begin its review of the parties’ dispute by analyzing the claim
24     language. Here, the claim language does not resolve the parties’ dispute. The claim
25     language at issue simply states that the claimed method “makes the cell more susceptible
26     to reprogramming to a pluripotent state” or a less differentiated state. ’865 Patent col. 20
27     ll. 38-44; ’917 Patent col. 21 ll. 16-17. The claim language says nothing about efficiency
28     or priming. For example, independent claim 1 of the ’856 Patent claims:

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 1           A method of making a somatic cell more susceptible to reprogramming to a
             pluripotent state comprising introducing at least one exogenous nucleic acid
 2
             encoding Oct 4 operably linked to at least one regulatory sequence into the
 3           cell, thereby increasing expression of Oct4 protein in the somatic cell, wherein
             increased expression of Oct4 protein makes the cell more susceptible to
 4
             reprogramming to a pluripotent state.
 5
       ’856 Patent col. 20 ll. 38-44. As such, the claim language does not resolve the parties’
 6
       dispute.
 7
             Turning to the specification, Plaintiffs contend that the shared specification supports
 8
       their proposed construction because the specification equates making a cell “more
 9
       susceptible” to reprogramming with improving the “efficiency” of reprogramming. (Doc.
10
       No. 151 at 10; Doc. No. 179 at 1-2.) The shared specification contains the term “more
11
       susceptible to reprogramming” only twice – once in the title of Example 1 and once in the
12
       body of Example 1. (See Doc. No. 151 at 11 (stating that Example 1 in the specification
13
       “is the only place the term appears in the Specification” (emphasis removed)).) The title
14
       of the sole working example contained in the shared specification is “Oct4-Induced
15
       Fibroblasts are More Susceptible to Reprogramming than Unduced Fibroblasts as
16
       Demonstrated by Nuclear Transfer Experiment.” ’369 Patent col. 18 ll. 54-56. The
17
       working example provides in the section titled “C. Nuclear Transfer Experiment:”
18
             Nuclear transfer was performed on fibroblasts derived from tail biopsies of
19           mice that carry the inducible Oct4 transgene. Dox induction was for 24 hours
             prior to nuclear transfer. Cloned embryos were then activated and cultured to
20
             the blastocyst stage to derive ES cells as described previously (Hochedlinger
21           and Jaenisch, 2002). As shown in Table 1, on average, blastocyst formation
             and ES cell derivation (as measured as a fraction of eggs with pronucleus
22
             formation) is more efficient from Oct4 induced fibroblast than from
23           uninduced fibroblasts. This result demonstrated that induced Oct4 expression
             in somatic cells such as fibroblasts make these cells more susceptible to
24
             reprogramming.
25     ’369 Patent col. 19 ll. 23-34; accord id. at col. 19 ll. 64-66.
26           Plaintiffs argue that this passage in the specification supports their proposed
27     construction because it “unequivocally equates” making a cell “more susceptible” to
28     reprogramming with improving the “efficiency” of reprogramming. (Doc. No. 151 at 10-

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 1     11; Doc. No. 179 at 1.) Although the Court agrees with Plaintiffs that in this passage, the
 2     specification equates making a cell “more susceptible” to reprogramming with improving
 3     “efficiency,” Plaintiffs fail to properly acknowledge the type of “efficiency” that is being
 4     discussed in this passage. This passage only discusses “efficiency” within the context of
 5     nuclear transfer reprogramming. See ’369 Patent col. 18 ll. 54-56, col. 19 ll. 22-34. (See
 6     Doc. No. 151 at 6 (conceding that Example 1 is “a SCNT experiment”); see also Doc. No.
 7     151-14, Plath Decl. ¶ 87 (“in the context of somatic cell nuclear transfer”).) Further, the
 8     specific type of efficiency referenced in the specification is “blastocyst formation and ES
 9     cell derivation” efficiency. See ’369 Patent col. 19 ll. 29-30, col. 19 ll. 64-66. (See also
10     Doc. No. 151-14, Plath Decl. ¶¶ 52 (“As shown in Table 1, blastocyst formation and
11     embryonic (ES) cell derivation are more efficient from Oct4 induced fibroblasts than from
12     uninduced fibroblast . . . .”), 66 (“A POSA would further look to the data in Table 1, and
13     see that the experiments show, higher blastocyst formation and embryonic stem cell
14     derivation efficiency (or more efficient reprogramming) . . . .”), 62 (explaining that
15     “measures of successful reprogramming by somatic cell nuclear transfer include: (i) the
16     proportion of enucleated oocytes (eggs) carrying the transferred somatic cell nucleus that
17     develop to the blastocyst stage, [and] (ii) the proportion of transferred oocytes giving rise
18     to an ES cell line”).) Plaintiffs’ proposed construction is flawed because it fails to properly
19     describe the type of “efficiency” referred to in the shared specification. 12
20           Plaintiffs make a similar error in relying on the prosecution history. Plaintiffs
21     contend that the prosecution history demonstrates that the examiner understood that the
22     specification equates making a cell “more susceptible” to reprogramming with improving
23
24
25     12
              Plaintiffs contend that when the shared specification is referring to efficiency it is
       using the term more broadly to refer to any enhancement to the reprogramming process.
26
       The Court disagrees. In the passages identified by Plaintiffs, the only efficiency described
27     by the specification is “blastocyst formation and ES cell derivation” efficiency. ’369 Patent
       col. 19 ll. 29-31, col. 19 ll. 65-66. Plaintiffs have failed to identify any passage in the
28
       specification describing any other type of efficiency.

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 1     the “efficiency” of reprogramming. (Doc. No. 179 at 1-2 (citing Doc. No. 151-36, Ex. V
 2     at 4); Doc. No. 151 at 11 (citing Doc. No. 113-5, Ex. B-31 at 3-4).) But Plaintiffs again
 3     fail to properly acknowledge the type of “efficiency” that is being described. In the relevant
 4     prosecution history, the examiner states that the specification “teaches that on average
 5     blastocyst formation and ES cell derivation is more efficient when Oct4 induced fibroblasts
 6     are used as compared to un-induced fibroblasts.” (Doc. No. 113-5, Ex. B-31 at 3.) The
 7     examiner then goes on to describe this efficiency as being “nuclear transfer cloning
 8     efficiency.” The examiner states: “the experiments described in the specification . . . solely
 9     demonstrate[] that addition of Oct4 expression enhances nuclear transfer cloning efficiency
10     and nuclear transfer’s reprogramming process.” (Id. at 8 (“[T]hey demonstrate that cloning
11     efficiency is increased by induced expression of Oct4 in the donor fibroblast cells. Cloning
12     efficiency is determined with nuclear transfer units.”); see also Doc. No. 151-14, Plath
13     Decl. ¶ 62 (referring to “nuclear transfer” as “nuclear cloning”).) The examiner further
14     states:
15               Applicant is over-extrapolating the findings of the nuclear transfer
                 experiment. It is acknowledged that the nuclear transfer experiments with
16
                 nuclei from manipulated fibroblasts are intended to assess reprogramming and
17               that the measured parameter of reprogramming is clone efficiency. The
                 measurement of cloning efficiency is informative in regards to
18
                 reprogramming in that it elucidates the ability of the nuclear transfer unit
19               comprising a somatic nuclei to gain pluripotency. It is not informative into
                 all the factors of nuclear transfer that induce reprogramming to the pluripotent
20
                 state because these factors are not being tested separately but at a whole in
21               this type of experimental model. . . . Given that reprogramming is going to
                 occur in the nuclear transfer experiments regardless of exogenous Oct4
22
                 expression, the nuclear transfer experimental model is only informative to the
23               impact of Oct4 exogenous expression on the degree of cloning efficiency or
                 the degree of reprogramming completeness or effectiveness upon the number
24
                 of reprogrammed fibroblast nuclei, not the ability of Oct4 alone to reprogram
25               a fibroblast nuclei as Applicants suggest.
26
27
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 1     (Doc. No. 113-5, Ex. B-31 at 12-13.)13 As such, similar to the Court’s review of the
 2     specification, the Court agrees with Plaintiffs that the prosecution history demonstrates that
 3     making a cell “more susceptible” to reprogramming corresponds with improving
 4     “efficiency,” but Plaintiffs fail to properly consider the type of “efficiency” that is being
 5     discussed. Consistent with the specification, the only type of efficiency discussed in the
 6     prosecution history is “cloning efficiency” – “blastocyst formation and ES cell derivation”
 7
 8
       13
              In their briefing, Plaintiffs cite this same passage and contend that the examiner
 9
       acknowledged that the SCNT experiment in the specification was “intended to assess
10     reprogramming” and the results were “informative” with respect to “‘direct’
       reprogramming (as Defendants use the term).” (Doc. No. 179 at 7 (“During prosecution,
11
       the examiner also acknowledged that the SCNT experiment was ‘intended to assess
12     reprogramming’ and that the results are ‘informative in regards to reprogramming.’”), 9
       n.7 (“[T]he Examiner recognized that the SCNT experiment was ‘informative’ with respect
13
       to ‘direct’ reprogramming (as Defendants use the term) . . . .”).) The Court does not find
14     Plaintiffs’ selective quotations of isolated statements from the examiner persuasive as
       Plaintiffs again fail to provide important surrounding context to those statements. As
15
       shown above, the examiner does state that the nuclear transfer experiments in the shared
16     specification “are intended to assess reprogramming,” but the examiner then goes on to
       state that “the measured parameter of reprogramming is cloning efficiency” (i.e., nuclear
17
       transfer cloning efficiency). (Doc. No. 113-5, Ex. B-31 at 12-13 (“[t]he measurement of
18     cloning efficiency is informative in regards to reprogramming”); see also id. at 8 (“the
       experiments described in the specification . . . solely demonstrate[] that addition of Oct4
19
       expression enhances nuclear transfer cloning efficiency”).) Further, it is clear from a
20     review of the office action at issue that when the examiner is referring to “reprogramming,”
       the examiner is referring to “reprogramming” broadly – including both direct
21
       reprogramming (as defined by Defendants and the shared specification) and nuclear
22     transfer reprogramming – and not just to direct reprogramming. (See, e.g., id. at 5 (“At the
       time of the invention, the sole means of reprogramming a somatic cell known in the art
23
       was via nuclear transfer or somatic cell fusion with an ES cell.” (citation omitted)), 8 (“This
24     demonstrates, as consist[ent] with the prior art, that nuclear transfer itself reprograms
       somatic cells. . . . [A]ny reprogramming abilities of Oct4 are confounded by the known
25
       effect of nuclear transfer reprogramming. The art and the applicant’s own experiments
26     demonstrate that reprogramming is occurring by the process of nuclear transfer.”), 13
       (“reprogramming is going to occur in the nuclear transfer experiments regardless of
27
       exogenous Oct4 expression”); see also id. at 5-6 (explaining that at the time of the
28     invention, direct reprogramming had not yet been developed).)

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 1     efficiency. 14
 2            In sum, a review of the intrinsic record shows that it does not fully support Plaintiffs’
 3     proposed construction for this claim term. Although the Court agrees with Plaintiffs that
 4     the specification and the prosecution history equate the term making a cell “more
 5     susceptible” to reprogramming with improving “efficiency,” they only do so with respect
 6     to a certain type of efficiency. Plaintiffs’ proposed construction is improper because it fails
 7     to accurately characterize the described “efficiency.” As such, the Court will include a
 8     modified version of Plaintiffs’ proposed construction in the Court’s construction for this
 9     claim term construing the term in part as improves “cloning efficiency.”
10            Turning to Defendants’ proposed construction, Defendants argue that this same
11     prosecution history related to the prosecution of the ’536 Patent supports their proposed
12     construction. (Doc. No 149 at 18-20; Doc. No. 178 at 7-9.) “Prosecution disclaimer
13     ‘preclud[es] patentees from recapturing through claim interpretation specific meanings
14     disclaimed during prosecution.’” Aylus Networks, Inc. v. Apple Inc., 856 F.3d 1353, 1359
15     (Fed. Cir. 2017) (quoting Omega Eng’g, Inc. v. Raytek Corp., 334 F.3d 1314, 1323 (Fed.
16     Cir. 2003)).     “[T]he doctrine of prosecution disclaimer ensures that claims are not
17     ‘construed one way in order to obtain their allowance and in a different way against accused
18     infringers.’” Id. at 1360 (quoting Southwall Techs., Inc. v. Cardinal IG Co., 54 F.3d 1570,
19     1576 (Fed. Cir. 1995)).
20            “‘Prosecution disclaimer can arise from both claim amendments and arguments.’”
21     Traxcell Techs., LLC v. Nokia Sols. & Networks Oy, 15 F.4th 1136, 1141 (Fed. Cir. 2021)
22     (quoting SpeedTrack, Inc. v. Amazon.com, 998 F.3d 1373, 1379 (Fed. Cir. 2021)); see
23     Aylus, 856 F.3d at 1359 (“Such disclaimer can occur through amendment or argument.”).
24     Prosecution disclaimer “attaches if a patentee ‘has unequivocally disavowed a certain
25     meaning to obtain [a] patent’ in a way that is ‘clear and unmistakable.’” Traxcell, 15 F.4th
26
27
       14
              Plaintiffs have failed to identify any passage in the prosecution history – or anywhere
28
       else in the intrinsic record – describing any other type of efficiency.

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 1     at 1141 (quoting Omega, 334 F.3d at 1323); see also Computer Docking Station Corp. v.
 2     Dell, Inc., 519 F.3d 1366, 1375 (Fed. Cir. 2008) (“Prosecution disclaimer does not apply
 3     to an ambiguous disavowal.”). “While disavowal must be clear and unequivocal, it need
 4     not be explicit.” Poly-Am., 839 F.3d at 1136; see Techtronic, 944 F.3d at 907 (“A
 5     disavowal must be clear, but it need not be explicit.”). “‘The party seeking to invoke
 6     prosecution history disclaimer bears the burden of proving the existence of a clear and
 7     unmistakable disclaimer that would have been evident to one skilled in the art.’” Genuine
 8     Enabling Tech., 29 F.4th at 1374.
 9           During the prosecution of the ’536 Patent, the patentees attempted to obtain method
10     claims encompassing “a method of reprogramming a primary somatic cell to a less
11     differentiated state.” (Doc. No. 152-4, Snyder Decl. Ex. 27 at 508-09.) In an office action
12     dated April 11, 2014, the examiner rejected these claims under 35 U.S.C. § 112 ¶ 1 for
13     failure to comply with the enablement requirement. (Doc. No. 113-5 Ex. B-31 at 1-16; see
14     also Doc. No. 113-3, Ex. B-23; Doc. No. 113-4, Ex. B-28.) In providing the basis for these
15     enablement rejections, the examiner explained:
16                  The specification provides specific guidance to the production of a
             transgenic mouse comprising in its genome an inducible exogenous Oct4
17
             gene. The specification provides specific guidance to the isolation of
18           fibroblasts from said transgenic mouse and inducing Oct4 expression in said
             fibroblasts by treatment with deoxycycline. The specification provides
19
             specific guidance to nuclear transfer experiments, wherein said fibroblasts
20           were treated with DOX to induce Oct4 expression and then transferred into
             enucleated oocytes to produce nuclear transfer units. The specification
21
             teaches that the nuclear transfer units were cultured to the blastocyst stage and
22           ES cell were derived from the nuclear transfer units. The specification further
             teaches that on average blastocyst formation and ES cell derivation is more
23
             efficient when Oct4 induced fibroblasts are used as compared to un-induced
24           fibroblasts. The specification thus concludes that inducing Oct4 expression
             in somatic cells makes these cells more susceptible to reprogramming.
25
                     While the specification provides specific guidance to a means of
26
             priming somatic cells for reprogramming, the specification fails to provide
27           any guidance to a method that predictably reprograms primary somatic cells
             to a less differentiated state by solely introducing a nucleic acid encoding Oct4
28
             to said somatic cell or by solely introducing an Oct4 protein into said somatic

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 1           cell. The specification fails to assess the differentiation status of the somatic
             cells after induction of Oct4 but before reprogramming the somatic cell by
 2
             nuclear transfer. As such, the specification has provided no evidence that
 3           alone the exogenous Oct4 in the cell is reprogramming the somatic cell to a
             less differentiated state. The specification further fails to provide any teaching
 4
             to the narrower embodiments of the claims encompassing introduction of
 5           Oct4 into an adult stem cell, such as hematopoietic stem cells, neural stem
             cells, or mesenchymal stem cells. As such, the specification fails to
 6
             demonstrate that introduction of Oct4 into such adult stem cells or any cells
 7           will predictably result in a less differentiated state as the claims require.
 8                 Thus, the specification fails to enable the instant claims because the
             invention disclosed by the specification is not commensurate in scope with
 9
             the method of the claims. . . .
10                  The specification provides specific guidance to a method of priming a
11           somatic cell for reprogramming by introducing Oct4 activity into said somatic
             cell. This cannot properly be interpreted as commensurate in scope with a
12           method of reprogramming a somatic cell by solely introducing Oct4 because
13           the specification fails to teach that Oct4 alone reprograms a cell. As such, the
             specification fails to enable a method of reprogramming a cell to a less
14           differentiated state by introduction of Oct4 because the specification fails to
15           provide specific guidance to such embodiments and actually teaches an
             invention of a total different scope.
16
       (Id. at 3-5 (emphasis in original) (citations omitted); see also id. at 7 (“[T]he specification
17
       describes a method of priming a somatic cell for reprogramming by solely introducing
18
       Oct4.”).) Here, in analyzing enablement, the examiner explained the scope of the invention
19
       disclosed in the shared specification and explained why that scope did not encompass a
20
       method of reprogramming a somatic cell to a less differentiated state by introduction of
21
       Oct4 alone.
22
             In response to the examiner’s enablement rejections, the patentees amended the
23
       claims at issue to now claim a method of making a primary somatic cell more susceptible
24
       to reprogramming to a less differentiated state. (Doc. No. 113-5, Ex. B-32; see also Doc.
25
       No. 151 at 6.) For example, the patentees amended claim 1 as follows:
26
             1.    (Currently amended) A method of making reprogramming a primary
27           somatic cell more susceptible to reprogramming to a less differentiated state,
28           comprising: introducing an exogenous nucleic acid encoding an Oct 4 protein

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 1           operably linked to at least one regulatory sequence into the somatic cell,
             wherein expression of the exogenously introduced nucleic acid results in
 2
             making reprogramming the somatic cell more susceptible to reprogramming
 3           to a less differentiated state.
 4     (Doc. No. 113-5, Ex. B-32 at 2 (underlining and strike outs in original).) In providing these
 5     amendments, the patentees did not dispute the examiner’s characterizations of the scope of
 6     the invention disclosed in the specification. Rather, the patentees stated with respect to
 7     enablement:
 8                 Applicants submit that the presently claimed subject matter is enabled
             by the as-filed specification, as acknowledged by the Office in the Actions
 9
             mailed August 20, 2013, and April 11, 2014. See Office Action mailed April
10           11, 2014, last sentence of second paragraph of page 3, paragraph bridging
             pages 3-4, paragraph bridging pages 4-5, and first full paragraph of page 7.
11
                   Accordingly, this basis for rejection is now moot and properly
12           withdraw.
13     (Id. at 5.) The examiner allowed the claims as amended. (See Doc. No. 113-5, Ex. B-33.)
14           The Federal Circuit has found this sequence of events sufficient to constitute
15     prosecution disclaimer. See, e.g., Biogen Idec, Inc. v. GlaxoSmithKline LLC, 713 F.3d
16     1090, 1096 (Fed. Cir. 2013); Ancora Techs., Inc. v. Apple, Inc., 744 F.3d 732, 739 (Fed.
17     Cir. 2014); SandBox Logistics LLC v. Proppant Express Invs. LLC, 813 F. App’x 548, 554
18     (Fed. Cir. 2020). For example, in Biogen, during the prosecution of the asserted patent,
19     the examiner rejected all of the pending claims for lack of enablement as they encompassed
20     “‘any and all anti-CD20 antibodies.’” 713 F.3d at 1095–96. In providing these rejections,
21     the examiner explained that the specification was enabling for “Rituxan®, rituximab, and
22     2B8–MX–DTPA,” but it was not enabling for other anti-CD20 antibodies. See id. at 1096.
23     In response to these rejections, rather than challenging the examiner’s understanding of the
24     crucial terms, the applicants argued that the specification was enabling for anti-CD20
25     antibodies with similar affinity and specificity as Rituxan®. Id. The Federal Circuit
26     explained: “While the applicants may not have repeated the examiner’s language verbatim
27     et literatim, it is clear that they were limiting their invention to what the examiner believed
28     they enabled: antibodies that have a similar specificity and affinity for the specific epitope

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 1     to which Rituxan® binds.” Id. The Federal Circuit held that this constituted a clear and
 2     unmistakable prosecution disclaimer. See id. The Federal Circuit explained:
 3           While disavowing statements must be “so clear as to show reasonable clarity
             and deliberateness,” this requirement does not require the applicant to parrot
 4
             back language used by the examiner when clearly and deliberately responding
 5           to a particular grounds for rejection. If an applicant chooses, she can
             challenge an examiner’s characterization in order to avoid any chance for
 6
             disclaimer, but the applicants in this case did not directly challenge the
 7           examiner’s characterization.
 8     Id. (quoting Omega, 334 F.3d at 1325); see also, e.g., SandBox, 813 F. App’x at 554
 9     (finding prosecution disclaimer supported construing the term “bottom” as “bottom wall”
10     where examiner considered a “bottom wall” to be essential based on the disclosures in the
11     specification, applicants amended the claims to include “a bottom,” and applicants failed
12     to challenge the examiner’s understanding of the claims); Oy v. Verizon Servs. Corp., No.
13     CV 12-715-CJB, 2014 WL 7385615, at *12 (D. Del. Dec. 23, 2014).
14           The circumstances in this case are analogous to Biogen and Sandbox. Here, the
15     examiner rejected the claims for lack of enablement and explained to the patentees what
16     the examiner considered to be the proper scope of the invention disclosed in the
17     specification, including the examiner’s view that the specification provides specific
18     guidance to a method of “priming” a somatic cell for reprogramming by introducing Oct4.
19     (See Doc. No. 113-5, Ex. B-31 at 3, 4, 7.) In response to the examiners’ rejections, the
20     patentees amended the claims and did not dispute the examiner’s characterizations of the
21     disclosures contained in the specification. Indeed, to support enablement of the amended
22     claims, the patentees expressly and specifically cited to every instance where the examiner
23     characterized the specification as disclosing a method of “priming” a somatic cell for
24     reprogramming. (Compare Doc. No. 113-5, Ex. B-32 at 5 (citing April 11, 2014 office
25     action at “paragraph bridging pages 3-4, paragraph bridging pages 4-5, and first full
26     paragraph of page 7”) with Doc. No. 113-5, Ex. B-31 at 3, 4, 7).) As such, under Biogen
27     and SandBox, this constitutes prosecution disclaimer, and, as a result, the claims at issue
28     are limited to a method of “priming” a somatic cell for reprogramming. See SandBox, 813

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 1     F. App’x at 554 (“SandBox’s failure to challenge the Examiner’s understanding amounts
 2     to a disclaimer.”); Biogen, 713 F.3d at 1095–96 (“If an applicant chooses, she can
 3     challenge an examiner’s characterization in order to avoid any chance for disclaimer, but
 4     the applicants in this case did not directly challenge the examiner’s characterization.”); see
 5     also TorPharm, Inc. v. Ranbaxy Pharm., Inc., 336 F.3d 1322, 1330 (Fed. Cir. 2003) (“[I]n
 6     ascertaining the scope of an issued patent, the public is entitled to equate an inventor’s
 7     acquiescence to the examiner’s narrow view of patentable subject matter with
 8     abandonment of the rest. Such acquiescence may be found where the patentee narrows his
 9     or her claims by amendment[.]” (internal citation omitted)).
10           Plaintiffs argue that Defendants’ proposed construction is improper because it
11     construes the word “priming” used by the examiner as a two-step process in which the Oct4
12     is introduced as an antecedent step. (Doc. No. 151 at 12-13; Doc. No. 179 at 2-3.) Plaintiffs
13     argue that the relevant portions of the prosecution history do not suggest that the examiner
14     was contemplating that “priming” entails some sort of pre-conditioning step; Plaintiffs
15     argue, to the contrary, that the examiner recognized that Example 1 in the specification
16     shows that Oct4 was present as an “additive factor.” (Id. (citing Doc. 113-5, Ex. B-31 at
17     3-4, 16).) The Court rejects this argument as Plaintiffs again fail to read the examiner’s
18     statements within their proper context. As Plaintiffs acknowledge, when the examiner
19     discusses the “addition of exogenous Oct4 as an additive factor to reprogramming,” the
20     examiner is discussing it within the context of Example 1 in the specification – the SCNT
21     experiment – which Plaintiffs acknowledge is only place in the specification where the
22     term at issue appears. (See id. at 11-12.) With respect to that experiment, the specification
23     explains: “Dox induction was for 24 hours prior to nuclear transfer.” ’369 Patent col. 19
24     ll. 25. (See also Doc. No. 113-3, Ex. B-23 at 3 (“The specification provides specific
25     guidance to nuclear transfer experiments, wherein said fibroblasts were first treated with
26     DOX to induce Oct4 expression and then use[d] in nuclear transfer.”); Doc. No. 113-2, Ex.
27     B-11 at 4; (“The specification provides specific guidance to nuclear transfer experiments,
28     wherein said fibroblasts were treated with DOX to induce Oct4 expression and then

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 1     transferred into enucleated oocytes to produce [] nuclear transfer units.”); Doc. No. 113-5,
 2     Ex. B-31 at 3 (same).) Thus, the specification, consistent with the examiner’s description,
 3     describes it as a two-step process.15         As such, Defendants’ alternative proposed
 4     construction is well supported by the intrinsic record – specifically the specification and
 5     the prosecution disclaimer in the prosecution history, and, as such, the Court adopts the
 6     proposed construction. 16
 7
 8
 9     15
              At the claim construction hearing, Plaintiffs challenged the Court’s citation to this
10     passage in the shared specification as support for the notion that “priming” entails
       introducing Oct4 as an antecedent step prior to the subsequent step of reprogramming. The
11     Court notes that in presenting this challenge and explaining the experiment described in
12     Example 1 of the specification, Plaintiffs stated at the hearing: “A POSA understands that
       it was to make sure over that 24-hour period that the expression of the transgene has enough
13     time to generate Oct4 so that in this subsequent step Oct4 was being put together with the
14     oocyte.”). Feb. 27, 2023 Hearing; see also id. (“they wanted to make sure that that cell had
       Oct4 in it at the time that they combined it with the oocyte”). As such, Plaintiffs’ own
15     description of the experiment described it as a two-step process where the experimenters
16     made sure that Oct4 was present in the somatic cell prior to the subsequent step of
       combining it with the oocyte (i.e., prior to nuclear transfer reprogramming). Indeed,
17     Plaintiffs even used the phrase “subsequent step” in their explanation. Id.
18     16
              Plaintiffs also argue that Defendants’ proposed construction should be rejected in
       light of the shared specification’s discussion of “embodiments in which multiple
19
       pluripotency genes are introduced into a somatic cell ‘as part of a cDNA expression
20     library.’” (Doc. No. 179 at 3 (citing ’369 Patent col. 9 ll. 40-48).) The Court does not find
       Plaintiffs’ reliance on this passage in the specification persuasive. This passage is from a
21
       section of the specification describing “Method for Reprogramming Somatic Cells.” ’369
22     Patent col. 7 ll. 34. As Plaintiffs acknowledge, the claims at issue are not directed to
       methods for reprogramming a somatic cell. (See Doc. No. 151 at 6; see also Doc. No. 113-
23
       5, Ex. B-31 at 5 (“[T]he specification . . . actually teaches an invention of a total different
24     scope.”).)
25            In addition, Plaintiffs criticize Shoreline’s expert Dr. Snyder for attempting to
       analogize the examiner’s use of the word “priming” to priming a pump or priming a wall
26
       for painting. (Doc. No. 179 at 2; Doc. No. 151 at 11-12.) The Court makes clear that it
27     adopts Defendants’ proposed construction for this claim term because it is well supported
       by the intrinsic record – the shared specification and the prosecution history including the
28
       prosecution disclaimer. In adopting Defendants’ proposed construction, the Court does not

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 1           In sum, the Court adopts a modified version of Plaintiffs’ proposed construction for
 2     this claim term, and the Court adopts Defendants’ alternative proposed construction for
 3     this claim term. The Court construes the claim term “makes the cell more susceptible to
 4     reprogramming” as “primes the cell to improve the cloning efficiency of the subsequent
 5     reprogramming.” Further, in their briefing, the parties agree that the claim terms “making
 6     the somatic cell more susceptible to reprogramming” and “make the cell more susceptible
 7     to reprogramming” should be construed consistent with the Court’s construction for the
 8     term “makes the cell more susceptible to reprogramming.” (See Doc. No. 149 at 14; Doc.
 9     No. 151 at 10 n.7.) As such, the Court also construes the claim term “making the somatic
10     cell more susceptible to reprogramming” as “priming the somatic cell to improve the
11     cloning efficiency of the subsequent reprogramming,” and the Court construes the claim
12     term “makes the cell more susceptible to reprogramming” as “prime the cell to improve
13     the cloning efficiency of the subsequent reprogramming.”
14           Turning to Defendants’ indefiniteness challenge, Defendants argue that the claim
15     term “[makes / making / make] the [somatic] cell more susceptible to reprogramming”
16     renders the asserted claims at issue invalid for indefiniteness. (Doc. No. 149 at 14-18.)
17     “Definiteness is a statutory requirement for patentability.” Niazi, 30 F.4th at 1346. Under
18     35 U.S.C. § 112(b), a patent must “conclude with one or more claims particularly pointing
19     out and distinctly claiming the subject matter which the applicant regards as the invention.”
20     35 U.S.C. § 112(b).
21           “A claim fails to satisfy this statutory requirement and is thus invalid for
22     indefiniteness if its language, when read in light of the specification and the prosecution
23     history, ‘fail[s] to inform, with reasonable certainty, those skilled in the art about the scope
24     of the invention.’” Interval Licensing, 766 F.3d at 1369–70 (quoting Nautilus, 572 U.S. at
25     901); see Infinity Computer, 987 F.3d at 1059. This “reasonable certainty” standard
26
27
       rely on any of Dr. Snyder’s opinions or testimony. As such, Plaintiffs’ challenges to Dr.
28     Snyder’s testimony are moot.

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 1     “reflects a ‘delicate balance’ between ‘the inherent limitations of language’ and providing
 2     ‘clear notice of what is claimed.’” Guangdong Alison Hi-Tech Co. v. Int’l Trade Comm’n,
 3     936 F.3d 1353, 1359 (Fed. Cir. 2019).             “Th[e] standard ‘mandates clarity, while
 4     recognizing that absolute precision is unattainable.’” Nevro Corp. v. Bos. Sci. Corp., 955
 5     F.3d 35, 39 (Fed. Cir. 2020) (quoting Nautilus, 572 U.S. at 910); see also BASF Corp. v.
 6     Johnson Matthey Inc., 875 F.3d 1360, 1365 (Fed. Cir. 2017) (“‘Reasonable certainty’ does
 7     not require ‘absolute or mathematical precision.’”).
 8           “General principles of claim construction apply to indefiniteness allegations.”
 9     HZNP Medicines LLC v. Actavis Lab’ys UT, Inc., 940 F.3d 680, 688 (Fed. Cir. 2019).
10     The party asserting indefiniteness bears “the burden of proving indefiniteness by clear and
11     convincing evidence.”     BASF, 875 F.3d at 1365 (citing Biosig Instruments, Inc. v.
12     Nautilus, Inc., 783 F.3d 1374, 1377 (Fed. Cir. 2015)); see also Microsoft Corp. v. i4i Ltd.
13     P’ship, 564 U.S. 91, 95 (2011) (holding that 35 U.S.C. § 282 “requires an invalidity defense
14     to be proved by clear and convincing evidence”).
15           Defendants first argue that the claim term “[makes / making / make] the [somatic]
16     cell more susceptible to reprogramming” is indefinite because the specification fails to
17     adequately explain to a POSITA how to assess whether a somatic cell has been made “more
18     susceptible to reprogramming” without using oocytes or nuclear transfer technology (as
19     contemplated by the inventors). (Doc. No. 149 at 14-16; Doc. No. 178 at 4-5.) This
20     argument is based on Defendants’ contention that the claims at issue do not encompass the
21     use of nuclear transfer technology. The Court has rejected this argument. See supra. As
22     such, the Court rejects Defendants’ indefiniteness challenge to the extent it is based on
23     Defendant’s rejected contention that the use of nuclear transfer technology is outside the
24     scope of the asserted claims at issue.
25           Defendants argue that the claim term “[makes / making / make] the [somatic] cell
26     more susceptible to reprogramming” is indefinite because Plaintiffs’ proposed construction
27     defining the term as improving the efficiency of reprogramming is itself indefinite and
28     ambiguous. (Doc. No. 149 at 15-16.) The Court has rejected Plaintiffs’ proposed

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 1     construction for this claim term. See supra. As such, the Court rejects Defendants’
 2     indefiniteness challenge to the extent it is based on the Court’s adoption of Plaintiffs’
 3     proposed construction. Further, the Court rejects Defendants’ contention that the word
 4     “efficiency” is ambiguous in the context of the asserted patents. The shared specification
 5     and the prosecution history explain that the “efficiency” at issue is “blastocyst formation
 6     and ES cell derivation” efficiency – cloning efficiency. See ’369 Patent col. 19 ll. 29-30,
 7     col. 19 ll. 64-66. (See also Doc. No. 113-2, Ex. B-11 at 4 (“The specification further
 8     teaches that on average blastocyst formation and ES cell derivation is more efficient when
 9     Oct4 induced fibroblasts are used as compared to un-induced fibroblasts.”); Doc. No. 113-
10     5, Ex. B-31 at 3 (same), 8 (“The difference seen was a degree of clone production
11     efficiency, with exogeneous Oct4 increasing the number of clones produced”).)
12     Defendants fail to adequately explain how a POSITA would be confused by this
13     explanation provided in the intrinsic record.
14           Finally, Defendants’ indefiniteness argument is flawed because it does not account
15     for the Court’s construction of this claim term, construing the term as “[primes / priming /
16     prime] the [somatic] cell to improve the cloning efficiency of the subsequent
17     reprogramming.” Because an indefiniteness challenge must account for the scope of the
18     invention claimed, Defendants’ indefiniteness challenge must account for the Court’s
19     construction of this claim term. See Nautilus, 572 U.S. at 901; Interval Licensing, 766
20     F.3d at 1369–70; Infinity Computer, 987 F.3d at 1059. In sum, Defendants have failed to
21     demonstrate that the claim term “[makes / making / make] the [somatic] cell more
22     susceptible to reprogramming” is indefinite at this stage in the proceedings.17
23
24     17
               In the parties’ joint claim construction hearing statement, Defendant Shoreline states
25     that it “reserves the right to argue that [the] Asserted Claims are invalid under 35 U.S.C. §
       112(b) . . . based upon information learned through the course of fact discovery and/or
26
       developed through expert discovery.” (Doc. No. 90 at 5-6 n.1.) The Court acknowledges
27     that in rejecting Defendants’ indefiniteness challenge in this claim construction order, the
       Court is not entering a judgment against Defendants on their indefiniteness counterclaims
28
       or defenses. See DNA Genotek Inc. v. Spectrum Sols. L.L.C., No. 321CV00516RSHDDL,

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 1           D.     “Oct4” / “Oct 4”
 2           Plaintiffs contend that the claim term “Oct4”/“Oct 4” need not be construed, and,
 3     instead, the term should be given its plain and ordinary meaning. (Doc. No. 151 at 19.)
 4     Defendants propose that the term be construed as “Oct4 from any species.” (Doc. No. 149
 5     at 23.) In their responsive claim construction brief, Plaintiffs refer to a “compromise
 6     construction” that they proposed, requesting that the term be construed as “Oct4, from any
 7     suitable species.” (Doc. No. 179 at 10 n.8.)
 8           To support their proposed construction, Defendants contend that the asserted claims
 9     are not limited to mammalian somatic cells. (Doc. No. 149 at 23-24.) But Defendants’
10     contention is directly contradicted by the shared specification. The specification states:
11     “The somatic cells in the present invention are mammalian cells, such as, for example,
12     human cells or mouse cells.” ’369 Patent col. 6 ll. 1-2; see also id. at col. 6 ll. 7-8
13     (“Mammalian somatic cells useful in the present invention include . . . .”). By using the
14     phrase “the present invention” in this passage, the specification makes clear that the
15     invention claimed in the asserted patents is limited to mammalian somatic cells. See
16     Luminara, 814 F.3d at 1353 (“When a patentee ‘describes the features of the “present
17     invention” as a whole,’ he implicitly alerts the reader that ‘this description limits the scope
18     of the invention.’” (quoting Regents of Univ. of Minnesota, 717 F.3d at 936)); Pacing, 778
19     F.3d at 1025; see also Poly-Am., 839 F.3d at 1136 (“[A]n inventor may disavow claims
20     lacking a particular feature when the specification describes “the present invention” as
21     having that feature.”); Techtronic, 944 F.3d at 907 (“It is axiomatic that, where the
22
23
       2022 WL 17331255, at *10 n.7 (S.D. Cal. Nov. 29, 2022). Nevertheless, the Federal
24
       Circuit has explained that “[g]eneral principles of claim construction apply to
25     indefiniteness allegations.” HZNP Medicines, 940 F.3d at 688. And the Federal Circuit
       has also held that a “district court’s claim construction” is “law of the case for purposes of
26
       the trial.” Andersen Corp. v. Fiber Composites, LLC, 474 F.3d 1361, 1371 n.2 (Fed. Cir.
27     2007). As such, any future indefiniteness challenge in this case must adhere to the holdings
       in this claim construction order. See id.; see also Exergen, 575 F.3d at 1321 (“No party
28
       may contradict the court’s construction . . . .”).

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 1     specification ‘describes “the present invention” as having [a] feature,’ that representation
 2     may disavow contrary embodiments.”)
 3           Defendants note that independent claim 10 of the ’917 Patent recites, among other
 4     things, “a somatic cell,” and that dependent claim 14 depends from claim 10 and further
 5     recites “wherein the somatic cell is a mammalian cell.” (Doc. No. 149 at 24.) ’917 Patent
 6     col. 22 ll. 6, 26-27. In light of this claim language, Defendants argue that, under the
 7     doctrine of claim differentiation, the asserted claims should not be limited to mammalian
 8     somatic cells because the “somatic cell” in independent claim 10 must be broader than just
 9     mammalian cells. (Doc. No. 149 at 24; Doc. No. 178 at 10.) The Court disagrees. “The
10     doctrine of claim differentiation is ‘based on the common sense notion that different words
11     or phrases used in separate claims are presumed to indicate that the claims have different
12     meanings and scope.’” Starhome GmbH v. AT & T Mobility LLC, 743 F.3d 849, 857
13     (Fed. Cir. 2014) (quoting Karlin Tech. Inc. v. Surgical Dynamics, Inc., 177 F.3d 968, 971–
14     72 (Fed. Cir. 1999)); see also World Class Tech. Corp. v. Ormco Corp., 769 F.3d 1120,
15     1125 (Fed. Cir. 2014) (“The doctrine of claim differentiation creates a presumption that
16     distinct claims, particularly an independent claim and its dependent claim, have different
17     scopes.”). The Federal Circuit has explained that the doctrine of claim differentiation “is
18     ‘not a hard and fast rule.’” Littelfuse, Inc. v. Mersen USA EP Corp., 29 F.4th 1376, 1380
19     (Fed. Cir. 2022) (quoting Seachange Int’l, Inc. v. C–COR, Inc., 413 F.3d 1361, 1369 (Fed.
20     Cir. 2005)). “Indeed, any presumption created by the doctrine of claim differentiation will
21     be overcome by a contrary construction dictated by the written description or prosecution
22     history.” Id. (internal quotation marks omitted) (quoting Retractable Techs., Inc. v. Becton,
23     Dickinson, and Co., 653 F.3d 1296, 1305 (Fed. Cir. 2011)); see Howmedica Osteonics
24     Corp. v. Zimmer, Inc., 822 F.3d 1312, 1323 (Fed. Cir. 2016). Here, the clear language in
25     the specification limiting the claimed invention to mammalian somatic cells is sufficient to
26     rebut any presumption created by the doctrine of claim differentiation. See id.; see also
27     Toro Co. v. White Consol. Indus., Inc., 199 F.3d 1295, 1302 (Fed. Cir. 1999) (“[T]he
28     doctrine of claim differentiation does not serve to broaden claims beyond their meaning in

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 1     light of the specification and does not override clear statements of scope in the specification
 2     and the prosecution history.” (citation omitted).)
 3           To support their proposed construction, Defendants also rely on extrinsic evidence,
 4     specifically a declaration from Shoreline’s expert. (See Doc. No. 149 at 23 (citing Doc.
 5     No. 152, Snyder Decl. ¶¶ 102-06).) But “[e]xtrinsic evidence may not be used ‘to
 6     contradict claim meaning that is unambiguous in light of the intrinsic evidence.’” Summit
 7     6, 802 F.3d at 1290 (quoting Phillips, 415 F.3d at 1324); see also Seabed Geosolutions, 8
 8     F.4th at 1287 (“If the meaning of a claim term is clear from the intrinsic evidence, there is
 9     no reason to resort to extrinsic evidence.”). As such, Defendants cannot use expert
10     testimony to contradict the clear statements in the specification limiting the asserted claims
11     to mammalian somatic cells. See id.; see also Genuine Enabling Tech., 29 F.4th at 1373
12     (“[E]xpert testimony may not be used to diverge significantly from the intrinsic record.”).
13           In sum, the Court rejects Defendants’ proposed construction for the term
14     “Oct4”/“Oct 4,” and the Court adopts Plaintiffs’ alternative proposed construction for the
15     claim term. As such, the Court construes the claim term “Oct4”/“Oct 4” as “Oct4 from
16     any suitable species.”
17           E.     “candidate agent of interest”
18           Plaintiffs propose the claim term “candidate agent of interest” from claim 8 of the
19     ’797 Patent be construed as “an exogenous nucleic acid encoding Nanog and/or Sox-2
20     protein.” (Doc. No. 151 at 22.) Defendants propose that the claim term “candidate agent
21     of interest” from claim 8 of the ’797 Patent be construed as “a candidate agent including
22     naturally arising, recombinant, synthetic, designed, chemically modified, or isolated
23     compounds, including organic compounds, biomolecules, peptides, saccharides, fatty
24     acids, steroids, purines, pyrimidines, nucleic acids, oligonucleotides, oligopeptides,
25     bacterial extracts, fungal extracts, plant extracts, animal extracts, chromatin remodeling
26     proteins, and pluripotency proteins.” (Doc. No. 149 at 24.)
27           Although Plaintiffs initially disputed Defendants’ proposed construction for this
28     claim term, Plaintiffs state in their responsive claim construction brief that they agree to

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 1     adopt Defendants’ proposed construction. (Doc. No. 179 at 1 n.1; see also Doc. No. 113-
 2     7, Ex. D at 16-24.) As such, the Court construes the term “candidate agent of interest” in
 3     claim 8 of the ’797 Patent as “a candidate agent including naturally arising, recombinant,
 4     synthetic, designed, chemically modified, or isolated compounds, including organic
 5     compounds, biomolecules, peptides, saccharides, fatty acids, steroids, purines,
 6     pyrimidines, nucleic acids, oligonucleotides, oligopeptides, bacterial extracts, fungal
 7     extracts, plant extracts, animal extracts, chromatin remodeling proteins, and pluripotency
 8     proteins.”
 9           F.     “somatic cell”
10           Plaintiffs propose that the claim term “somatic cell” be construed as “any
11     mammalian cell of meso, endo, ectodermal lineage, whether native or engineered,
12     including cells such as adult stem cells, sertoli cells, endothelial cells, granulosa epithelial,
13     neurons, pancreatic islet cells, epidermal cells, epithelial cells, hepatocytes, hair follicle
14     cells, keratinocytes, hematopoietic cells, melanocytes, chondrocytes, lymphocytes (B and
15     T lymphocytes), erythrocytes, macrophages, monocytes, mononuclear cells, fibroblasts,
16     cardiac muscle cells, other muscle cells, hematopoietic stem cells, neural stem cells,
17     mesenchymal stem cells, and engineered somatic cells, but excluding pluripotent and germ
18     cells.” (Doc. No. 151 at 20-21.) Defendants propose that the claim term be construed as
19     “any of the body cells except the reproductive (germ) cells.” (Doc. No. 149 at 25.)
20           Although Plaintiffs initially disputed Defendants’ proposed construction for the
21     claim term “somatic cell,” Plaintiffs state in their claim construction briefing that they
22     agree to adopt Defendants’ proposed construction. 18 (Doc. No. 151 at 21; Doc. No. 179 at
23     1 n.1; see also Doc. No. 151-14, Plath Decl. ¶ 34 (“Somatic cells make up all the organs
24     and tissues in the body of a human being, except for the germ cells (sperm, oocytes) which
25
26     18
               In their briefing, Plaintiffs explain that they initially disputed Defendants’ proposed
       construction based on a potential ambiguity as to the meaning of “body cells,” but that this
27
       potential ambiguity was clarified during a deposition of Shoreline’s expert. (Doc. No. 151
28     at 21.)

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 1     are involved in reproduction.”).) As such, the Court construes the claim term “somatic
 2     cell” as “any of the body cells except the reproductive (germ) cells.”
 3                                             Conclusion
 4           For the above reasons, the Court hereby adopts the constructions set forth above.19
 5           IT IS SO ORDERED.
 6     DATED: February 28, 2023
 7
                                                      MARILYN L. HUFF, District Judge
 8                                                    UNITED STATES DISTRICT COURT
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25     19
              The Court notes that on February 17, 2023, Plaintiffs filed a motion to strike certain
26     clarifications identified in the errata to the deposition of Shoreline’s technical expert, Dr.
       Snyder. (Doc. No. 177.) The Court’s claim construction order does not cite to or rely on
27
       any testimony from Dr. Snyder’s deposition. As such, the analysis in this claim
28     construction order is not implicated by the pending motion to strike.

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 8                           UNITED STATES DISTRICT COURT
 9                        SOUTHERN DISTRICT OF CALIFORNIA
10
11     FATE THERAPEUTICS, INC.; and                       Case No.: 22-cv-00676-H-MSB
       WHITEHEAD INSTITUTE FOR
12
       BIOMEDICAL RESEARCH,                               ORDER DENYING PLAINTIFFS’
13                                      Plaintiffs,       MOTIONS FOR
                                                          RECONSIDERATION
14     v.
15     SHORELINE BIOSCIENCES, INC.; and                   [Doc. Nos. 228, 231, 232.]
16     DAN S. KAUFMAN,
17                                    Defendants.
18
            On March 28, 2023, Plaintiffs Fate Therapeutics, Inc. (“Fate”) and Whitehead
19
      Institute for Biomedical Research (“Whitehead”) filed three motions for reconsideration of
20
      orders that the Court entered on February 28, 2023. (Doc. Nos. 228, 231, 232.) On March
21
      29, 2023, the Court took the motions under submission. (Doc. No. 233.) On April 11,
22
      2023, Defendants Shoreline Biosciences, Inc. (“Shoreline”) and Dan S. Kaufman filed their
23
      responses in opposition to Plaintiffs’ motions for reconsideration. (Doc. Nos. 241, 242,
24
      243, 244, 245, 246, 247.) On April 18, 2023, Plaintiffs filed their replies. (Doc. Nos. 250,
25
      251, 252.) For the reasons below, the Court denies Plaintiffs’ motions for reconsideration.
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 1                                            Background
 2          In the present action, Plaintiffs assert claims for patent infringement under 35 U.S.C.
 3    §§ 271(a), (b), and (g) against Defendants Shoreline and Dan S. Kaufman, alleging claims
 4    for infringement of U.S. Patent Nos. 8,071,369 (“the ’369 Patent”), 8,932,856 (“the ’856
 5    Patent”), 8,951,797 (“the ’797 Patent”), 8,940,536 (“the ’536 Patent”), 9,169,490 (“the
 6    ’490 Patent”), 10,457,917 (“the ’917 Patent”), and 10,017,744 (“the ’744 Patent”)
 7    (collectively, “the asserted patents”).      (Doc. No. 162, Supp. FAC ¶¶ 157-414.)
 8    Specifically, Plaintiffs allege that Defendants, individually and acting in concert, make,
 9    use, sell, offer for sale, and/or import induced pluripotent stem cells (“iPSCs”) that infringe
10    one or more claims of the asserted patents.1 (Id. ¶ 140; see, e.g., id. ¶¶ 162 (“Defendants’
11    use of their ‘iPSC-derived cell therapy manufacturing platform’ infringe[] at least claim 1
12    of the ’369 Patent.”), 212 (“iPSCs used by Defendants to make at least the iPSC-derived
13    natural kill (NK) cell platforms are made by a process that comprises at least each step of
14    claim 1 of the ’856 Patent.”).)
15          Plaintiff Whitehead is the owner via assignment of the asserted patents. See U.S.
16    Patent No. 8,071,369, at [73] (issued Dec. 6, 2011); U.S. Patent No. 8,932,856, at [73]
17    (issued Jan. 13, 2015); U.S. Patent No. 8,951,797, at [73] (issued Feb. 10, 2015); U.S.
18    Patent No. 8,940,536, at [73] (issued Jan. 27, 2015); U.S. Patent No. 9,169,490, at [73]
19    (issued Oct. 27, 2015); U.S. Patent No. 10,017,744, at [73] (issued Jul. 10, 2018); U.S.
20    Patent No. 10,457,917, at [73] (issued Oct. 29, 2019). Plaintiffs allege that Fate is the
21
22    1
             Induced pluripotent stem cells (“iPSCs”) “are pluripotent stem cells generated from
23    somatic cells by reprogramming.” (Doc. 162, Supp. FAC ¶ 31; see Doc. No. 184, Answer
      to Supp. FAC ¶ 31; see also Doc. No. 151-14, Plath Decl. ¶ 59; Doc. No. 152, Snyder Decl.
24
      ¶ 43.) “Four specific genes—cMYC, OCT3/4, SOX2 and KLF4—encoding transcription
25    factors play a role in converting or reprogramming somatic cells into pluripotent stem
      cells.” (Doc. 162, Supp. FAC ¶ 32; see Doc. No. 184, Answer to Supp. FAC ¶ 32; Doc.
26
      No. 204, Answer to Supp. FAC ¶ 32; see also Doc. No. 184, Counterclaims ¶ 43 (“iPSCs
27    are generated in culture from somatic cells through the introduction of reprogramming
      factors that transform a somatic cell into a pluripotent state.”); Doc. No. 152, Snyder Decl.
28
      ¶¶ 41, 43.)

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 1    exclusive licensee of the asserted patents. (Doc. No. 162, Supp. FAC ¶¶ 16, 19.)
 2          The ’369 Patent is entitled “Compositions for reprogramming somatic cells” and
 3    was issued on December 6, 2011. ’369 Patent at [45], [54]. The ’856 Patent is entitled
 4    “Methods for reprogramming somatic cells” and was issued on January 13, 2015. ’856
 5    Patent at [45], [54].      The ’797 Patent is entitled “Compositions for identifying
 6    reprogramming factors” and was issued on February 10, 2015. ’797 Patent at [45], [54].
 7    The ’536 Patent is entitled “Methods for making somatic cells more susceptible to
 8    reprogramming” and was issued on January 27, 2015. ’536 Patent at [45], [54]. The ’490
 9    Patent is entitled “Methods for reprogramming somatic cells” and was issued on October
10    27, 2015.     ’490 Patent at [45], [54].       The ’744 Patent is entitled “Methods for
11    reprogramming somatic cells” and was issued on Jul. 10, 2018. ’744 Patent at [45], [54].
12    The ’917 Patent is entitled “Methods for reprogramming somatic cells” and was issued on
13    October 29, 2019. ’917 Patent at [45], [54].
14          The asserted patents are all related and all share a common specification.2 (See Doc.
15    No. 149 at 5 & n.2; Doc. No. 151 at 2 & n.2 (agreeing that the asserted patents all share
16    the same specification); see also Doc. No. 162, Supp. FAC ¶ 132.) The shared specification
17    states that the disclosed invention is directed to “methods for reprogramming somatic cells
18    to a less differentiated state.” ’369 Patent col. 2 ll. 24-25; see also id. at [57] (“The
19    invention provides methods for reprogramming somatic cells to generate multipotent or
20    pluripotent cells.”).
21          Independent claim 1 of the ’369 Patent claims:
22          A composition comprising an isolated primary somatic cell that comprises an
            exogenously introduced nucleic acid encoding an Oct4 protein operably
23
            linked to at least one regulatory sequence.
24
      ’369 Patent col. 20 ll. 40-43.
25
            Independent claim 1 of the ’856 Patent claims:
26
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      2
             The Court will cite to the ’369 Patent’s specification as the “shared specification” of
28
      the asserted patents.

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 1          A method of making a somatic cell more susceptible to reprogramming to a
            pluripotent state comprising introducing at least one exogenous nucleic acid
 2
            encoding Oct 4 operably linked to at least one regulatory sequence into the
 3          cell, thereby increasing expression of Oct4 protein in the somatic cell, wherein
            increased expression of Oct4 protein makes the cell more susceptible to
 4
            reprogramming to a pluripotent state.
 5
      ’856 Patent col. 20 ll. 38-44.
 6
            Independent claim 1 of the ’797 Patent claims:
 7
            A composition comprising an isolated primary somatic cell that comprises an
 8          exogenously introduced nucleic acid encoding Oct 4, wherein the
            exogenously introduced nucleic acid increases Oct4 expression in the cell.
 9
      ’797 Patent col. 20 ll. 40-43.
10
            Independent claim 1 of the ’536 Patent claims:
11
            A method of making a primary somatic cell more susceptible to
12          reprogramming to a less differentiated state, comprising: introducing an
13          exogenous nucleic acid encoding an Oct 4 protein operably linked to at least
            one regulatory sequence into the somatic cell, wherein expression of the
14          exogenously introduced nucleic acid results in making the somatic cell more
15          susceptible to reprogramming to a less differentiated state.
16    ’536 Patent col. 20 ll. 37-44.
17          Independent claim 1 of the ’490 Patent claims:
18          A somatic cell comprising an exogenous nucleic acid encoding Oct4 and an
            amount of Oct4 expression comparable to the amount of Oct4 expression in
19          an embryonic stem cell.
20    ’490 Patent col. 20 ll. 39-41.
21          Independent claim 1 of the ’744 Patent claims:
22          A method of making a somatic cell more susceptible to reprogramming to a
23          cell having a less differentiated state, comprising:

24                 obtaining a somatic cell that comprises an exogenously introduced
                   polynucleic acid encoding Oct4 protein, and an exogenously introduced
25                 polynucleic acid encoding Sox2 or Nanog protein;
26                 wherein the exogenously introduced polynucleic acids result in making
27                 the somatic cell more susceptible to reprogramming to a less
                   differentiated state.
28

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 1    ’744 Patent col. 21 ll. 14-23.
 2          Independent claim 1 of the ’917 Patent claims:
 3          A method of making a somatic cell more susceptible to reprogramming to a
            less differentiated state, comprising: introducing an exogenous nucleic acid
 4
            encoding an Oct 4 protein operably linked to at least one regulatory sequence
 5          into the somatic cell, thereby increasing expression of Oct4 protein in the
            somatic cell, wherein increased expression of Oct4 protein makes the cell
 6
            more susceptible to reprogramming; and wherein the exogenous nucleic acid
 7          is transiently transfected into the somatic cell.
 8    ’917 Patent col. 21 ll. 16-24.
 9          On May 13, 2022, Plaintiffs filed a complaint against Defendants, alleging claims
10    for infringement of the ’369 Patent, the ’856 Patent, the ’797 Patent, the ’536 Patent, the
11    ’490 Patent, and the ’917 Patent. (Doc. No. 1, Compl. ¶¶ 66-236.) On August 12, 2022,
12    the Court issued a scheduling order. (Doc. No. 51.) On January 3, 2023, Plaintiffs filed a
13    first amended complaint against Defendants, adding a claim for infringement of the ’744
14    Patent. (Doc. No. 112, FAC ¶¶ 375-414.) On January 10, 2023, the Court issued an
15    amended scheduling order. (Doc. No. 115.)
16          On February 14, 2023, Plaintiffs filed a supplemental first amended complaint – the
17    operative complaint. (Doc. No. 162, Supp. FAC.) On February 17 and 23, 2023,
18    Defendants filed answers and counterclaims to Plaintiffs’ supplemental first amended
19    complaint. (Doc. Nos. 184, 199.)
20          On February 28, 2023, (1) the Court issued a claim construction order construing
21    agreed up and disputed claim terms from the asserted patents; (2) the Court issued an order
22    denying Plaintiffs’ motion to compel without prejudice; and (3) the Court denied as moot
23    Defendants’ motion to strike certain clarifications identified in the errata to the deposition
24    of Defendant Shoreline Biosciences, Inc.’s expert Dr. Evan Snyder. (Doc. Nos. 208, 209,
25    210.) On March 27, 2023, the Court denied Shoreline’s motion for partial summary
26    judgment. (Doc. No. 226.) On March 30, 2023, the Court denied Defendants’ partial
27    motion to dismiss Plaintiffs’ supplemental first amended complaint. (Doc. No. 234.)
28          By the present motion, Plaintiff moves for reconsideration of the Court’s three

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 1    February 28, 2023 orders. (Doc. Nos. 228-1, 231-1, 232-1.) Specifically, Plaintiffs move
 2    for reconsideration of: (1) the Court’s construction of the claim term “makes the cell more
 3    susceptible to reprogramming” contained in the Court’s February 28, 2023 claim
 4    construction order (Doc. No. 232-1 at 1, 4, 12); (2) the Court’s February 28, 2023 order
 5    denying Plaintiffs’ motion to compel certain damages-related discovery without prejudice
 6    (Doc. No. 228-1 at 4-5, 18); and (3) the Court’s February 28, 2023 order denying Plaintiffs’
 7    motion to strike as moot. (Doc. No. 231-1 at 1, 4.)
 8                                             Discussion
 9    I.    Legal Standards Governing a Motion for Reconsideration
10          A motion for reconsideration in a patent case is governed by the law of the regional
11    circuit, here, the Ninth Circuit. See Delaware Valley Floral Grp., Inc. v. Shaw Rose Nets,
12    LLC, 597 F.3d 1374, 1379 (Fed. Cir. 2010). Under Ninth Circuit law, a district court has
13    inherent jurisdiction to modify, alter, or revoke a prior order. United States v. Martin, 226
14    F.3d 1042, 1049 (9th Cir. 2000). “Reconsideration [of a prior order] is appropriate if the
15    district court (1) is presented with newly discovered evidence, (2) committed clear error or
16    the initial decision was manifestly unjust, or (3) if there is an intervening change in
17    controlling law.” School Dist. No. 1J v. ACandS, Inc., 5 F.3d 1255, 1263 (9th Cir. 1993);
18    accord Smith v. Clark Cnty. Sch. Dist., 727 F.3d 950, 955 (9th Cir. 2013).
19          Reconsideration of a prior order is an “extraordinary remedy, to be used sparingly
20    in the interests of finality and conservation of judicial resources.” Carroll v. Nakatani, 342
21    F.3d 934, 945 (9th Cir. 2003); accord Berman v. Freedom Fin. Network, LLC, 30 F.4th
22    849, 858–59 (9th Cir. 2022); see also Marlyn Nutraceuticals, Inc. v. Mucos Pharma GmbH
23    & Co., 571 F.3d 873, 880 (9th Cir. 2009) (“‘[A] motion for reconsideration should not be
24    granted, absent highly unusual circumstances . . . .’”); Raiser v. San Diego Cnty., No. 19-
25    CV-00751-GPC, 2021 WL 4751199, at *1 (S.D. Cal. Oct. 12, 2021) (“Motions for
26    reconsideration are disfavored and should only be granted in narrow instances.”). A motion
27    for reconsideration may not be used to relitigate old matters, or to raise arguments or
28    present evidence for the first time that reasonably could have been raised earlier in the

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 1    litigation. Exxon Shipping Co. v. Baker, 554 U.S. 471, 486 n.5 (2008); see Berman, 30
 2    F.4th at 859 (“Reconsideration motions may not be used to raise new arguments or
 3    introduce new evidence if, with reasonable diligence, the arguments and evidence could
 4    have been presented during consideration of the original ruling.” (citing Kona Enterprises,
 5    Inc. v. Estate of Bishop, 229 F.3d 877, 890 (9th Cir. 2000)); Williams v. Cnty. of San
 6    Diego, 542 F. Supp. 3d 1070, 1071 (S.D. Cal. 2021) (“A motion for reconsideration is not
 7    a vehicle to reargue the motion or to present evidence which should have been raised
 8    before.”). “‘A motion to reconsider is not another opportunity for the losing party to make
 9    its strongest case, reassert arguments, or revamp previously unmeritorious arguments.’”
10    Raiser, 2021 WL 4751199, at *1; see also Kilbourne v. Coca-Cola Co., No. 14CV984-
11    MMA (BGS), 2015 WL 10943610, at *2 (S.D. Cal. Sept. 11, 2015) (“‘[M]otions for
12    reconsideration are not the proper vehicles for rehashing old arguments and are not
13    intended to give an unhappy litigant one additional chance to sway the judge.’”). “A party
14    seeking reconsideration must show more than a disagreement with the Court’s decision.”
15    United States v. Westlands Water Dist., 134 F. Supp. 2d 1111, 1131 (E.D. Cal. 2001);
16    accord Williams, 542 F. Supp. 3d at 1071.
17    II.    Plaintiffs’ Motion for Reconsideration of the Court’s February 28, 2023 Claim
18           Construction Order
19           Plaintiffs move for reconsideration of the Court’s February 28, 2023 claim
20    construction order. (Doc. No. 232-1.) Specifically, Plaintiffs request that the Court
21    reconsider its construction of the claim term “makes the cell more susceptible to
22    reprogramming.” (Id. at 1, 4, 12.) In response, Defendants argue that Plaintiffs’ motion
23    should be denied because Plaintiffs improperly seek to relitigate claim construction and
24    Plaintiffs’ arguments also fail on the merits in view of the intrinsic record. (Doc. No. 241
25    at 1, 3-14.)
26           A.      Legal Standards for Claim Construction
27           Claim construction is an issue of law for the court to decide. Teva Pharms. USA,
28    Inc. v. Sandoz, Inc., 574 U.S. 318, 326 (2015); Markman v. Westview Instruments, Inc.,

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 1    517 U.S. 370, 372 (1996). Although claim construction is ultimately a question of law,
 2    “subsidiary factfinding is sometimes necessary.” Teva, 574 U.S. at 326.
 3          “It is a ‘bedrock principle’ of patent law that the ‘claims of a patent define the
 4    invention to which the patentee is entitled the right to exclude.’” Phillips v. AWH Corp.,
 5    415 F.3d 1303, 1312 (Fed. Cir. 2005) (en banc) (citations omitted). “The purpose of claim
 6    construction is to ‘determin[e] the meaning and scope of the patent claims asserted to be
 7    infringed.’” O2 Micro Int’l Ltd. v. Beyond Innovation Tech. Co., 521 F.3d 1351, 1360
 8    (Fed. Cir. 2008) (citation omitted).
 9          Claim terms “‘are generally given their ordinary and customary meaning[,]’” which
10    “is the meaning that the term would have to a person of ordinary skill in the art in question
11    at the time of the invention.” Phillips, 415 F.3d at 1312–13. “In some cases, the ordinary
12    meaning of claim language as understood by a [POSITA] may be readily apparent even to
13    lay judges, and claim construction in such cases involves little more than the application
14    of the widely accepted meaning of commonly understood words.” Id. at 1314. “However,
15    in many cases, the meaning of a claim term as understood by persons of skill in the art is
16    not readily apparent.” O2 Micro, 521 F.3d at 1360. If the meaning of the term is not
17    readily apparent, the court must look to “‘those sources available to the public that show
18    what a person of skill in the art would have understood disputed claim language to mean.’”
19    Phillips, 415 F.3d at 1314 (quoting Innova/Pure Water, Inc. v. Safari Water Filtration Sys.,
20    Inc., 381 F.3d 1111, 1116 (Fed. Cir. 2004)). “Those sources include ‘the words of the
21    claims themselves, the remainder of the specification, the prosecution history, and extrinsic
22    evidence.’” Id. (quoting Innova, 381 F.3d at 1116); see Ericsson, Inc. v. D-Link Sys., Inc.,
23    773 F.3d 1201, 1217–18 (Fed. Cir. 2014).
24          In determining the proper construction of a claim, a court should first look to the
25    language of the claims. See Allergan Sales, LLC v. Sandoz, Inc., 935 F.3d 1370, 1373
26    (Fed. Cir. 2019) (“‘[C]laim construction must begin with the words of the claims
27    themselves.’”); Source Vagabond Sys. Ltd. v. Hydrapak, Inc., 753 F.3d 1291, 1299 (Fed.
28    Cir. 2014) (“‘a claim construction analysis must begin and remain centered on the claim

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 1    language itself’”). The context in which a disputed term is used in the asserted claims may
 2    provide substantial guidance as to the meaning of the term. See Phillips, 415 F.3d at 1314.
 3          A court must also read claims “in view of the specification, of which they are a part.”
 4    Markman, 52 F.3d at 979; see 35 U.S.C. § 112(b) (“The specification shall conclude with
 5    one or more claims particularly pointing out and distinctly claiming the subject matter
 6    which the inventor or a joint inventor regards as the invention.”). “‘Apart from the claim
 7    language itself, the specification is the single best guide to the meaning of a claim term.’”
 8    Vederi, LLC v. Google, Inc., 744 F.3d 1376, 1382 (Fed. Cir. 2014) (quoting AIA Eng’g
 9    Ltd. v. Magotteaux Int’l S/A, 657 F.3d 1264, 1272 (Fed. Cir. 2011)).
10          But “[t]he written description part of the specification does not delimit the right to
11    exclude. That is the function and purpose of claims.” Markman v. Westview Instruments,
12    Inc., 52 F.3d 967, 980 (Fed. Cir. 1995) (en banc). Therefore, “it is improper to read
13    limitations from a preferred embodiment described in the specification—even if it is the
14    only embodiment—into the claims absent a clear indication in the intrinsic record that the
15    patentee intended the claims to be so limited.” Dealertrack, Inc. v. Huber, 674 F.3d 1315,
16    1327 (Fed. Cir. 2012); accord Openwave Sys., Inc. v. Apple Inc., 808 F.3d 509, 514 (Fed.
17    Cir. 2015).
18          In addition to the claim language and the specification, the patent’s prosecution
19    history may be considered if it is in evidence. Phillips, 415 F.3d at 1317. The prosecution
20    history “consists of the complete record of the proceedings before the [Patent and
21    Trademark Office (‘PTO’)] and includes the prior art cited during the examination of the
22    patent.” Id. “Like the specification, the prosecution history provides evidence of how the
23    PTO and the inventor understood the patent.” Id. “Yet because the prosecution history
24    represents an ongoing negotiation between the PTO and the applicant, rather than the final
25    product of that negotiation, it often lacks the clarity of the specification and thus is less
26    useful for claim construction purposes.” Id. In addition, a court should also consult the
27    prosecution history “so that the court can exclude any interpretation that was disclaimed
28    during prosecution.” Sorensen v. Int’l Trade Comm’n, 427 F.3d 1375, 1378 (Fed. Cir.

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 1     2005) (citing Phillips, 415 F.3d at 1317).
 2           In most situations, analysis of the intrinsic evidence will resolve claim construction
 3     disputes. See Vitronics, 90 F.3d at 1583; Teva, 574 U.S. at 331; see also Seabed
 4     Geosolutions (US) Inc. v. Magseis FF LLC, 8 F.4th 1285, 1287 (Fed. Cir. 2021) (“If the
 5     meaning of a claim term is clear from the intrinsic evidence, there is no reason to resort to
 6     extrinsic evidence.”). However, “[w]here the intrinsic record is ambiguous, and when
 7     necessary,” district courts may “rely on extrinsic evidence, which ‘consists of all evidence
 8     external to the patent and prosecution history, including expert and inventor testimony,
 9     dictionaries, and learned treatises.’” Power Integrations, Inc. v. Fairchild Semiconductor
10     Int’l, Inc., 711 F.3d 1348, 1360 (Fed. Cir. 2013) (quoting Phillips, 415 F.3d at 1317). A
11     court must evaluate all extrinsic evidence in light of the intrinsic evidence. Phillips, 415
12     F.3d at 1319. “‘[E]xtrinsic evidence is to be used for the court’s understanding of the
13     patent, not for the purpose of varying or contradicting the terms of the claims.’” Genuine
14     Enabling Tech. LLC v. Nintendo Co., 29 F.4th 1365, 1373 (Fed. Cir. 2022); see also
15     Summit 6, LLC v. Samsung Elecs. Co., 802 F.3d 1283, 1290 (Fed. Cir. 2015) (“Extrinsic
16     evidence may not be used ‘to contradict claim meaning that is unambiguous in light of the
17     intrinsic evidence.’”). In cases where subsidiary facts contained in the extrinsic evidence
18     “are in dispute, courts will need to make subsidiary factual findings about that extrinsic
19     evidence.” Teva, 574 U.S. at 332.
20           “[D]istrict courts are not (and should not be) required to construe every limitation
21     present in a patent’s asserted claims.” O2 Micro, 521 F.3d at 1362; see also Eon Corp. IP
22     Holdings v. Silver Spring Networks, 815 F.3d 1314, 1318–19 (Fed. Cir. 2016) (“‘[O]nly
23     those terms need be construed that are in controversy, and only to the extent necessary to
24     resolve the controversy.’”). In certain situations, it is appropriate for a court to determine
25     that a claim term needs no construction and its plain and ordinary meaning applies. O2
26     Micro, 521 F.3d at 1360; Phillips, 415 F.3d at 1314. But “[a] determination that a claim
27     term ‘needs no construction’ or has the ‘plain and ordinary meaning’ may be inadequate
28     when a term has more than one ‘ordinary’ meaning or when reliance on a term’s ‘ordinary’

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 1     meaning does not resolve the parties’ dispute.” O2 Micro, 521 F.3d at 1361. If the parties
 2     dispute the scope of a certain claim term, it is the court’s duty to resolve the dispute. Id. at
 3     1362; Eon, 815 F.3d at 1318.
 4           B.     Analysis
 5           Plaintiffs request that the Court reconsider its construction of the claim term “makes
 6     the cell more susceptible to reprogramming.” (Doc. No. 232-1 at 1, 4, 12.) In the Court’s
 7     February 28, 2023 claim construction order, the Court construed the claim term “makes the
 8     cell more susceptible to reprogramming” as “primes the cell to improve the cloning
 9     efficiency of the subsequent reprogramming.” (Doc. No. 208 at 33.) Plaintiffs argue that
10     the Court should reconsider its construction of this claim term because the Court’s
11     construction is clearly erroneous and/or manifestly unjust. (Doc. No. 232-1 at 5.)
12           Plaintiffs’ motion is an attempt to reargue and relitigate the proper construction of
13     the claim term “makes the cell more susceptible to reprogramming.” Plaintiffs’ motion
14     does not identify any new arguments or new evidence that could not have previously been
15     presented to the Court during the claim construction phase of this case. Rather, in the
16     motion, Plaintiffs simply disagree with the Court’s construction of the claim term “makes
17     the cell more susceptible to reprogramming,” and Plaintiffs attempt to re-argue the proper
18     construction of that claim term based on revised and new arguments that could have been
19     presented earlier. This is improper, and this alone provides a sufficient basis to deny
20     Plaintiffs’ motion for reconsideration. See Exxon Shipping, 554 U.S. at 486 n.5; Berman,
21     30 F.4th at 859; Williams, 542 F. Supp. 3d at 1071; Westlands Water Dist., 134 F. Supp.
22     2d at 1131; Raiser, 2021 WL 4751199, at *1.
23           Plaintiffs’ attempt to relitigate claim construction is particularly improper here as
24     Plaintiffs were given a full and fair opportunity to litigate the proper construction of the
25     term “makes the cell more susceptible to reprogramming” during the claim construction
26     phase of the case. Claim construction in this case was performed pursuant to the Court’s
27     Patent Local Rules which provide for: the exchange of preliminary claim constructions and
28     responsive claim constructions; the identification of extrinsic evidence; the filing of a joint

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 1     claim construction statement, chart, and worksheet; claim construction discovery; and the
 2     filing of opening and responsive claim construction briefs. See S.D. Cal. Pat. L.R. 4.1-4.4.
 3     Further, although not required to do so, on February 22, 2023, the Court issued a 39-page
 4     tentative claim construction order – a full five days before the claim construction hearing
 5     in this case. (Doc. No. 192.) The Court’s tentative claim construction order contained not
 6     only all of the Court’s tentative claim constructions; the tentative order also contained full
 7     analyses in support of those tentative constructions and any potential alternative
 8     constructions that the Court was considering. (See id.) The Court’s tentative claim
 9     construction order contained 14 pages of analysis regarding the proper construction of the
10     claim term “makes the cell more susceptible for reprogramming.” (See id. at 20-34.) The
11     Court then held a claim construction hearing on February 27, 2023, providing the parties a
12     full opportunity to argue before the Court their claim construction positions in light of the
13     Court’s analyses and tentative constructions. (Doc. No. 205.) At the hearing, the Court
14     permitted the parties to use voluminous slide decks as part of their arguments to the Court,
15     and the Court considered all the arguments and materials presented in those slides. 3 And
16     the only term argued at the hearing was the term “makes the cell more susceptible to
17     reprogramming.” After considering all of the parties’ arguments in their briefing and at
18     the hearing and after considering the relevant portions of the record, the Court issued its
19     February 28, 2023 claim construction order. Under these circumstances, it is improper for
20     Plaintiffs to seek a re-do and attempt to relitigate claim construction through this motion
21     for reconsideration.
22           Plaintiffs note that the Federal Circuit has held that district courts may engage in
23     rolling claim construction. (Doc. No. 232-1 at 4-5.) The Federal Circuit has recognized
24     that “‘district courts may engage in a rolling claim construction, in which the court revisits
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       3
             The Court acknowledges that at the February 27, 2023 hearing, Plaintiffs’ slides only
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       addressed the pending motion for summary judgment. But that was due to Plaintiffs’ own
28     choice to not prepare and present slides in support their claim construction arguments.

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 1     and alters its interpretation of the claim terms as its understanding of the technology
 2     evolves.’” Pressure Prod. Med. Supplies, Inc. v. Greatbatch Ltd., 599 F.3d 1308, 1316
 3     (Fed. Cir. 2010); accord Conoco, Inc. v. Energy & Env’t Int’l, L.C., 460 F.3d 1349, 1359
 4     (Fed. Cir. 2006). In addition, the Federal Circuit has explained that “a district court may
 5     (and sometimes must) revisit, alter, or supplement its claim constructions . . . to the extent
 6     necessary to ensure that final constructions serve their purpose of genuinely clarifying the
 7     scope of claims for the finder of fact.” In re Papst Licensing Digit. Camera Pat. Litig., 778
 8     F.3d 1255, 1261 (Fed. Cir. 2015) (citing O2 Micro, 521 F.3d at 1359; Pfizer, Inc. v. Teva
 9     Pharm., USA, Inc., 429 F.3d 1364, 1377 (Fed. Cir. 2005)). But this is not a situation where
10     the Court’s understanding of the relevant technology or the scope of the parties’ dispute
11     has evolved in light of subsequent arguments or evidence presented by the parties at
12     summary judgment or at trial. This is a situation where one side, Plaintiffs, simply
13     disagrees with the Court’s claim construction order and seeks to reargue claim
14     construction. This is not a proper basis for a motion for reconsideration. See Exxon
15     Shipping, 554 U.S. at 486 n.5; Berman, 30 F.4th at 859; Williams, 542 F. Supp. 3d at 1071;
16     Westlands Water Dist., 134 F. Supp. 2d at 1131; Raiser, 2021 WL 4751199, at *1. As
17     such, the Court denies Plaintiffs’ motion for reconsideration on the grounds that it is an
18     improper attempt to relitigate claim construction. See id.; see, e.g., Regents of Univ. of
19     California v. Affymetrix, Inc., No. 17-CV-01394-H-NLS, 2018 WL 5617866, at *2 (S.D.
20     Cal. Oct. 30, 2018) (denying motion for reconsideration of claim construction order where
21     the motion was an improper attempt to reargue and relitigate claim construction).
22           Moreover, even if the Court were to consider the substantive arguments in the
23     motion for reconsideration, Plaintiffs have not identified any error in the Court’s
24     construction of the claim term “makes the cell more susceptible to reprogramming,” let
25     alone clear error.    Plaintiffs contend that the Court erred in finding a prosecution
26     disclaimer. (Doc. No. 232-1 at 5-9; Doc. No. 250 at 1-3.) In construing the relevant claim
27     term, the Court engaged in a detailed analysis of the prosecution history, found a
28     prosecution disclaimer, and held that, as a result of that disclaimer, “the claims at issue are

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 1     limited to a method of ‘priming’ a somatic cell for reprogramming.” (Doc. No. 208 at 30.)
 2     In reaching this holding, the Court primarily relied on the Federal Circuit’s decisions in
 3     Biogen Idec, Inc. v. GlaxoSmithKline LLC, 713 F.3d 1090 (Fed. Cir. 2013), and SandBox
 4     Logistics LLC v. Proppant Express Invs. LLC, 813 F. App’x 548 (Fed. Cir. 2020).4
 5     Plaintiffs have not identified any error in the Court’s finding of a prosecution disclaimer.
 6           Plaintiffs argue that the Court’s finding of prosecution disclaimer was erroneous
 7     because “the Court incorrectly focused on what the Applicant did not say in response to an
 8     enablement rejection instead of what Applicant did say.” (Doc. No. 232-1 at 6-7 (emphasis
 9     in original).) Plaintiffs note that it is the applicant, not the examiner, who disclaims claim
10     scope. (Id. at 7 (citing Innova/Pure Water, 381 F.3d at 1124; 3M Innovative Properties Co.
11     v. Tredegar Corp., 725 F.3d 1315, 1332 (Fed. Cir. 2013)).) See Arendi S.A.R.L. v. Google
12     LLC, 882 F.3d 1132, 1135 (Fed. Cir. 2018) (“[I]t is the applicant, not the examiner, who
13     must give up or disclaim subject matter that would otherwise fall within the scope of the
14     claims.’” (quoting Sorensen, 427 F.3d at 1379))). Plaintiffs’ argument fails as it is based
15     on a mischaracterization of the Court’s analysis. In finding a prosecution disclaimer, the
16     Court not only relied on the examiner’s enablement rejection; the examiner’s statements in
17     support of that rejection; and the applicant’s amendments to the claims at issue in response
18     to that rejection, the Court also relied on the applicant’s express and affirmative citation to
19     every instance in the April 11, 2014 office action where the examiner characterized the
20     specification as disclosing a method of “priming” a somatic cell for reprogramming in an
21     effort to support enablement of the amended claims. (See Doc. No. 208 at 27-31; compare
22     Doc. No. 113-5, Ex. B-32 at 5 (citing April 11, 2014 office action at “paragraph bridging
23     pages 3-4, paragraph bridging pages 4-5, and first full paragraph of page 7”) with Doc. No.
24     113-5, Ex. B-31 at 3, 4, 7).) As such, the Court’s finding of prosecution disclaimer focused
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26     4
              The Court also relied on the Federal Circuit’s decisions in Ancora Techs., Inc. v.
27     Apple, Inc., 744 F.3d 732, 739 (Fed. Cir. 2014), and TorPharm, Inc. v. Ranbaxy Pharm.,
       Inc., 336 F.3d 1322, 1330 (Fed. Cir. 2003), and the district court decision in Oy v. Verizon
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       Servs. Corp., No. CV 12-715-CJB, 2014 WL 7385615, at *12 (D. Del. Dec. 23, 2014).

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 1     on and relied on what applicant affirmatively said to the PTO through its citations.
 2            Further, in Biogen, the Federal Circuit explained: “While disavowing statements
 3     must be ‘so clear as to show reasonable clarity and deliberateness,’ this requirement does
 4     not require the applicant to parrot back language used by the examiner when clearly and
 5     deliberately responding to a particular ground[] for rejection. If an applicant chooses, she
 6     can challenge an examiner’s characterization in order to avoid any chance for disclaimer,
 7     but the applicants in this case did not directly challenge the examiner’s characterization.”
 8     713 F.3d at 1096 (quoting Omega Eng’g, Inc, v. Raytek Corp., 334 F.3d 1314, 1325 (Fed.
 9     Cir. 2003), and citing TorPharm, 336 F.3d at 1330); see also TorPharm, 336 F.3d at 1330
10     (“Whether the patentee chooses to dispute the examiner’s view of matters is relevant to
11     claim interpretation, for there a court may need to ascertain exactly what subject matter
12     was actually examined and allowed by the PTO. . . . Accordingly, in ascertaining the scope
13     of an issued patent, the public is entitled to equate an inventor’s acquiescence to the
14     examiner’s narrow view of patentable subject matter with abandonment of the rest. Such
15     acquiescence may be found where the patentee narrows his or her claims by amendment or
16     lets stand an examiner’s restrictive interpretation of a claim.” (citing Elkay Mfg. Co. v.
17     Ebco Mfg. Co., 192 F.3d 973, 978–79 (Fed. Cir. 1999))); SandBox, 813 F. App’x at 554
18     (“SandBox’s failure to challenge the Examiner’s understanding amounts to a disclaimer.”).
19     Plaintiffs do not identify any passage in the intrinsic record where the applicant directly
20     challenged the examiner’s characterization of the specification as disclosing a method of
21     “priming” a somatic cell for reprogramming. Rather, the prosecution history contains
22     affirmative citations by the applicant to that characterization by the examiner to support
23     the patentability of the claims at issue. 5
24
25     5
             In reaching its holding in Biogen, the Federal Circuit expressly addressed the
26     principle that it is applicant, not the examiner, who must disclaim claim scope, and the
       Federal Circuit explained:
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              We are mindful that “it is the applicant, not the examiner, who must give up
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              or disclaim subject matter that would otherwise fall within the scope of the

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 1           Plaintiffs assert that the applicant “did not simply ‘cite[] to every instance where the
 2     examiner characterized the specification as disclosing a method of ‘priming’ a somatic cell
 3     for reprogramming’ to thereby equate ‘priming’ with ‘making a cell more susceptible to
 4     reprogramming.’” (Doc. No. 232-1 at 7 (quoting Doc. No. 208 at 30).) Plaintiffs note that
 5     the applicant also cited to the examiner’s acknowledgement “that the specification
 6     ‘concludes that inducing Oct4 expression in somatic cells makes these cells more
 7     susceptible to reprogramming.’” (Id. (comparing Doc. No. 113-5, Ex. B-32 at 5 with Doc.
 8     No. 113-5, Ex. B-31 at 3).) Plaintiffs contend that, in light of this, a plausible reading of
 9     the prosecution history is “that ‘priming’ is an example of making a cell more susceptible
10     to reprogramming and that the claims may encompass, but are not limited to, ‘priming.’”
11     (Id. at 7; see Doc. No. 250 at 2.) The Court does not find this argument persuasive. If the
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14           claims.” Innova/Pure Water, Inc. v. Safari Water Filtration Sys., Inc., 381
             F.3d 1111, 1124 (Fed. Cir. 2004). This case, however, differs markedly from
15           those frequently raising this admonition. Those cases typically involve an
16           applicant standing silent when confronted by statements made by the
             examiner during prosecution, most often in the examiner’s Statement of
17           Reasons for Allowance. See, e.g., Salazar v. Procter & Gamble Co., 414 F.3d
18           1342, 1345–47 (Fed. Cir. 2005); ACCO Brands, Inc. v. Micro Sec. Devices,
             Inc., 346 F.3d 1075, 1079 (Fed. Cir. 2003). This case deals not only with
19           applicants letting stand an examiner’s narrow characterization of a claim term,
20           but also their adoption of that characterization to overcome the examiner’s
             enablement rejection. Thus, the acquiescence cases are inapposite. See
21           TorPharm, 336 F.3d at 1330 (“[T]he public is entitled to equate an inventor’s
22           acquiescence to the examiner’s narrow view of patentable subject matter with
             abandonment of the rest.”).
23
       Biogen, 713 F.3d at 1097 n.6. As in Biogen, “[t]his case deals not only with applicants
24     letting stand an examiner’s narrow characterization of a claim term, but also their
       [affirmative] adoption of that characterization to overcome the examiner’s enablement
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       rejection.” Id. As such, Plaintiffs’ reliance on Innova/Pure Water and 3M is misplaced.
26     In addition, 3M is also easily distinguishable from the present case because in 3M the
       accused infringer did not even assert that there was a prosecution disclaimer. See 725 F.3d
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       at 1332 (“[Defendant] neither argues nor provides evidence of a disclaimer in the original
28     prosecution or the reexamination.”).

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 1     applicant was not equating “priming” with “making a cell more susceptible to
 2     reprogramming,” then there would have been no need to cite to all three passages in the
 3     office action discussing “priming” to support the patentability of the amended claims. The
 4     applicant would have only needed to cite to the single passage where the examiner
 5     discusses the specification’s conclusion that inducing Oct4 expression makes cells more
 6     susceptible to reprogramming. But that is not what happened. The applicant cited to all
 7     three of the examiner’s statements characterizing the disclosed invention as a method of
 8     “priming,” and the public and the Court are entitled to rely on those affirmative
 9     representations by the applicant regarding the scope of its invention. See DNA Genotek
10     Inc. v. Spectrum Sols. L.L.C., No. 321CV00516RSHDDL, 2022 WL 17331255, at *21
11     (S.D. Cal. Nov. 29, 2022) (“The Federal Circuit has explained that the public and the Court
12     are ‘entitled to take the patentee at his word’ regarding the scope of its invention.” (quoting
13     Microsoft Corp. v. Multi-Tech Sys., Inc., 357 F.3d 1340, 1350 (Fed. Cir. 2004); Honeywell
14     Int’l, Inc. v. ITT Indus., Inc., 452 F.3d 1312, 1318 (Fed. Cir. 2006)); see also Aylus
15     Networks, Inc. v. Apple Inc., 856 F.3d 1353, 1360 (Fed. Cir. 2017) (explaining that claims
16     should not be “‘construed one way in order to obtain their allowance and in a different way
17     against accused infringers’”). “While the applicants may not have repeated the examiner’s
18     language verbatim et literatim, it is clear that they were limiting their invention to what the
19     examiner believed they enabled,” Biogen, 713 F.3d at 1096, which here is a method of
20     “priming” a somatic cell for reprogramming. (See Doc. No. 113-5, Ex. B-31 at 3-4, 7.)
21           Plaintiffs note that when the applicant amended the claims, the applicant explicitly
22     chose not to include “priming” in the claim language, and, instead, the claims were
23     amended to recite different language. (Doc. No. 232-1 at 7; Doc. No. 250 at 3.) This
24     argument is not persuasive as it fails to meaningfully distinguish the present case from the
25     Federal Circuit’s decision in SandBox. In SandBox, the applicant explicitly amended the
26     claims to recite a “bottom,” and the applicant did not use the word “wall” in the amended
27     claim language. See 813 F. App’x at 554. Nevertheless, in light of the relevant prosecution
28     history, the Federal Circuit found a prosecution disclaimer and affirmed the district court’s

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 1     construction of the term “bottom” as “bottom wall.” See id. at 554–55; see also Traxcell
 2     Techs., LLC v. Nokia Sols. & Networks Oy, 15 F.4th 1136, 1141 (Fed. Cir. 2021)
 3     (“‘Prosecution disclaimer can arise from both claim amendments and arguments.’”).
 4           Plaintiffs also assert: “[T]he Court erred in importing an order of steps requirement
 5     (‘subsequent reprogramming’) based on disclaimer because the examiner’s rejection and
 6     comments did not relate in any way to when Oct-4 is introduced to the cell in relation to
 7     when reprogramming occurs.” (Doc. No. 232-1 at 8.) Plaintiffs assert that “[t]here can be
 8     can be no clear and unmistakable disclaimer because the examiner never rejected the claims
 9     or made any comments related to the order of steps, nor did the applicant amend claims or
10     make any argument to overcome such a rejection.” (Id. (citing Grober v. Mako Prods.,
11     Inc., 686 F.3d 1335, 1342 (Fed. Cir. 2012)); see Doc. No. 250 at 3-4.) The Court rejects
12     this argument as it is not based on an accurate characterization of the intrinsic record.
13     Specifically, it is inaccurate to state that the examiner and the applicant never made any
14     comments related to the order of steps. In the April 11, 2014 office action, the examiner
15     characterized the specification as disclosing a method of “priming [a] somatic cell[] for
16     reprogramming” three times, and when the applicant amended the claims, the applicant
17     affirmatively cited to all three of those passages discussing “priming.” (See Doc. No. 113-
18     5, Ex. B-31 at 3, 4, 7; Doc. No. 113-5, Ex. B-32 at 5.) The common meaning of the verb
19     “priming” is “[t]o make ready, prepare.” THE AMERICAN HERITAGE COLLEGE DICTIONARY
20     at   1086    (3d    ed.   1997);    see   also   OXFORD      LEARNER’S      DICTIONARIES,
21     https://www.oxfordlearnersdictionaries.com/us/       definition/american_english/prime_3
22     (defining the verb “prime” as “prime something to make something ready for use or
23     action”), DICTIONARY.COM, https://www.dictionary. com/browse/prime (defining verb
24     “prime” as “to prepare or make ready for a particular purpose or operation”); MERRIAM-
25     WEBSTER DICTIONARY, https://www.merriam-webster.com/dictionary/prime (defining the
26     verb “prime” as “to supply with an essential prerequisite (such as a hormone, nucleic acid,
27
28

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 1     or antigen) for chemical or biological activity”).6 Thus, that the examiner was describing
 2     a two-step process where you have an initial preparation step and then a subsequent
 3     “reprogramming” step is inherent in the examiner’s use of the verb “priming” in the
 4     passages at issue. 7, 8 And, again, the applicant expressly cited to all of those passages to
 5     support the patentability of the amended claims.
 6           Plaintiffs continue to argue that the examiner merely found that the example in the
 7     specification showed that Oct-4 achieved an “additive” effect for reprogramming when
 8     other factors were also “present” in the oocyte; rather than some two-step process. (Doc.
 9     No. 232-1 at 8 (citing Doc. No. 151-6, Ex. 5 at 16); Doc. No. 250 at 2; see also Doc. No.
10
11     6
             The common meaning of the noun “prerequisite” is “something that is” “[r]equired
12     or necessary as a prior condition.” THE AMERICAN HERITAGE COLLEGE DICTIONARY at
       1081; see also OXFORD LEARNER’S DICTIONARIES https://www.oxfordlearnersdictionaries.
13     com/us/definition/english/prerequisite_2 (defining the noun “prerequisite” as “something
14     that must exist or happen before something else can happen or be done”).
       7
              Claim construction discovery in this case is closed and has been since January 24,
15
       2023. (See Doc. No. 115 at 3.) Plaintiffs have been on notice of Defendants’ contention
16     that the term at issue means “primes the cell for subsequent reprogramming” since at least
       December 5, 2022 when the parties filed their joint claim construction chart. (See Doc.
17
       No. 90-1 at 22.) Yet Plaintiffs chose to not provide the Court with any definitions of the
18     verb “prime” or “priming” during claim construction.
19     8
              Plaintiffs assert that “the most plausible reading of the prosecution history is that the
       Examiner was equating ‘prim[ing]’ with enhancing efficiency of reprogramming.” (Doc.
20
       No. 232-1 at 9.) The correct, clear, and unambiguous reading of the prosecution history is
21     that when the examiner uses the word “priming,” she is referring to the two-step process
       described in the working example of the specification – the working example in the
22
       specification that both Plaintiffs’ counsel and Plaintiffs’ expert describe as an SCNT
23     experiment involving a two-step process. (See Doc. No. 218 at 12, 30; Doc. No. 232-3,
       Plath Decl. ¶¶ 8-9.) In the April 11, 2014 office action, in the entire paragraph immediately
24
       preceding the first time the examiner uses the verb “priming,” the examiner describes “the
25     specific guidance” that the specification provides and entirely focuses on the working
       example of the specification and describes it as a two-step process. (See Doc. No. 113-5,
26
       Ex. B-31 at 3 (“The specification provides specific guidance to nuclear transfer
27     experiments, wherein said fibroblasts were treated with DOX to induce Oct4 expression
       and then transferred into enucleated oocytes to produce[] nuclear transfer units.” (emphasis
28
       added)).)

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 1     151 at 12-13; Doc. No. 179 at 2-3.) The Court rejected this argument in the claim
 2     construction order, (see Doc. No. 208 at 31-32), and the Court again rejects this argument
 3     here. By making this argument, Plaintiffs essentially request that the Court solely focus on
 4     the examiner’s single statement regarding “Oct4 as an additive factor to reprogramming”
 5     and ignore the examiner’s other multiple statements characterizing the specification as
 6     disclosing a method of “priming” a cell for reprogramming. The Court declines to focus
 7     on that single statement out of context. In evaluating prosecution disclaimer, the Court
 8     must read the examiner’s statements in the “context” of “the full prosecution history.”
 9     Biogen, 713 F.3d at 1096; see also CardSoft, (assignment for the Benefit of Creditors),
10     LLC v. VeriFone, Inc., 807 F.3d 1346, 1350 (Fed. Cir. 2015) (explaining that claim terms
11     are read “‘in the context of the entire patent,’ including the specification and the
12     prosecution history” (quoting Phillips, 415 F.3d at 1313)). Thus, the Court must consider
13     all relevant statements in the prosecution history, and, importantly, it is not as if these
14     statements are inconsistent with each other. These statements are easily combined to
15     reflect the examiner’s understanding that the specification discloses a method of “priming”
16     a somatic cell for reprogramming where the initial Oct-4 “priming” (i.e., the preparation/
17     conditioning) step provides an “additive factor” to the subsequent reprogramming step. 9
18
19
       9
              The Court also notes that these statements when combined with others also reflect
20
       that the “additive factor” that the examiner is referring to is “enhanc[ing] nuclear transfer
21     cloning efficiency and nuclear transfer’s reprogramming process.” (Doc. No. 113-5, Ex.
       B-31 at 8 (“[T]he experiments described in the specification . . . solely demonstrate[] that
22
       addition of Oct4 expression enhances nuclear transfer cloning efficiency and nuclear
23     transfer’s reprogramming process.”), 13 (“[T]he nuclear transfer experimental model is
       only informative to the impact of Oct4 exogenous expression on the degree of cloning
24
       efficiency or the degree reprogramming completeness or effectiveness upon the number of
25     reprogrammed fibroblast nuclei.”); see also Doc. No. 151-10, Ex. 9 at pp. 160 (“improving
       the efficiency of somatic cloning”), 178 (“improve cloning efficiency”).) In their motion
26
       for reconsideration, Plaintiffs assert that the Court’s claim construction analysis improperly
27     relies on “isolated statements” from the prosecution history. (Doc. No. 232-1 at 1, 6.) As
       shown by the above, it is the Court’s analysis that seeks to interpret the claims within the
28
       “context” of “the full prosecution history.” See Biogen, 713 F.3d at 1096. And it is

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 1           Plaintiffs also assert: “The Court . . . found support for the order of steps in the
 2     somatic cell nuclear transfer (‘SCNT’) experiment in the patent Example even though the
 3     record was devoid of evidence that a person of ordinary skill in the art (‘POSA’) would
 4     understand the Example in the same manner.” (Doc. No. 232-1 at 1; see also id. at 9-11.)
 5     First, Plaintiffs are wrong, and the record was not devoid of evidence regarding how a
 6     POSITA would understand the SCNT experiment in the specification. The intrinsic record
 7     contains a September 19, 2011 office action, where the examiner explained: “The
 8     specification provides specific guidance to nuclear transfer experiments, wherein said
 9     fibroblasts were first treated with DOX to induce Oct4 expression and then use[d] in
10     nuclear transfer.” (Doc. No. 113-3, Ex. B-23 at 3 (emphasis added).) The intrinsic record
11     also contains an August 20, 2013 office action and an April 11, 2014 office action, where
12     in both the examiner explained: “The specification provides specific guidance to nuclear
13     transfer experiments, wherein said fibroblasts were treated with DOX to induce Oct4
14     expression and then transferred into enucleated oocytes to produce[] nuclear transfer
15     units.” (Doc. No. 113-2, Ex. B-11 at 4 (emphasis added); Doc. No. 113-5, Ex. B-31 at 3.)
16     The Court relied on these statements and expressly cited to them in the Court’s claim
17     construction order. (See Doc. No. 208 at 31-32.) Statements by an examiner during the
18     prosecution of a patent are evidence of how a POSITA would understand the invention.10
19
20     Plaintiffs who attempt rely on “isolated statements” from the prosecution history while
       entirely ignoring many others.
21
       10
              The prosecution history also contains statements from the inventors of the asserted
22
       patents describing the SCNT experiment as a two-step process, where the somatic donor
23     nucleus is conditioned/modified (i.e., primed) “prior to” nuclear transfer. (See Doc. No.
       151-10, Ex. 9 at pp. 160 (“[P]rimary somatic cells . . were . . . treated with Dox for 48 hours
24
       prior to nuclear transfer to transiently induce ectopic expression of Oct4.” (emphasis
25     added)), 168 (explaining that Oct-4 inducible mice were generated “[t]o modify the somatic
       donor nucleus prior to nuclear transfer in an effort facilitate epigenetic reprogramming and
26
       cloning efficiency” (emphasis added)), 169 (“The Oct4 inducible mouse strain will be used
27     in an attempt to ‘condition’ a somatic donor nucleus so as to facilitate nuclear
       reprogramming and increase nuclear cloning efficiency.”).) In so doing, the inventors also
28
       specifically explained that the duration of the DOX treatment has a material effect on

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 1     See 3M, 725 F.3d at 1332 (explaining that statements by an examiner during prosecution
 2     of a patent can be “representative of how one of skill in the art would understand the term”);
 3     Salazar v. Procter & Gamble Co., 414 F.3d 1342, 1347 (Fed. Cir. 2005) (“Statements about
 4     a claim term made by an examiner during prosecution of an application may be evidence
 5     of how one of skill in the art understood the term at the time the application was filed.”);
 6     Nitride Semiconductors Co. v. Lite-On Tech. Corp., No. W-21-CV-00183-ADA, 2022 WL
 7     17347782, at *8 (W.D. Tex. Nov. 30, 2022) (“Examiner’s prosecution statements are
 8     evidence of how the POSITA would understand this term.”).
 9           Second, the Court’s construction of this claim term was also based on Plaintiffs’ own
10     explanation at the hearing of how a POSITA would understand the SCNT experiment. (See
11     Doc. No. 108 at 32 n.15.) At the February 27, 2023 hearing, Plaintiffs explained the SCNT
12     experiment in the specification as a two-step process where the experimenters first made
13     sure that the “cell had Oct4 in it,” and the experimenters then combined that cell with the
14     oocyte in a “subsequent step” to perform the nuclear transfer and reprogram the cell. (See
15     Doc. No. 218 at 30 (“A POSA understands that it was to make sure over that 24-hour period
16     that the expression of the trans gene had enough time to generate Oct4 so that in this
17     subsequent step, Oct4 was being put together with the oocyte.”), 12 (“they wanted to make
18     sure that that cell had Oct4 in it at the time that they combined it with the -- the oocyte”);
19     see also id. at 3-4 (explaining that SCNT reprogramming happens when the somatic cell is
20
21
       “[o]ptimal gene activation levels.” (See id. at pp. 173 (“Activation of the target gene will
22
       be accomplished by treating the animals or explanted fibroblasts with DOX . . . . Optimal
23     gene activation levels will be achieved by altering time and treatment concentration of the
       drug.” (emphasis added)), 178 (“[I]mportant parameters of this procedure such as
24
       concentration of DOX and duration of treatment have not yet been optimized.” (emphasis
25     added)).) The Federal Circuit has explained: “although inventor testimony cannot change
       the scope of the claims from their meaning at the time of invention, ‘[a]n inventor is a
26
       competent witness to explain the invention and what was intended to be conveyed by the
27     specification and covered by the claims.’” Bradium Techs. LLC v. Iancu, 923 F.3d 1032,
       1044 (Fed. Cir. 2019) (quoting Voice Techs. Grp., Inc. v. VMC Sys., Inc., 164 F.3d 605,
28
       615 (Fed. Cir. 1999)).

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 1     fused with an egg cell that has had its genetic material removed, subsequently forming “a
 2     clone blastocyst”).) Further, even if the Court were to consider the declaration from
 3     Plaintiffs’ expert submitted along with their motion for reconsideration, the declaration is
 4     consistent with that explanation and also describes it as a two-step process.11 (See Doc.
 5     No. 232-3, Plath Decl. ¶ 8 (“The expression was induced prior to fusion with the oocyte to
 6     ensure that Oct-4 was present at the time the nucleus was fused with the oocyte . . . .”
 7     (emphasis added)), ¶ 9 (“[I]t was necessary in that particular experiment to induce Oct-4
 8     for several hours prior to the fusion because the expression of Oct-4 from the transgene is
 9     not immediate.” (emphasis added)).)
10           Plaintiffs further assert: “It was also clear error to include the limitation ‘improve
11     cloning efficiency’ in this construction because the specification is unambiguously directed
12     to improving the efficiency of ES cell generation generally and makes no mention of
13     ‘cloning efficiency.’” (Doc. No. 232-1 at 1; see id. at 11; Doc. No. 250 at 4-6.) In response,
14     Defendants argue: “Plaintiffs asked for inclusion of ‘efficiency’ during claim construction,
15     but, as the Court made clear, ignored what type of ‘efficiency’ the specification disclosed.
16     Having requested ‘efficiency’ as part of [its proposed] construction, Plaintiffs should not
17     now be heard to object that the Court clarified their own proposed added limitation.” (Doc.
18     No. 241 at 12 (citation omitted).) The Court agrees with Defendants.
19           At claim construction, Plaintiffs directed the Court to statements in the specification
20
21
       11
               The Court also notes that Plaintiffs’ counsel’s and Plaintiffs’ expert’s explanation of
22
       the SCNT experiment in the specification is also consistent with the common meaning of
23     the verb “prime.” Both Plaintiffs’ counsel and Plaintiffs’ expert describe the SCNT
       experiment as a process where the cell was primed (i.e., prepared/conditioned) by inducing
24
       Oct4 expression “prior to” the “subsequent step” of nuclear transfer/fusion (i.e., nuclear
25     transfer reprogramming). (Doc. No. 218 at 30; Doc. No. 232-3, Plath Decl. ¶¶ 8, 9.) And
       that is consistent with how the examiner and the inventors described the SCNT experiment.
26
       (See Doc. No. 113-3, Ex. B-23 at 3 (“The specification provides specific guidance to
27     nuclear transfer experiments, wherein said fibroblasts were first treated with DOX to
       induce Oct4 expression and then use[d] in nuclear transfer.” (emphasis added)); Doc. No.
28
       113-5, Ex. B-31 at 3; Doc. No. 151-10, Ex. 9 at pp. 160-61, 168-69, 173, 178.)

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 1     and the prosecution history discussing “efficiency,” and Plaintiffs asserted that the claim
 2     term “makes the cell more susceptible to reprogramming” should be interpreted based on
 3     those passages. (See Doc. No. 151 at 10-11; Doc. No. 179 at 1-2.) As explained in the
 4     claim construction order, Plaintiffs failed to read those statements in their proper context.
 5     (See Doc. No. 208 at 22-26.) And Plaintiffs continue to fail to read those statements in
 6     their proper context.
 7           Contrary to Plaintiffs’ assertions, those passages do not discuss improving the
 8     efficiency of ES cell generation generally. Rather, every statement in the specification and
 9     the prosecution history regarding efficiency identified by Plaintiffs describes either
10     “blastocyst formation and ES cell derivation” efficiency, “nuclear transfer cloning
11     efficiency,” or “cloning efficiency.” See ’369 Patent col. 19 ll. 29-30, col. 19 ll. 64-66.
12     (See Doc. No. 113-5, Ex. B-31 at 3-4, 8, 12-13; see also Doc. No. 208 at 22-26; Doc. No.
13     151-14, Plath Decl. ¶ 52 (Plaintiffs’ expert testifying: “As shown in Table 1, blastocyst
14     formation and embryonic (ES) cell derivation are more efficient from Oct4 induced
15     fibroblasts than from uninduced fibroblast . . . .”).) In addition, the prosecution history
16     contains a declaration under 37 C.F.R. § 1.131 from the inventors of the asserted patents,
17     Drs. Jaenisch and Hochedlinger. (Doc. No. 151-10, Ex. 9.) Applicant submitted this §
18     1.131 declaration to the PTO in an effort to support enablement of the method claims at
19     issue in the examiner’s April 11, 2014 office action.12 (See Doc. No. 113-4, Ex. B-29 at
20     5-7.) In the declaration, the inventors describe the SCNT experiment referenced in the
21     specification as being related to “improving the efficiency of somatic cloning” and “to
22     assess reprogramming by cloning efficiency.” (Doc. No. 151-10, Ex. 9 at p. 160; see also
23     id. at pp. 165 (“improve cloning efficiency”), 168 (“improve cloning efficiency”), 169
24
25     12
              Plaintiffs note that the declaration was provided in response to an enablement
26     rejection, not a prior art rejection. (Doc. No. 250 at 4.) Regardless of whether it was in
       response to an enablement rejection or a prior art rejection, the declaration at issue was
27
       submitted to the PTO in an effort to demonstrate the patentability of the claims at issue.
28     (See Doc. No. 113-4, Ex. B-29 at 5-7.)

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 1     (“increase nuclear cloning efficiency”), 171 (“Development of clones is inefficient”), 171
 2     (“the efficiency of somatic cloning might be substantially improved”), 171 (“improve the
 3     efficiency of nuclear cloning”), 175 (“[c]loning efficiency will be tested”), 178 (“improve
 4     nuclear cloning efficiency”), 178 (“improve cloning efficiency”), 178 (“increase overall
 5     cloning efficiency”).) See Phillips, 415 F.3d at 1317 (“[T]he prosecution history provides
 6     evidence of how the PTO and the inventor understood the patent.”); see, e.g., Bradium, 923
 7     F.3d at 1044 (affirming claim construction that was “consistent with the testimony of the
 8     inventor”).
 9           At the claim construction hearing, Plaintiffs conceded that the words “blastocyst”
10     and “cloning” “are unique to SCNT.”13 (Doc. No. 218 at 18 (“[T]he problem that we have
11     with the Court’s tentative constructions is that they read into the claim -- some of them
12     seem to recognize this concept of improved efficiency, but they read into the claims words
13     . . . that are unique to SCNT, things like blastocyst or cloning . . . .”); see also id. at 17
14     (explaining that “blastocyst formation” is “specific to the particular technique . . . SCNT”).)
15     And, as the Court explained to Plaintiffs in the claim construction order, context matters.
16     See Phillips, 415 F.3d at 1313; CardSoft, 807 F.3d at 1350; Biogen, 713 F.3d at 1096. That
17     the efficiency at issue was consistently described in the intrinsic record within the specific
18     context of SCNT is important because both the specification of the asserted patents and
19     Plaintiffs’ own presentation at the February 27, 2023 hearing make clear that SCNT is very
20
21
22
       13
              Consistent with Plaintiffs’ representation at the hearing that “cloning” is unique to
23
       SCNT, the examiner used the phrases “nuclear transfer cloning efficiency” and “cloning
24     efficiency” interchangeably. (Compare Doc. No. 113-5, Ex. B-31 at 8 (“cloning efficiency
       is increased”) with id. at 8 (“enhances nuclear transfer cloning efficiency”).) In addition,
25
       the inventors of the asserted patents used the phrases “nuclear cloning efficiency” and
26     “cloning efficiency” interchangeably. (Compare Doc. No. 151-10, Ex. 9 at p. 168
       (“improve cloning efficiency”); with id. at p. 169 (“increase nuclear cloning efficiency”);
27
       compare id. at p. 178 (“improve nuclear cloning efficiency”) with id. at p. 178 (“improve
28     cloning efficiency”).)

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 1     different than direct reprogramming.14 See ’369 Patent col. 1 ll. 46-55, col. 2 ll. 4-13, col.
 2     3 ll. 60-67, col. 4 ll. 30-32. (See Doc. No. 218 at 3-6 (explaining the differences between
 3     SCNT and direct reprogramming and asserting that “[d]irect reprogramming is a different
 4     technique”).)15
 5           Plaintiffs argue that the Court erred in including “cloning efficiency” in its claim
 6     construction because it is improper to read limitations from a preferred embodiment
 7     described in the specification—even if it is the only embodiment—into the claims absent
 8     a clear indication in the intrinsic record that the patentee intended the claims to be so
 9     limited. (Doc. No. 232-1 at 11; Doc. No. 250 at 5.) The Federal Circuit has held in many
10     cases that “‘it is improper to read limitations from a preferred embodiment described in the
11     specification—even if it is the only embodiment—into the claims absent a clear indication
12
13     14
            The Court notes that Plaintiffs have not identified any passage in the intrinsic record
14     where “efficiency” is discussed in the context of direct reprogramming.
15     15
              For example, Plaintiffs described SCNT as “an old technique for reprogramming”
16     that is an “incredibly difficult challenging technical technique that can only be done by a
       handful of labs in the world.” (Doc. No. 218 at 3.) Plaintiffs then described the technique
17     of SCNT as taking “a somatic cell” and either: (1) taking the nucleus out of that somatic
18     cell and “put[ting] it into an egg cell” that has had its “genetic material removed;” or (2)
       taking “the entire somatic cell” and “fus[ing] it together with an egg cell” that has had its
19     genetic material removed. (Id.) Either method then “creates, in effect, a fertilized egg
20     cell.” (Id. at 4.) See also ’369 Patent col. 1 ll. 46-55, col. 2 ll. 4-11(describing the technique
       of SCNT and referring to it as a method that “depend[s] on controversial sources” such as
21     “embryos (either created naturally or via cloning)”).
22            Plaintiffs contrasted that technique with “[d]irect reprogramming” which according
       to Plaintiffs has “much more commercial appeal and universal applicability.” (Doc. No.
23
       218 at 4.) Plaintiffs described the technique of direct reprogramming as including the
24     following steps: taking somatic cells and inserting DNA that encodes certain proteins
       “collectively called the Yamanaka factors;” then allowing the cells “to express the[]
25
       transcription factors in [a] first step;” then transferring the cells into “a priming medium;”
26     and then “transfer[ring] them to the reprogramming step where the mediums change.” (Id.
       at 5.) See also ’369 Patent col. 3 ll. 60-67 (describing “directly” reprogramming as
27
       reprogramming that does not use “oocytes and nuclear transfer technology” and does not
28     use “controversial sources”).

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 1     in the intrinsic record that the patentee intended the claims to be so limited.’” Dealertrack,
 2     674 F.3d at 1327; accord Openwave, 808 F.3d at 514. But the Court again notes that it was
 3     Plaintiffs that asserted that the claim term “makes the cell more susceptible to
 4     reprogramming” should be interpreted based on passages in the specification and the
 5     prosecution history discussing “efficiency.” (See Doc. No. 151 at 10-11; Doc. No. 179 at
 6     1-2.) The claims at issue do not contain the phrase “improve the efficiency.” See ’865
 7     Patent col. 20 ll. 38-44; ’917 Patent col. 21 ll. 16-17. As such, by proposing their
 8     construction for this claim term, Plaintiffs sought to read in an “improve the efficiency”
 9     limitation from the specification and prosecution history into the claims, meaning that
10     Plaintiffs recognized that this was an appropriate situation to read in material from the
11     specification and prosecution history into the claims. However, Plaintiffs did not receive
12     the precise “efficiency” limitation that they wanted when the Court construed the claim
13     term because the intrinsic record did not provide support for such a broad limitation.
14     Rather, the intrinsic record only supported the inclusion of an “efficiency” limitation
15     related to “blastocyst formation and ES cell derivation” efficiency, “nuclear transfer
16     cloning efficiency,” and “cloning efficiency,” which are all specific to SCNT. 16 As such,
17     narrowing Plaintiffs’ proposed construction to only encompass “cloning efficiency” was
18     necessary to tether the claims to what the intrinsic record indicates the inventors actually
19     invented.17 See Medicines Co. v. Mylan, Inc., 853 F.3d 1296, 1309 (Fed. Cir. 2017)
20
21     16
             That the Court lists these out as three efficiencies should not be taken to imply that
22     they are indeed three different types of efficiencies. Indeed, as noted elsewhere, both the
       examiner and the inventors used the phrases “nuclear [transfer] cloning efficiency” and
23
       “cloning efficiency” interchangeably. (See, e.g., Doc. No. 113-5, Ex. B-31 at 8; Doc. No.
24     151-10, Ex. 9 at p. 168-69, 178.)
25     17
             In their motion for reconsideration, Plaintiffs take issue with the fact that the specific
       phrase “cloning efficiency” is not expressly contained in the specification. (See Doc. No.
26
       232-1 at 11; Doc. No. 250 at 4-5.) As explained above and in the February 28, 2023 claim
27     construction order, the phrase “cloning efficiency” is contained throughout the relevant
       prosecution history. Further, in the Court’s tentative claim construction order, the Court
28
       also proposed construing the claim term “as improves higher blastocyst formation and

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 1     (“[C]onstruing ‘efficiently mixing’ to incorporate the efficient mixing conditions of
 2     Example 5 is necessary to ‘tether the claims to what the specification[] indicate[s] the
 3     inventor actually invented.’” (quoting Retractable Techs., Inc. v. Becton, Dickinson & Co.,
 4     653 F.3d 1296, 1305 (Fed. Cir. 2011))). As such, Plaintiffs have failed to demonstrate any
 5     error in the Court’s inclusion of the phrase “improve cloning efficiency” in its construction
 6     for the term “makes the cell more susceptible to reprogramming.”
 7            In sum, Plaintiffs’ motion for reconsideration is improper and fails to present any
 8     basis for the Court to alter its construction of the claim term “makes the cell more
 9     susceptible to reprogramming.”        Plaintiffs’ disagreement with the Court’s claim
10     construction is not a basis for a motion for reconsideration. See Williams, 542 F. Supp. 3d
11     at 1071; Westlands Water Dist., 134 F. Supp. 2d at 1131; Raiser, 2021 WL 4751199, at *1;
12     Kilbourne, 2015 WL 10943610, at *2; Regents of Univ. of Cal., 2018 WL 5617866, at *2.
13     As such, the Court denies Plaintiffs’ motions for reconsideration of the Court’s February
14     28, 2023 claim construction order.
15     III.   Plaintiffs’ Motion for Reconsideration of the Court’s February 28, 2023
16            Discovery Order
17            Plaintiffs move for reconsideration of the Court’s February 28, 2023 order denying
18     their motion to compel without prejudice. (Doc. No. 228-1 at 4-5, 18.) Specifically,
19     Plaintiffs request that the Court reconsider its denial of Plaintiffs’ requests for certain
20     damages-related discovery. (Id. at 4, 11-18.) In response, Defendants argue that Plaintiffs’
21     motion should be denied because the Court correctly denied Plaintiffs’ overbroad discovery
22     requests in an attempt to support a baseless damages model. (Doc. No. 242 at 1, 2-5.)
23
24     embryonic stem cell derivation efficiency.” (Doc. No. 192 at 25 n.13.) This alternative
       proposed construction was derived directly from the specification’s discussion of
25
       “blastocyst formation and ES cell derivation” efficiency. ’369 Patent col. 19 ll. 29-30, col.
26     19 ll. 64-66. But at the February 27, 2023 claim construction hearing, Plaintiffs did not
       express a preference for that proposed construction over the one the Court adopted and
27
       included in its construction for the claim term “makes the cell more susceptible to
28     reprogramming.”

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 1           Federal Rule of Civil Procedure 26(b)(1) provides:
 2           Unless otherwise limited by court order, the scope of discovery is as follows:
             Parties may obtain discovery regarding any nonprivileged matter that is
 3
             relevant to any party’s claim or defense and proportional to the needs of the
 4           case, considering the importance of the issues at stake in the action, the
             amount in controversy, the parties’ relative access to relevant information, the
 5
             parties’ resources, the importance of the discovery in resolving the issues, and
 6           whether the burden or expense of the proposed discovery outweighs its likely
             benefit. Information within this scope of discovery need not be admissible in
 7
             evidence to be discoverable.
 8
       Fed. R. Civ. P. 26(b)(1). “‘The 2015 amendments to Rule 26(b)(1) emphasize the need to
 9
       impose reasonable limits on discovery through increased reliance on the common-sense
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       concept of proportionality.’” Thai v. Cnty. of Los Angeles, No. 15CV583-WQH (NLS),
11
       2022 WL 2873214, at *1 (S.D. Cal. July 21, 2022) (quoting Roberts v. Clark Cty. Sch.
12
       Dist., 312 F.R.D. 594, 603 (D. Nev. 2016)). “The fundamental principle of amended Rule
13
       26(b)(1) is ‘that lawyers must size and shape their discovery requests to the requisites of a
14
       case.’ Both discovery and Rule 26 are intended to provide parties with ‘efficient access to
15
       what is needed to prove a claim or defense, but eliminate unnecessary or wasteful
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       discovery.’” Id. (quoting Roberts, 312 F.R.D. at 603); accord Lin v. Suavei, Inc., No. 3:20-
17
       CV-862-L-AHG, 2021 WL 6077621, at *1 (S.D. Cal. Dec. 23, 2021). “District courts have
18
       broad discretion in determining relevancy for discovery purposes.” Surfvivor Media, Inc.
19
       v. Survivor Prods., 406 F.3d 625, 635 (9th Cir. 2005); see also Laub v. U.S. Dep’t of
20
       Interior, 342 F.3d 1080, 1093 (9th Cir. 2003) (“A district court is vested with broad
21
       discretion to permit or deny discovery.”).
22
             “‘The party seeking to compel discovery has the burden of establishing that its
23
       request satisfies the relevancy requirements of Rule 26(b)(1).        Thereafter, the party
24
       opposing discovery has the burden of showing that the discovery should be prohibited, and
25
       the burden of clarifying, explaining or supporting its objections.’” Williams v. Cnty. of
26
       San Diego, No. 17CV00815MMAJLB, 2019 WL 2330227, at *3 (S.D. Cal. May 31, 2019)
27
       (quoting Bryant v. Ochoa, No. 07cv200 JM (PCL), 2009 WL 1390794, at *1 (S.D. Cal.
28
       May 14, 2009)); accord Louisiana Pac. Corp. v. Money Mkt. 1 Institutional Inv. Dealer,

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 1     285 F.R.D. 481, 485 (N.D. Cal. 2012).
 2           Plaintiffs argue that the Court erred in holding that its damages-related discovery
 3     requests were too broad. (Doc. No. 228-1 at 4.) Plaintiffs argue that the Court’s holding
 4     was “clearly erroneous and/or manifestly unjust because it was not informed by Plaintiffs’
 5     damages contentions or any explanation by Plaintiffs as to how the requested information
 6     is relevant to the issues in the case.” (Id. at 4, 11-12; see Doc. No. 252 at 1.) But in making
 7     this argument, Plaintiffs fail to consider that at the time the Court ruled on Plaintiffs’
 8     motion to compel, the Court had Plaintiffs’ current infringement contentions (the January
 9     4, 2023 infringement contentions), Plaintiffs’ presentation and arguments at the February
10     27, 2023 hearing, and the Court’s February 28, 2023 claim construction order. In light of
11     these filings, Plaintiffs’ damages-related discovery request was too broad, and Plaintiffs
12     failed to make a sufficient showing of relevance.
13           The importance of the Court’s claim construction order on the discovery issues in
14     this case was explained in the Court’s February 28, 2023 discovery order. (Doc. No. 209.)
15     The Court explained:
16           Once a district court has construed the relevant claim terms, and unless altered
             by that district court, those claim constructions are law of the case for purposes
17
             of trial. See Exergen Corp. v. Wal-Mart Stores, Inc., 575 F.3d 1312, 1321
18           (Fed. Cir. 2009); Andersen Corp. v. Fiber Composites, LLC, 474 F.3d 1361,
             1371 n.2 (Fed. Cir. 2007). No party may contradict the court’s claim
19
             constructions. Exergen, 575 F.3d at 1321. As such, Plaintiffs’ discovery
20           requests in this case must be commensurate in scope with the scope of the
             asserted claims as construed by the Court. See, e.g., CellCast Techs., LLC v.
21
             United States, 152 Fed. Cl. 414, 432 (2021) (“A claim construction order
22           heavily impacts, if not determines, the scope of the parties’ discovery.”); In re
             Papst Licensing GmbH & Co. KG Litig., 273 F.R.D. 339, 345 (D.D.C. 2011)
23
             (“‘Limitations on the scope of discovery may be appropriate where the court
24           already has construed the patent claims. Regardless of the timing of the claim
             construction, however, the parties should be prohibited from offering
25
             alternative constructions throughout the litigation and thereby expanding the
26           scope of discovery.’”); Intervet, Inc. v. Merial Ltd., 252 F.R.D. 47, 50 (D.D.C.
             2008).
27
       (Id. at 2.) Plaintiffs’ motion for reconsideration does not challenge this portion of the
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 1     Court’s February 28, 2023 order. (See generally Doc. No. 228-1; Doc. No. 252.)
 2            The Court’s claim construction order impacted the scope of the damages-related
 3     discovery that Plaintiffs were requesting. Plaintiffs explain that the requested damages-
 4     related discovery is based on Plaintiffs’ damages contention that it is entitled to a
 5     reasonable royalty in the form of a lump-sum payment “‘reflecting the value to Shoreline
 6     of using iPSCs at the time of first (or each) infringement.’” (Doc. No. 228-1 at 6 (quoting
 7     Doc. No. 238, Ex. 2 at p. 12)); see also Doc. No. 238, Ex. 3 at pp. 28-29, Doc. No. 163.)
 8     Plaintiffs further contend: “In other words, because Shoreline can only exist based on its
 9     infringement of the Asserted Patents, a reasonable royalty to compensate Fate Therapeutics
10     would be equal to some or all the financing Shoreline has or will receive as a result of
11     Defendants’ unauthorized exploitation of the Asserted Patents.” (Doc. No. 238, Ex. 2 at
12     10.)
13            “Upon a finding of infringement, [a] patentee is entitled to ‘damages adequate to
14     compensate for the infringement, but in no event less than a reasonable royalty for the use
15     made of the invention by the infringer.’” AstraZeneca AB v. Apotex Corp., 782 F.3d 1324,
16     1329–30 (Fed. Cir. 2015) (quoting 35 U.S.C. § 284). “The most common method for
17     determining a reasonable royalty is the hypothetical negotiation approach, which ‘attempts
18     to ascertain the royalty upon which the parties would have agreed had they successfully
19     negotiated an agreement just before infringement began.’” VirnetX, Inc. v. Cisco Sys.,
20     Inc., 767 F.3d 1308, 1326 (Fed. Cir. 2014) (quoting Lucent Techs., Inc. v. Gateway, Inc.,
21     580 F.3d 1301, 1324 (Fed. Cir. 2009)); see Apple Inc. v. Wi-LAN Inc., 25 F.4th 960, 971
22     (Fed. Cir. 2022).
23            A reasonable royalty may be either a lump-sum payment or a running royalty
24     payment. See VirnetX, Inc. v. Cisco Sys., Inc., 767 F.3d 1308, 1326 (Fed. Cir. 2014);
25     Pelican Int’l, Inc. v. Hobie Cat Co., No. 320CV02390RSHMSB, 2023 WL 2130379, at
26     *21 (S.D. Cal. Feb. 10, 2023); DataQuill Ltd. v. High Tech Computer Corp., 887 F. Supp.
27     2d 999, 1020 (S.D. Cal. 2011). “A lump-sum license is an up-front payment in full for the
28     invention that involves uncertainty about ‘whether the technology is commercially

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 1     successful or even used.’” DataQuill, 887 F. Supp. 2d at 1020 (quoting Lucent, 580 F.3d
 2     at 1326).
 3           “A reasonable royalty analysis requires that ‘the trial court . . . carefully tie proof of
 4     damages to the claimed invention’s footprint in the market place.’” Exmark Mfg. Co. Inc.
 5     v. Briggs & Stratton Power Prod. Grp., LLC, 879 F.3d 1332, 1350 (Fed. Cir. 2018) (quoting
 6     ResQNet.com, Inc. v. Lansa, Inc., 594 F.3d 860, 869 (Fed. Cir. 2010)); accord VirnetX,
 7     767 F.3d at 1327; LaserDynamics, Inc. v. Quanta Computer, Inc., 694 F.3d 51, 67 (Fed.
 8     Cir. 2012); see also AstraZeneca, 782 F.3d at 1344 (“[T]he royalty due for patent
 9     infringement should be the value of what was taken—the value of the use of the patented
10     technology.”). “[D]amages must be based on the scope of infringement.” Apple Inc. v.
11     Motorola, Inc., 757 F.3d 1286, 1321 (Fed. Cir. 2014); see Enplas Display Device Corp. v.
12     Seoul Semiconductor Co., Ltd., 909 F.3d 398, 411 (Fed. Cir. 2018) (“A reasonable royalty
13     ‘cannot include activities that do not constitute patent infringement, as patent damages are
14     limited to those “adequate to compensate for the infringement.”’” (quoting AstraZeneca,
15     782 F.3d 1343)); see also LaserDynamics, 694 F.3d at 67 (“A damages theory must be
16     based on ‘sound economic and factual predicates.’”).
17           As such, any damages-related discovery in this case must be commensurate with the
18     scope of the claimed invention as construed by the Court and the scope of the asserted
19     infringement. At the time the Court ruled on the Plaintiffs’ motion to compel, the Court
20     had received and reviewed Plaintiffs’ January 4, 2023 infringement contentions, but those
21     contentions did not incorporate or align with the Court’s claim constructions. (See Doc.
22     No. 197.) Nor could they since the contentions were generated prior to the Court issuing
23     its claim construction order on February 28, 2023.           (See Doc. No. 208.)        Absent
24     infringement contentions that aligned with the Court’s claim constructions or a similar
25     showing, Plaintiffs failed to provide a sufficient basis as to the relevance of the discovery
26
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28

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 1     sought. 18 Cf. Phigenix, Inc. v. Genentech, Inc., 783 F. App’x 1014, 1018 (Fed. Cir. 2019)
 2     (explaining that Patent Local Rules “confin[e] discovery and trial preparation to
 3     information that is pertinent to the theories of the case”); Ameranth, Inc. v. Pizza Hut, Inc.,
 4     No. 12CV1627 JLS NLS, 2013 WL 3894880, at *2 (S.D. Cal. July 26, 2013) (explaining
 5     that infringement contentions “‘shape discovery’” (quoting Apple Inc. v. Samsung Elecs.
 6     Co., No. 12-CV-0630-LHK PSG, 2013 WL 3246094, at *3 (N.D. Cal. June 26, 2013));
 7     Pelican Int’l, Inc. v. Hobie Cat Co., No. 320CV02390RSHMSB, 2023 WL 2127995, at *2
 8     (S.D. Cal. Feb. 10, 2023) (explaining that the disclosures required by the Court’s Patent
 9     Local Rules “‘provide structure to discovery’” (quoting Simpson Strong-Tie Co., Inc. v.
10     Oz-Post Int’l, LLC, 411 F. Supp. 3d 975, 981 (N.D. Cal. 2019))).
11           Moreover, even if Plaintiffs had provided the Court with infringement contentions
12     that aligned with the Court’s claim constructions, Plaintiffs would have still failed to meet
13     their burden to demonstrate that they are entitled to the broad damages-related discovery
14
15     18
              Plaintiffs’ failure to provide the Court with infringement contentions that align with
16     the Court’s claim construction is not insignificant here. Plaintiffs assert that they are
       entitled to damages “‘reflecting the value to Shoreline of using iPSCs.’” (Doc. No. 228-1
17     at 6 (quoting Doc. No. 238, Ex. 2 at 10).) In this action, Plaintiffs allege that Shoreline’s
18     use of iPSCs infringes the asserted method patents under 35 U.S.C. § 271(g). (Doc. No.
       162, Supp. FAC ¶¶ 211-14, 283-86, 356-59, 396-99.) All of the asserted method patents
19     contain the claim term “[makes / making / make] the [somatic] cell more susceptible to
20     reprogramming.” ’856 Patent col. 20 ll. 38-39; ’536 Patent col. 20 ll. 37-38; ’744 Patent
       col. 21 ll. 14-15; ’917 Patent col. 21 ll. 16-17, col. 22 ll. 6-7. The Court has construed the
21     claim term “[makes / making / make] the [somatic] cell more susceptible to
22     reprogramming” as “[primes / priming / prime] the [somatic] cell to improve the cloning
       efficiency of the subsequent reprogramming.” (Doc. No. 208 at 33.)
23
              Plaintiffs have failed to adequately explain to the Court how Shoreline’s alleged use
24     of iPSCs is within the scope of the asserted method claims as construed by the Court.
       Plaintiffs have explained to the Court that iPSCs are made via direct reprogramming. (See
25
       Doc. No. 162, Supp. FAC ¶¶ 31-32; Doc. No. 218 at 4-6.) Plaintiffs have also explained
26     to the Court that the “cloning” is “unique to SCNT.” (Doc. No. 218 at 18.) Plaintiffs have
       also explained to the Court that SCNT is “different” than direct reprogramming. (Id. at 4.)
27
       Further, the Court notes that Plaintiffs’ January 4, 2023 infringement contentions made no
28     reference to any alleged use by Defendants of SCNT. (See generally Doc. No. 197.)

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 1     that they were seeking in the February 16, 2023 joint filing. To support the relevance of
 2     its discovery requests, Plaintiffs cite to the Federal Circuit’s decision in Interactive Pictures
 3     Corp. v. Infinite Pictures, Inc., 274 F.3d 1371 (Fed. Cir. 2001), and Roche Prods. v. Bolar
 4     Pharm. Co., 733 F.2d 858, 866 (Fed. Cir. 1984). (Doc. No. 228-1 at 15-16.) In Interactive
 5     Pictures, the Federal Circuit recognized that a reasonable royalty award of damages may
 6     be “premised on a lump sum royalty payment based on an infringer’s expected sales.” 274
 7     F.3d at 1384. The Federal Circuit, thus, held that a business plan and projections for future
 8     sales from two months before infringement began was relevant to the hypothetical
 9     negotiation in the case. See id. at 1385; see also Enplas, 909 F.3d at 412 (“a jury may
10     award a lump-sum, paid-in-full royalty . . . [b]ut that lump-sum must be based on an
11     estimate of the extent of future sales of accused products” (citing Lucent, 580 F.3d at
12     1325)); Summit 6, 802 F.3d at 1296 (explaining that a method for estimating a reasonable
13     royalty could utilize “focusing on the infringer’s projections of profit for the infringing
14     product” (citing Lucent, 580 F.3d at 1324)); Lucent, 580 F.3d at 1327 (“Parties agreeing
15     to a lump-sum royalty agreement may, during the license negotiation, consider the
16     expected or estimated usage (or, for devices, production) of a given invention, assuming
17     proof is presented to support the expectation, because the more frequently most inventions
18     are used, the more valuable they generally are and therefore the larger the lump-sum
19     payment. Conversely, a minimally used feature, with all else being equal, will usually
20     command a lower lump-sum payment.”).
21           But, in the February 16, 2023 joint filing, Plaintiffs were not merely seeking
22     discovery limited to business plans and projections of future sales/profits/usage of the
23     allegedly infringing products. (See Doc. No. 163.) Rather, in the filing, Plaintiffs broadly
24     requested “documents concerning [Shoreline’s] valuation [and] investors.”19 (Id.) Further,
25
26     19
             Plaintiffs’ reply brief contends that in the discovery requests at issue, they were
27     merely seeking “Shoreline’s own documents and communications provided to its investors
       that concern Shoreline’s projected profits, projected market share, business and
28
       development plans, consumer demand, and other financial-related analyses in order to

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 1     in the February 16, 2023 joint filing, Plaintiffs specifically requested that the Court compel
 2     Shoreline to produce documents responsive to Plaintiffs’ RFP Nos. 14 and 53, (id.), and
 3     Plaintiffs provided those RFPs to the Court. (Doc. No. 193-1, Ex. 1.) RFP No. 14 broadly
 4     requests: “All documents relating to or constituting communications with actual or
 5     prospective investors regarding SHORELINE.” (Id. at 14.) RFP No. 53 requests: “All
 6     documents concerning any potential or actual investment, collaboration, or partnership
 7     with SHORELINE since January 1, 2020.” (Id. at 19.) Those requests broadly seek all
 8     documents related to or concerning any investments in Shoreline and any partnership with
 9     Shoreline. The Federal Circuit’s decisions in Interactive Pictures, Roche, Enplas, Summit
10     6, and Lucent do not provide support for such broad requests.20 As such, the Court properly
11     denied Plaintiffs’ motion to compel as overbroad.
12           To support its discovery requests, Plaintiffs also cite to the decisions in Grain
13     Processing Corp. v. Am. Maize-Prod. Co., 185 F.3d 1341 (Fed. Cir. 1999), and BIC Leisure
14     Prod., Inc. v. Windsurfing Int’l, Inc., 687 F. Supp. 134 (S.D.N.Y. 1988). (See Doc. No.
15     228-1 at 16.) But Grain Processing and BIC are both decisions analyzing a lost profits
16     theory of damages. See Grain Processing, 185 F.3d at 1349-53; BIC, 687 F. Supp. at 136-
17     38. Here, Plaintiffs’ discovery requests are based on a reasonable royalty theory of
18     damages. (See Doc. No. 228-1 at 5-7.) A reasonable royalty theory of damages is not the
19     same as a lost profits theory of damages. The Federal Circuit’s decision in Grain
20     Processing recognizes this. In Grain Processing, the Federal Circuit explained that § 284
21
22
       procure investments.” (Doc. No. 252 at 2; see id. at 1.) The Court notes that nothing in
23     the February 16, 2023 joint filing says “projected profits,” “projected market share,”
24     “business and development plans,” “consumer demand,” or “other financial-related
       analyses.” (See Doc. No. 163.) Instead, the joint filing specifically says “valuation” and
25     “investors.” (Id.) If Plaintiffs wanted, for example, documents regarding Shoreline’s
26     “projected profits,” then they should have said so in the February 16, 2023 joint filing.
       20
             The Federal Circuit’s decision in Roche simply recognizes that in some
27
       circumstances, monetary damages for a relatively brief period of infringement can still be
28     “substantial.” 733 F.2d at 866.

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 1     “sets the floor for ‘damages adequate to compensate for the infringement’ as ‘a reasonable
 2     royalty.’” 185 F.3d at 1352. But in order to be entitled to lost profits damages, a patentee
 3     must demonstrate “‘but for’ causation.” Id. at 1353; see Presidio Components, Inc. v. Am.
 4     Tech. Ceramics Corp., 875 F.3d 1369, 1380 (Fed. Cir. 2017) (“To recover lost profits, the
 5     patentee bears the burden of proof to show a ‘reasonable probability that, ‘but for’
 6     infringement, it would have made the sales that were made by the infringer.’”). Plaintiffs
 7     do not represent that they are seeking lost profits in this case or that they are prepared to
 8     demonstrate “but for” causation. As such, Plaintiffs’ reliance on Grain Processing and BIC
 9     is misplaced. 21 See AstraZeneca AB, 782 F.3d at 1334 & n.3 (explaining that an argument
10     that “would have been relevant in [a] lost profits case” was not relevant to the “reasonable
11     royalty theory of damages” in the case).
12           Finally, in an effort to support their discovery requests, Plaintiffs provide the Court
13     with their damages contentions, and the Court has reviewed them. In those contentions,
14     Plaintiffs assert that in this case they would be entitled to a reasonable royalty “equal to
15     some or all the financing Shoreline has or will receive as a result of Defendants’
16     unauthorized exploitation of the Asserted Patents. Such damages would be based on how
17     much outside investment Defendants received or will receive . . . .” (Doc. No. 238, Ex. 2
18     at p. 12; see also Doc. No. 238, Ex. 3 at p. 29 (“[A] potential reasonable royalty to
19     compensate Plaintiffs would be equal to an amount based on the financing Shoreline has
20     or will receive as a result of Defendants’ unauthorized exploitation of the Asserted
21     Patents.”), p. 31 (asserting that “incremental benefits” “may be in the form of increased
22     valuations [and] funding”).)     Plaintiffs contend: “Further discovery is necessary to
23     understand how much outside investment Defendants received or will receive and what
24     portion of that investment Fate Therapeutics is entitled to based on Defendants’
25
26     21
              Indeed, in their motion for reconsideration, Plaintiffs recognize that cases involving
       lost profits theories of damages are distinguishable from reasonable royalty cases. (See
27
       Doc. No. 228-1 at 16 (“DSU is readily distinguishable because that case concerned a lost
28     profits theory of damages, not a reasonable royalty.”).)

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 1     infringement.” (Doc. No. 238, Ex. 2 at p. 11; see also Doc. No. 238, Ex. 3 at p. 29.) In
 2     their damages contentions and their motion for reconsideration, Plaintiffs provide no legal
 3     authority demonstrating that this is a cognizable theory of damages in a patent case.
 4     Plaintiffs do not cite to a single case holding that a patentee can be entitled to a portion of
 5     an accused infringer’s financing/outside investments under a reasonable royalty theory of
 6     damages. And Plaintiffs do not cite to a single case holding that an accused infringer’s
 7     financing/investments or valuations can be relevant to a reasonable royalty analysis in any
 8     way. As the party seeking the discovery, Plaintiffs bear the burden of demonstrating the
 9     relevance of the discovery sought. Williams, 2019 WL 2330227, at *3. Plaintiffs have
10     failed to meet that burden. 22
11           In sum, Plaintiffs have failed to identify any error in the Court’s February 28, 2023
12     order denying their motion to compel without prejudice. 23 As such, the Court denies
13     Plaintiffs’ motion for reconsideration of the Court’s February 28, 2023 order denying their
14     motion to compel without prejudice.
15           Further, the Court notes that the motion to compel was denied without prejudice,
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17
18
       22
              Plaintiffs assert that they “should not be required to prove their damages theory
       before they can receive documents” identified as relevant in their damages contentions.
19     (Doc. No. 228-1 at 15.) The Court agrees that Plaintiffs should not be required to prove
20     their damages theory at the discovery stage of the case. However, requiring that Plaintiffs
       provide some legal authority demonstrating that their theory of damages is cognizable and
21     demonstrating the relevance of the discovery sought is not making Plaintiffs “prove their
22     damages theory.” If Plaintiffs want the requested damages-related discovery, then they
       need to provide the Court with some legal authority demonstrating its relevance.
23     23
              Plaintiffs also assert that the Court erred in the February 28, 2023 discovery order
24     by relying on case law related to the admissibility of evidence. (Doc. No. 228-1 at 4, 12-
       16.) Federal Rule of Civil Procedure 26(b)(1) provides: “Information within this scope of
25
       discovery need not be admissible in evidence to be discoverable.” Fed. R. Civ. P. 26(b)(1).
26     Nevertheless, Rule 26(b)(1) also expressly provides that in determining the appropriate
       “scope of discovery,” a court may consider “the importance of the discovery in resolving
27
       the issues.” Id. If discovery is ultimately going to be inadmissible, then that has an effect
28     on its “importance” in the case. Thus, it is still a factor in evaluating proportionality.

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 1     meaning that Plaintiffs were free to re-raise the issue with the Court if they narrowed their
 2     request or if subsequent developments gave them a basis to renew their motion to compel
 3     with the Court.24 But the Court also notes that if a party in this case seeks to renew a
 4     motion to compel in light of subsequent developments or a narrowed request, then both
 5     parties need to follow the procedures for raising discovery issues to this Court set forth in
 6     Paragraph 1 of the Court’s January 10, 2023 amended scheduling order. (See Doc. No.
 7     115 at 3.)
 8     IV.   Plaintiffs’ Motion for Reconsideration of the Court’s February 28, 2023 Order
 9           Denying Plaintiffs’ Motion to Strike
10           Plaintiffs move for reconsideration of the Court’s February 28, 2023 order denying
11     Plaintiffs’ motion to strike as moot. (Doc. No. 231-1 at 1, 4.) In response, Defendants
12     argue that Plaintiffs’ motion should be denied because Plaintiffs fail to set forth any basis
13     for reconsideration of the order. (Doc. No. 242 at 1-2.)
14           During the claim construction phase of this case, Plaintiffs deposed Defendants’
15     technical expert, Dr. Snyder. (See Doc. No. 177-2, Prey Decl. Ex. A.) Following his
16     deposition, Dr. Snyder provided an errata sheet to his deposition. (See Doc. No. 177-4,
17     Prey Decl. Ex. C.) On February 17, 2023, Plaintiffs filed a motion to strike certain
18     clarifications identified in the errata to Dr. Snyder’s deposition. (Doc. No. 177.)
19           On February 22, 2023, the Court issued a tentative claim construction order. (Doc.
20     No. 192.) In the tentative claim construction order, the Court acknowledged Plaintiffs’
21     pending motion to strike, and the Court explained to the parties: “The Court’s tentative
22     claim construction order does not cite to or rely on any testimony from Dr. Snyder’s
23     deposition. As such, the analysis in this tentative claim construction order is not implicated
24     by the pending motion to strike.” (Id. at 39 n.18.)
25
26
       24
             Indeed, as shown by the above analysis, for example, the Court would have
27
       considered a properly presented request for Shoreline’s “projected profits.” But that is not
28     what Plaintiffs requested in the February 16, 2023 joint filing. (See Doc. No. 163.)

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 1            On February 24, 2023, Shoreline filed a response in opposition to Plaintiffs’ motion
 2     to strike. (Doc. No. 202.) In the opposition, Shoreline argued:
 3                  There is also no reason to strike Dr. Snyder’s errata because, as the
              Court recognized in its Tentative Claim Construction Order, the errata does
 4
              not impact the Court’s claim construction analysis. Dkt. No. 192 at 39 n.18.
 5            Thus, the concern in Hambleton that errata could be used to impact the
              outcome of a dispute does not justify striking the errata and makes Plaintiffs’
 6
              motion moot.
 7
       (Id. at 8.)
 8
              On February 27, 2023, the Court held a claim construction hearing. (See Doc. No.
 9
       218.) At the February 27, 2023 hearing, the Court asked the parties: “If the Court doesn’t
10
       rely on his deposition testimony [in the claim construction order], isn’t the motion to strike
11
       moot?” (Id. at 29.) At the time, Defendants were arguing, and Defendants asserted that,
12
       in that situation, the motion to strike would be moot. (Id.) Shortly thereafter, the Court
13
       permitted Plaintiffs to respond to Defendants’ arguments, and Plaintiffs did not address or
14
       contest Defendants’ assertion that the motion to strike would be moot if the Court did not
15
       rely on Dr. Snyder’s deposition testimony. (See id. at 29-32.)
16
              Following the claim construction hearing, on February 28, 2023, the Court issued its
17
       claim construction order. (Doc. No. 208.) In the claim construction order, the Court again
18
       acknowledged the pending motion to strike, and the Court explained: “The Court’s claim
19
       construction order does not cite to or rely on any testimony from Dr. Snyder’s deposition.
20
       As such, the analysis in this claim construction order is not implicated by the pending
21
       motion to strike.” (Id. at 40 n.19.) In light of this and Plaintiffs’ acquiescence at the claim
22
       construction hearing on the mootness issue, the Court denied Plaintiffs’ motion to strike as
23
       moot. (Doc. No. 210.)
24
              In their motion for reconsideration, Plaintiffs do not identify any clear error by the
25
       Court in denying the motion to strike as moot. If Plaintiffs thought the motion to strike
26
       was not going to be mooted by the Court’s claim construction order, then they should have
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       said so at the February 27, 2023 hearing in response to the Court’s direct question on that
28
       issue – not via a motion for reconsideration filed four weeks later. As such, the Court

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 1     denies Plaintiffs’ motion for reconsideration of the Court’s February 28, 2023 order
 2     denying Plaintiffs’ motion to strike as moot. 25, 26
 3                                              Conclusion
 4           For the reasons above, the Court denies Plaintiffs’ motions for reconsideration.
 5           IT IS SO ORDERED.
 6     DATED: April 19, 2023
 7
                                                       MARILYN L. HUFF, District Judge
 8                                                     UNITED STATES DISTRICT COURT
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17     25
             In their reply brief, Plaintiffs for the first time request that the Court strike the
18     declaration from Dr. Snyder that was attached to Shoreline’s opposition to Plaintiffs’
       motion to strike. (Doc. No. 251 at 2 n.2.) “Issues raised for the first time in [a] reply brief
19     are waived.” Bazuaye v. I.N.S., 79 F.3d 118, 120 (9th Cir. 1996); United States v. Gianelli,
20     543 F.3d 1178, 1184 (9th Cir. 2008) (“arguments raised for the first time in a reply brief
       are generally considered waived”). As such, Plaintiffs’ request to strike Dr. Snyder’s
21     declaration is waived, and the Court denies it.
22     26
              Plaintiffs attached to one of their motions for reconsideration a declaration from their
       technical expert, Dr. Plath. (Doc. No. 232-3, Plath Decl.; see also Doc. No. 232-1 at 9.)
23
       Defendants argue that Dr. Plath’s declaration should be stricken. (Doc. No. 241 at 3, 10-
24     11.) The Court agrees that it was improper for Plaintiffs to attach this declaration to their
       motion for reconsideration because it is untimely claim construction discovery in violation
25
       of the deadline set forth in the Court’s January 10, 2023 scheduling order. (See Doc. No.
26     115 at 3 (citing S.D. Cal. Pat. L.R. 4.3).) See Fed. R. Civ. P. 26(a)(2)(D) (stating that
       expert disclosures must be made “at the times and in the sequence that the court orders”).
27
       Nevertheless, the Court has denied the relevant motion for reconsideration. As such, the
28     Court denies Defendants’ motion to strike Dr. Plath’s declaration as moot.

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 8                           UNITED STATES DISTRICT COURT
 9                         SOUTHERN DISTRICT OF CALIFORNIA
10
11     FATE THERAPEUTICS, INC.; and                       Case No.: 22-cv-00676-H-MSB
       WHITEHEAD INSTITUTE FOR
12
       BIOMEDICAL RESEARCH,                               ORDER:
13                                      Plaintiffs,
                                                          (1) GRANTING DEFENDANT’S
14     v.                                                 MOTION FOR SUMMARY
15     SHORELINE BIOSCIENCES, INC.,                       JUDGMENT; AND
16                                     Defendant.         [Doc. No. 290.]
17
                                                          (2) DENYING PLAINTIFFS’
18
                                                          MOTION FOR PARTIAL
19                                                        SUMMARY JUDGMENT AS MOOT
20
                                                          [Doc. No. 289.]
21
            On July 14, 2023, Defendant Shoreline Biosciences, Inc. (“Shoreline”) filed a
22
      motion for summary judgment, and Plaintiffs Fate Therapeutics, Inc. (“Fate”) and
23
      Whitehead Institute for Biomedical Research (“Whitehead”) filed a motion for partial
24
      summary judgment. (Doc. Nos. 289, 290.) On July 28, 2023, the parties filed their
25
      respective responses in opposition. (Doc. Nos. 307, 312.) On August 4, 2023, the parties
26
      filed their respective replies. (Doc. Nos. 335, 340.)
27
            The Court held a hearing on the matter on August 28, 2023. Jonathan D. Ball, Rose
28

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 1    C. Prey, Giancarlo L. Scaccia, Danielle M. Zapata, Joseph T. Ergastolo, Jeffrey R. Colin,
 2    Ben Witte, Aimee Housinger, and Wen Xue appeared for Plaintiffs. Eric M. Acker,
 3    Michael A. Jacobs, Drew A. Hillier, and Regan Rundio appeared for Defendant Shoreline.
 4    For the reasons below, the Court grants Shoreline’s motion for summary judgment, and the
 5    Court denies Plaintiffs’ motion for partial summary judgment as moot.
 6                                            Background
 7          In the present action, Plaintiffs assert claims for patent infringement under 35 U.S.C.
 8    §§ 271(a), (b), and (g) against Defendant Shoreline, alleging claims for infringement of
 9    U.S. Patent Nos. 8,071,369 (“the ’369 Patent”), 8,932,856 (“the ’856 Patent”), 8,951,797
10    (“the ’797 Patent”), 8,940,536 (“the ’536 Patent”), 9,169,490 (“the ’490 Patent”),
11    10,457,917 (“the ’917 Patent”), and 10,017,744 (“the ’744 Patent”) (collectively, “the
12    asserted patents”). (Doc. No. 162, Supp. FAC ¶¶ 157-414.) Specifically, Plaintiffs allege
13    that Shoreline makes, uses, sells, offers for sale, and/or imports induced pluripotent stem
14    cells (“iPSCs”) that infringe one or more claims of the asserted patents. 1, 2 (Id. ¶ 140; see,
15    e.g., id. ¶¶ 162 (“Defendants’ use of their ‘iPSC-derived cell therapy manufacturing
16    platform’ infringed at least claim 1 of the ’369 Patent.”), 212 (“iPSCs used by Defendants
17    to make at least the iPSC-derived natural kill (NK) cell platforms are made by a process
18
19    1
             Induced pluripotent stem cells (“iPSCs”) “are pluripotent stem cells generated from
20    somatic cells by reprogramming.” (Doc. 162, Supp. FAC ¶ 31; see Doc. No. 184, Answer
      to Supp. FAC ¶ 31; see also Doc. No. 151-14, Plath Decl. ¶ 59; Doc. No. 152, Snyder Decl.
21
      ¶ 43.) “Four specific genes—cMYC, OCT3/4, SOX2 and KLF4—encoding transcription
22    factors play a role in converting or reprogramming somatic cells into pluripotent stem
      cells.” (Doc. 162, Supp. FAC ¶ 32; see Doc. No. 184, Answer to Supp. FAC ¶ 32; Doc.
23
      No. 199, Answer to Supp. FAC ¶ 32; see also Doc. No. 184, Counterclaims ¶ 43 (“iPSCs
24    are generated in culture from somatic cells through the introduction of reprogramming
      factors that transform a somatic cell into a pluripotent state.”); Doc. No. 152, Snyder Decl.
25
      ¶¶ 41, 43.)
26    2
            The asserted claims in this action are: claims 1-6, 8 and 9 of the ’369 Patent; claims
27    1-7 of the ’856 Patent; claims 1-6 and 8 of the ’797 Patent; claims 1-10 and 12-17 of the
      ’536 Patent; claims 1-6 and 8-10 of the ’490 Patent; claims 1-18 of the ’917 Patent; and
28
      claims 1-3 and 5-9 of the ’744 Patent. (Doc. No. 354-7, Plath Decl. ¶ 1.)

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 1    that comprises at least each step of claim 1 of the ’856 Patent.”).)
 2          Plaintiff Whitehead is the owner via assignment of the patents-in-suit. See U.S.
 3    Patent No. 8,071,369, at [73] (issued Dec. 6, 2011); U.S. Patent No. 8,932,856, at [73]
 4    (issued Jan. 13, 2015); U.S. Patent No. 8,951,797, at [73] (issued Feb. 10, 2015); U.S.
 5    Patent No. 8,940,536, at [73] (issued Jan. 27, 2015); U.S. Patent No. 9,169,490, at [73]
 6    (issued Oct. 27, 2015); U.S. Patent No. 10,017,744, at [73] (issued Jul. 10, 2018); U.S.
 7    Patent No. 10,457,917, at [73] (issued Oct. 29, 2019). Plaintiffs allege that Fate is the
 8    exclusive licensee of the asserted patents. (Doc. No. 162, Supp. FAC ¶¶ 16, 19.)
 9          The ’369 Patent is entitled “Compositions for reprogramming somatic cells” and
10    was issued on December 6, 2011. ’369 Patent at [45], [54]. The ’856 Patent is entitled
11    “Methods for reprogramming somatic cells” and was issued on January 13, 2015. ’856
12    Patent at [45], [54].      The ’797 Patent is entitled “Compositions for identifying
13    reprogramming factors” and was issued on February 10, 2015. ’797 Patent at [45], [54].
14    The ’536 Patent is entitled “Methods for making somatic cells more susceptible to
15    reprogramming” and was issued on January 27, 2015. ’536 Patent at [45], [54]. The ’490
16    Patent is entitled “Methods for reprogramming somatic cells” and was issued on October
17    27, 2015.     ’490 Patent at [45], [54].       The ’744 Patent is entitled “Methods for
18    reprogramming somatic cells” and was issued on Jul. 10, 2018. ’744 Patent at [45], [54].
19    The ’917 Patent is entitled “Methods for reprogramming somatic cells” and was issued on
20    October 29, 2019. ’917 Patent at [45], [54].
21          The asserted patents are all related and all share a common specification.3 (See Doc.
22    No. 149 at 5 & n.2; Doc. No. 151 at 2 & n.2 (the parties agreeing that the asserted patents
23    all share the same specification); see also Doc. No. 162, Supp. FAC ¶ 132.) The shared
24    specification states that the disclosed invention is directed to “methods for reprogramming
25    somatic cells to a less differentiated state.” ’369 Patent col. 2 ll. 24-25; see also id. at [57]
26
27
      3
             The Court will cite to the ’369 Patent’s specification as the “shared specification” of
28
      the asserted patents.

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 1    (“The invention provides methods for reprogramming somatic cells to generate multipotent
 2    or pluripotent cells.”).
 3          The asserted composition patents are the ’369 Patent, the ’797 Patent, and the ’490
 4    Patent. Independent claim 1 of the ’369 Patent claims:
 5          A composition comprising an isolated primary somatic cell that comprises an
            exogenously introduced nucleic acid encoding an Oct4 protein operably
 6
            linked to at least one regulatory sequence.
 7
      ’369 Patent col. 20 ll. 40-43.
 8
            Independent claim 1 of the ’797 Patent claims:
 9
            A composition comprising an isolated primary somatic cell that comprises an
10          exogenously introduced nucleic acid encoding Oct 4, wherein the
            exogenously introduced nucleic acid increases Oct4 expression in the cell.
11
      ’797 Patent col. 20 ll. 40-43.
12
            Independent claim 1 of the ’490 Patent claims:
13
            A somatic cell comprising an exogenous nucleic acid encoding Oct4 and an
14          amount of Oct4 expression comparable to the amount of Oct4 expression in
15          an embryonic stem cell.
16    ’490 Patent col. 20 ll. 39-41.
17          The asserted method patents are the ’856 Patent, the ’536 Patent, the ’744 Patent,
18    and the ’917 Patent. Independent claim 1 of the ’856 Patent claims:
19          A method of making a somatic cell more susceptible to reprogramming to a
            pluripotent state comprising introducing at least one exogenous nucleic acid
20          encoding Oct 4 operably linked to at least one regulatory sequence into the
21          cell, thereby increasing expression of Oct4 protein in the somatic cell, wherein
            increased expression of Oct4 protein makes the cell more susceptible to
22          reprogramming to a pluripotent state.
23    ’856 Patent col. 20 ll. 38-44.
24          Independent claim 1 of the ’536 Patent claims:
25          A method of making a primary somatic cell more susceptible to
26          reprogramming to a less differentiated state, comprising: introducing an
            exogenous nucleic acid encoding an Oct 4 protein operably linked to at least
27          one regulatory sequence into the somatic cell, wherein expression of the
28          exogenously introduced nucleic acid results in making the somatic cell more

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 1          susceptible to reprogramming to a less differentiated state.
 2    ’536 Patent col. 20 ll. 37-44.
 3          Independent claim 1 of the ’744 Patent claims:
 4          A method of making a somatic cell more susceptible to reprogramming to a
            cell having a less differentiated state, comprising:
 5
                   obtaining a somatic cell that comprises an exogenously introduced
 6                 polynucleic acid encoding Oct4 protein, and an exogenously introduced
 7                 polynucleic acid encoding Sox2 or Nanog protein;
 8                 wherein the exogenously introduced polynucleic acids result in making
                   the somatic cell more susceptible to reprogramming to a less
 9                 differentiated state.
10    ’744 Patent col. 21 ll. 14-23.
11          Independent claim 1 of the ’917 Patent claims:
12          A method of making a somatic cell more susceptible to reprogramming to a
13          less differentiated state, comprising: introducing an exogenous nucleic acid
            encoding an Oct 4 protein operably linked to at least one regulatory sequence
14          into the somatic cell, thereby increasing expression of Oct4 protein in the
15          somatic cell, wherein increased expression of Oct4 protein makes the cell
            more susceptible to reprogramming; and wherein the exogenous nucleic acid
16          is transiently transfected into the somatic cell.
17    ’917 Patent col. 21 ll. 16-24.
18          On May 13, 2022, Plaintiffs filed a complaint against Defendants Shoreline and Dan
19    S. Kaufman, alleging claims for infringement of the ’369 Patent, the ’856 Patent, the ’797
20    Patent, the ’536 Patent, the ’490 Patent, and the ’917 Patent. (Doc. No. 1, Compl. ¶¶ 66-
21    236.) On August 12, 2022, the Court issued a scheduling order. (Doc. No. 51.) On January
22    3, 2023, Plaintiffs filed a first amended complaint against Defendants, adding a claim for
23    infringement of the ’744 Patent. (Doc. No. 112, FAC ¶¶ 375-414.) On January 10, 2023,
24    the Court issued an amended scheduling order. (Doc. No. 115.)
25          On February 14, 2023, Plaintiffs filed a supplemental first amended complaint – the
26    operative complaint. (Doc. No. 162, Supp. FAC.) On February 17 and 23, 2023,
27    Defendants filed answers and counterclaims to Plaintiffs’ supplemental first amended
28    complaint. (Doc. Nos. 184, 199.)

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 1          On February 28, 2023, the Court issued a claim construction order construing agreed
 2    up and disputed claim terms from the asserted patents. 4 (Doc. No. 208.) On March 27,
 3    2023, the Court denied Shoreline’s motion for partial summary judgment. (Doc. No. 226.)
 4    On March 30, 2023, the Court denied Defendants’ partial motion to dismiss Plaintiffs’
 5    supplemental first amended complaint. (Doc. No. 234.) On June 9, 2023, the Court
 6    dismissed Defendant Kaufman from the action with prejudice pursuant to Plaintiffs’
 7    motion. (Doc. No. 273.)
 8          By the present motions for summary judgment, Defendant Shorelines moves for
 9    summary judgment of all of Plaintiffs’ claims for patent infringement – Plaintiffs’ claims
10    for direct infringement under 35 U.S.C. § 271(g); Plaintiffs’ claims for induced
11    infringement under § 271(b); and Plaintiffs’ claims for direct infringement under § 271(a).
12    (Doc. No. 354 at 1-2.) In addition, Plaintiffs move for partial summary judgment of: (1)
13    the underlying direct infringement of the ’369 Patent by ThermoFisher in support of their
14    claim for induced infringement under § 271(b); and (2) of certain affirmative defenses and
15    certain counterclaims that the asserted method claims are invalid under 35 U.S.C. §§ 101,
16    102, and 103. (Doc. No. 352-14 at 1-2, 7-15.)
17                                           Discussion
18    I.    Legal Standards
19          A.    Legal Standards Governing Summary Judgment
20          Summary judgment is appropriate under Federal Rule of Civil Procedure 56 if the
21    moving party demonstrates “that there is no genuine dispute as to any material fact and the
22    movant is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a); Celotex Corp. v.
23    Catrett, 477 U.S. 317, 322 (1986). Material facts are facts that, under the governing
24    substantive law, may affect the outcome of the case. Anderson v. Liberty Lobby, Inc., 477
25    U.S. 242, 248 (1986). A dispute as to a material fact is genuine if there is sufficient
26
27
      4
            On April 19, 2023, the Court denied Plaintiffs’ motion for reconsideration of the
28
      Court’s claim construction order. (Doc. No. 255.)

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 1    evidence for a reasonable jury to return a verdict for the non-moving party. Id. “Disputes
 2    over irrelevant or unnecessary facts will not preclude a grant of summary judgment.” T.W.
 3    Elec. Serv., Inc. v. Pac. Elec. Contractors Ass’n, 809 F.2d 626, 630 (9th Cir. 1987).
 4          A party seeking summary judgment always bears the initial burden of demonstrating
 5    that there is no genuine dispute as to any material fact. Celotex, 477 U.S. at 323. A moving
 6    party without the ultimate burden of proof at trial can satisfy its burden in two ways: (1)
 7    by presenting “evidence negating an essential element of the nonmoving party’s claim or
 8    defense;” or (2) by demonstrating “that the nonmoving party does not have enough
 9    evidence of an essential element to carry its ultimate burden of persuasion at trial.” Nissan
10    Fire & Marine Ins. Co. v. Fritz Companies, Inc., 210 F.3d 1099, 1102 (9th Cir. 2000).
11    Once the moving party establishes the absence of a genuine dispute as to any material fact,
12    the burden shifts to the nonmoving party to “set forth, by affidavit or as otherwise provided
13    in Rule 56, ‘specific facts showing that there is a genuine issue for trial.’” T.W. Elec. Serv.,
14    809 F.2d at 630 (quoting former Fed. R. Civ. P. 56(e)); accord Horphag Research Ltd. v.
15    Garcia, 475 F.3d 1029, 1035 (9th Cir. 2007). To carry this burden, the non-moving party
16    “may not rest upon mere allegation or denials of his pleadings.” Anderson, 477 U.S. at
17    256; see also Behrens v. Pelletier, 516 U.S. 299, 309 (1996) (“On summary judgment, . . .
18    the plaintiff can no longer rest on the pleadings.”). Rather, the nonmoving party “must
19    present affirmative evidence . . . from which a jury might return a verdict in his favor.”
20    Anderson, 477 U.S. at 256.
21          When ruling on a summary judgment motion, the court must view the facts and draw
22    all reasonable inferences in the light most favorable to the non-moving party. Scott v.
23    Harris, 550 U.S. 372, 378 (2007). The court should not weigh the evidence or make
24    credibility determinations. See Anderson, 477 U.S. at 255. “The evidence of the non-
25    movant is to be believed.” Id. Further, the court may consider other materials in the record
26    not cited to by the parties, but it is not required to do so. See Fed. R. Civ. P. 56(c)(3); see
27    also Simmons v. Navajo Cnty., 609 F.3d 1011, 1017 (9th Cir. 2010) (“[A] district court
28    has no independent duty ‘to scour the record in search of a genuine issue of triable fact.’”).

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 1          B.     Legal Standards Governing Patent Infringement
 2          A patent infringement analysis proceeds in two steps. Niazi Licensing Corp. v. St.
 3    Jude Med. S.C., Inc., 30 F.4th 1339, 1350 (Fed. Cir. 2022); JVW Enterprises, Inc. v.
 4    Interact Accessories, Inc., 424 F.3d 1324, 1329 (Fed. Cir. 2005). In the first step, the court
 5    construes the asserted claims as a matter of law. See Niazi, 30 F.4th at 1351; JVW, 424
 6    F.3d at 1329. In the second step, the factfinder compares the properly construed claims to
 7    the allegedly infringing device (for an apparatus claim) or the allegedly infringing act (for
 8    a method claim). See id.
 9          “‘The patentee bears the burden of proving infringement by a preponderance of the
10    evidence.’” Creative Compounds, LLC v. Starmark Labs., 651 F.3d 1303, 1314 (Fed. Cir.
11    2011); see Medtronic, Inc. v. Mirowski Fam. Ventures, LLC, 571 U.S. 191, 193 (2014)
12    (“A patentee ordinarily bears the burden of proving infringement.”).              “To prove
13    infringement, the plaintiff bears the burden of proof to show the presence of every element
14    or its equivalent in the accused device [or process].” Uniloc USA, Inc. v. Microsoft Corp.,
15    632 F.3d 1292, 1301 (Fed. Cir. 2011); accord Star Sci., Inc. v. R.J. Reynolds Tobacco Co.,
16    655 F.3d 1364, 1378 (Fed. Cir. 2011).
17          Under the doctrine of equivalents, “a product or process that does not literally
18    infringe . . . the express terms of a patent claim may nonetheless be found to infringe if
19    there is ‘equivalence’ between the elements of the accused product or process and the
20    claimed elements of the patented invention.” Warner–Jenkinson Co. v. Hilton Davis
21    Chem. Co., 520 U.S. 17, 21 (1997); accord Eagle Pharms. Inc. v. Slayback Pharma LLC,
22    958 F.3d 1171, 1175 (Fed. Cir. 2020). The Federal Circuit “applies two articulations of
23    the test for equivalence.” Voda v. Cordis Corp., 536 F.3d 1311, 1326 (Fed. Cir. 2008)
24    (citing Warner–Jenkinson, 520 U.S. at 21); see UCB, Inc. v. Watson Lab’ys Inc., 927 F.3d
25    1272, 1284 (Fed. Cir. 2019). Under the insubstantial differences test, “‘[a]n element in the
26    accused device is equivalent to a claim limitation if the only differences between the two
27    are insubstantial.’”   UCB, 927 F.3d at 1284 (quoting Voda, 536 F.3d at 1326).
28    “Alternatively, under the function-way-result test, an element in the accused device is

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 1    equivalent to a claim limitation if it ‘performs substantially the same function in
 2    substantially the same way to obtain substantially the same result.’” Voda, 536 F.3d at
 3    1326 (quoting Schoell v. Regal Marine Indus., Inc., 247 F.3d 1202, 1209–10 (Fed. Cir.
 4    2001)); see Ajinomoto Co. v. Int’l Trade Comm’n, 932 F.3d 1342, 1356 (Fed. Cir. 2019).
 5    “Regardless how the equivalence test is articulated, ‘the doctrine of equivalents must be
 6    applied to individual limitations of the claim, not to the invention as a whole.’” Mirror
 7    Worlds, LLC v. Apple Inc., 692 F.3d 1351, 1357 (Fed. Cir. 2012) (quoting Warner–
 8    Jenkinson, 520 U.S. at 29).
 9          “‘Infringement, whether literal or under the doctrine of equivalents, is a question of
10    fact.’” Advanced Steel Recovery, LLC v. X-Body Equip., Inc., 808 F.3d 1313, 1317 (Fed.
11    Cir. 2015) (quoting Absolute Software, Inc. v. Stealth Signal, Inc., 659 F.3d 1121, 1129–
12    30 (Fed. Cir. 2011)).     “Summary judgment of noninfringement is proper when no
13    reasonable jury could find that every limitation recited in a properly construed claim is
14    found in the accused device either literally or under the doctrine of equivalents.” Advanced
15    Steel, 808 F.3d at 1317; see EMD Millipore Corp. v. AllPure Techs., Inc., 768 F.3d 1196,
16    1201 (Fed. Cir. 2014).
17    II.   Plaintiffs’ Claims for Direct Infringement Under 35 U.S.C. § 271(g)
18          In the operative complaint, Plaintiffs allege that Shoreline infringes the asserted
19    method patents – the ’856 Patent, the ’536 Patent, the ’744 Patent, and the ’917 Patent –
20    under 35 U.S.C. § 271(g). (Doc. No. 162, Supp. FAC ¶¶ 211-14, 283-86, 356-59, 396-99.)
21    Shoreline moves for summary judgment that it does not infringe the asserted method
22    patents under § 271(g) by using the accused iPSCs. (Doc. No. 351 at 8-23.)
23          Section 271(g) of the Patent Act provides:
24          Whoever without authority imports into the United States or offers to sell,
            sells, or uses within the United States a product which is made by a process
25
            patented in the United States shall be liable as an infringer, if the importation,
26          offer to sell, sale, or use of the product occurs during the term of such process
            patent. In an action for infringement of a process patent, no remedy may be
27
            granted for infringement on account of the noncommercial use or retail sale
28          of a product unless there is no adequate remedy under this title for

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 1           infringement on account of the importation or other use, offer to sell, or sale
             of that product. A product which is made by a patented process will, for
 2
             purposes of this title, not be considered to be so made after—
 3
                    (1) it is materially changed by subsequent processes; or
 4                  (2) it becomes a trivial and nonessential component of another product.
 5     35 U.S.C. § 271(g). By its terms, “Section 271(g) prohibits the unauthorized importation
 6     into the United States, or sale or use within the United States, of a ‘product which is made
 7     by a process patented in the United States.’” Momenta Pharms., Inc. v. Teva Pharms. USA
 8     Inc., 809 F.3d 610, 615 (Fed. Cir. 2015) (quoting 35 U.S.C. § 271(g)) (emphasis removed);
 9     see Syngenta Crop Prot., LLC v. Willowood, LLC, 944 F.3d 1344, 1359 (Fed. Cir. 2019)
10     (Section 271(g) “makes clear that the acts that give rise to liability under § 271(g) are the
11     importation, offer for sale, sale, or use within this country of a product that was made by a
12     process patented in the United States.”).
13           Plaintiffs’ claim for infringement under § 271(g) against Shoreline is based on
14     Shoreline’s purchase and use of certain iPSCs that were manufactured by third parties.
15     (See Doc. No. 162, Supp. FAC ¶¶ 211-14, 283-86, 356-59, 396-99; Doc. No. 354-24, Plath
16     Expert Report ¶¶ 56-566.) Shoreline argues that it does not infringe the asserted method
17     claims because the accused iPSCs were not made using the required two-step “priming”
18     process, and they were not made using somatic cell nuclear transfer (“SCNT”). (Doc. No.
19     351 at 8.) All of the asserted method claims include within the claimed method the step of
20     “[makes/making/make] the [somatic] cell more susceptible to reprogramming.” ’856
21     Patent col. 20 ll. 43-44; ’536 Patent col. 20 ll. 42-44, col. 20 ll. 61-63, col. 21 ll. 13-14;
22     ’744 Patent col. 21 ll. 22-23; ’917 Patent col. 21 ll. 22-23, col. 22 ll. 12-13. In the claim
23     construction order, the Court construed that claim term as “[primes/priming/prime] the
24     [somatic] cell to improve the cloning efficiency of the subsequent reprogramming.”5 (Doc.
25     No. 208 at 33.)
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27
       5
             The Court subsequently denied Plaintiffs’ motion for reconsideration of this claim
28
       construction. (Doc. No. 255 at 11-28.)

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 1            The Court’s claim construction for the claim term is two-part. First, as explained in
 2     the February 28, 2023 claim construction order and the April 19, 2023 order denying
 3     Plaintiffs’ motion for reconsideration, the Court’s claim construction requires a two-step
 4     process where there is an initial or antecedent “priming” step then a “subsequent
 5     reprogramming step.” (See id. at 31-32; Doc. No. 255 at 18-23.) Second, the Court’s claim
 6     construction requires that the “priming” step improve the “cloning efficiency” of the
 7     subsequent reprogramming step. (Doc. No. 208 at 22-26; Doc. No. 255 at 23-28.)
 8     Shoreline argues that the accused processes used to manufacture the iPSCs at issue do not
 9     satisfy either of these requirements contained in the Court’s claim construction. (Doc. No.
10     351 at 8.) The Court addresses those two requirements in turn below.
11            A.    The Two-Step Process of “Priming” and then “Reprogramming”
12            Shoreline argues that it does not infringe the asserted method claims under § 271(g)
13     because no accused iPSC line was made using the two-step process required by the Court’s
14     claim construction. (Doc. No. 351 at 11.) In setting forth the relevant claim construction,
15     the Court explained that the asserted method claims require a two-step process where there
16     is an initial or antecedent “priming” step involving the induction of Oct4 expression and
17     then a “subsequent reprogramming step.” (See Doc. No. 208 at 31-32; Doc. No. 255 at 18-
18     23.)
19            Shoreline argues that the reprogramming processes used by the iPSC manufacturers
20     at issue do not satisfy the relevant two-step requirement because, in the processes at issue,
21     Oct4 is added with other transcription factors in one step to initiate the reprogramming
22     process. (Doc. No. 351 at 11-13.) In response, Plaintiffs argue that Shoreline’s contention
23     is merely semantic and without merit. (Doc. No. 354 at 10.) But in making this argument,
24     Plaintiffs concede that Oct4 is used during the overall reprogramming processes at issue.
25     (See Doc. No. 354 at 10 (“The reprogramming process still entails two steps: Oct4 first
26     primes the somatic cell genome for subsequent reprogramming independent of the other
27     transcription factors.”).) Indeed, consistent with this, Plaintiffs’ technical expert Dr. Plath
28     describes the process of making iPSCs as a “two-step reprogramming process.” (Doc. No.

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 1     354-7, Plath Decl. at pp. 23 (“1. Yamanaka’s two-step reprogramming process”), 24 (“Dr.
 2     Kaufman’s Articles Describe a Two-Step Reprogramming Process”), 26 (“Lonza’s
 3     Infringing Two-Step Reprogramming Process”), 28 (“ThermoFisher’s Infringing Two-
 4     Step Process”).)    Indeed, during her deposition, Dr. Plath explained that what she
 5     considered to be the “priming” step of the direct reprogramming process “is an essential
 6     step of the entire process” and “is the initial step of reprogramming.” (Doc. No. 351-11,
 7     Plath Depo. at 430; see also Doc. No. 351-23, Plath Expert Report ¶¶ 223, 443, 490.)
 8           In light of these concessions by Plaintiffs and their expert Dr. Plath, Plaintiffs cannot
 9     demonstrate that the iPSC reprogramming processes at issue satisfy the Court’s claim
10     construction for the relevant claim term. The Court’s claim construction specifically
11     requires that the induction of Oct4 expression occur prior to and be separate from the
12     reprogramming process. (See Doc. No. 208 at 31-32; Doc. No. 255 at 18-23.) Plaintiffs
13     and their expert concede that in the direct reprogramming processes at issue the induction
14     of Oct4 occurs during the reprogramming process and is the initial step of the
15     reprogramming process. As such, Plaintiffs cannot demonstrate infringement of the
16     asserted method claims under § 271(g) as a matter of law. See Presidio Components, Inc.
17     v. Am. Tech. Ceramics Corp., 702 F.3d 1351, 1358 (Fed. Cir. 2012) (“‘If any claim
18     limitation is absent from the accused device, there is no literal infringement as a matter of
19     law.’”); see also Duncan Parking Techs., Inc. v. IPS Grp., Inc., 914 F.3d 1347, 1363 (Fed.
20     Cir. 2019) (explaining that a district court need not “credit an expert’s testimony” regarding
21     infringement when it is “clearly foreclosed by the district court’s claim construction”).6
22           Plaintiffs assert that infringement can be demonstrated because the direct
23     reprogramming process entails two steps. (Doc. No. 354 at 10.) Plaintiffs further argue
24     that whether one refers to “priming” with Oct4 as part of an overall process of
25
26     6
              Plaintiffs do not assert a theory of infringement under the doctrine of equivalents as
27     to the two-step requirement portion of the Court’s claim construction. (See Doc. No. 354
       at 18 (“Plaintiffs rely on DOE only for the ‘cloning efficiency’ portion of the Court’s
28
       construction of ‘makes a cell more susceptible to reprogramming.’”).)

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 1     reprogramming or refers to only the step after “priming” with Oct4 as reprogramming is
 2     “trivial” and “merely semantic.” (Id.; see also Doc. No. 354-7, Plath Decl. ¶ 45 (“Whether
 3     the entire two-step process or only the second step is styled ‘reprogramming’ is
 4     inconsequential . . . .”).) The Court disagrees. A proper literal infringement analysis
 5     involves a comparison of the properly construes claims to the allegedly infringing process.
 6     See Niazi, 30 F.4th at 1351; JVW, 424 F.3d at 1329. Under that analysis, the precise
 7     meaning of words and the precise scope of the claims matter. Under the Court’s claim
 8     construction for the relevant claim term, the precise scope of the asserted method claims is
 9     that the relevant “priming” step must occur “prior to” the reprogramming step. It does not
10     matter that the direct reprogramming process overall can be described as a two-step
11     process. If the purported “priming” step occurs during the reprogramming processes – as
12     Plaintiffs and their expert concede –, then the processes do not satisfy the Court’s claim
13     construction of the relevant claim term, meaning there is no literal infringement as a matter
14     of law.
15           In sum, the accused direct reprogramming processes at issue do not satisfy the
16     Court’s claim construction for the claim term “[makes/making/make] the [somatic] cell
17     more susceptible to reprogramming,” and, therefore, Plaintiffs cannot establish
18     infringement of the asserted method claims under § 271(g) as a matter of law. As a result,
19     Shoreline is entitled to summary judgment of Plaintiffs’ § 271(g) claims for patent
20     infringement. See Presidio, 702 F.3d at 1358.
21           B.     “[primes/priming/prime] . . . to improve . . . cloning efficiency”
22           Shoreline also argues that it does not infringe the asserted method claims under §
23     271(g) because none of the accused cell lines were made by priming a somatic cell to
24     improve “cloning efficiency.” (Doc. No. 351 at 13-21.) In response, Plaintiffs argue that
25     Defendants’ motion for summary judgment on this ground should be denied because the
26     “cloning efficiency” limitation contained in the Court’s claim construction for the relevant
27     claim term can be satisfied under the doctrine of equivalents. (Doc. No. 354 at 12-27.)
28           As an initial matter, the Court rejects Plaintiffs’ attempt to isolate the phrase “cloning

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 1     efficiency” and analyze infringement under the doctrine of equivalents as to only that
 2     specific phrase. The Supreme Court and the Federal Circuit have explained that “‘the
 3     doctrine of equivalents must be applied to individual limitations of the claim.’” Mirror
 4     Worlds, 692 F.3d at 1357 (quoting Warner–Jenkinson, 520 U.S. at 29). Here, the relevant
 5     limitation is “[primes/priming/prime] the [somatic] cell to improve the cloning efficiency
 6     of the subsequent reprogramming.” (Doc. No. 208 at 33.) It is not simply the phrase
 7     “cloning efficiency.” As such, the Court will apply the doctrine of equivalents to that
 8     limitation as a whole. 7
 9                  i.     Exclusion From Scope of the Claims
10           Shoreline argues that Plaintiffs’ theory of infringement under the doctrine of
11     equivalents fails as a matter of law because Plaintiffs cannot recapture subject matter that
12     the Court has specifically held to be outside the scope of the claims. (Doc. No. 351 at 14-
13     15.) The Court agrees.
14           The Federal Circuit has explained that the “the concept of equivalency cannot
15     embrace a structure that is specifically excluded from the scope of the claims.” Dolly, Inc.
16     v. Spalding & Evenflo Companies, Inc., 16 F.3d 394, 400 (Fed. Cir. 1994); accord Enzo
17     Biochem Inc v. Applera Corp., 702 F. App’x 971, 977 (Fed. Cir. 2017). At claim
18     construction, the parties thoroughly litigated the issue of whether the claim limitation at
19     issue encompasses direct reprogramming. Indeed, this issue was directly addressed not
20     only at the claim construction hearing but also through Plaintiffs’ subsequent motion for
21     reconsideration.
22           In both the claim construction order and the order denying Plaintiffs’ motion for
23     reconsideration, the Court specifically held that direct reprogramming is excluded from the
24     scope of the claim term “[makes/making/make] the [somatic] cell more susceptible to
25
26
27     7
              At the summary judgment hearing, Plaintiffs stated that they did not think that it
       would matter if the Court analyzed infringement under the doctrine of equivalents using
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       the broader limitation. (Doc. No. 385 at 34-35.)

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 1     reprogramming.” Indeed, in the April 19, 2023, order denying Plaintiffs’ motion for
 2     reconsideration, the Court expressly held that the scope of the claims only encompassed
 3     “blastocyst formation and ES cell derivation” efficiency, “nuclear transfer cloning
 4     efficiency,” and “cloning efficiency,” which “are all specific to SCNT.” (Doc. No. 255 at
 5     27.)   And the Court expressly rejected Plaintiffs’ contention that the claims could
 6     encompass “the efficiency of ES cell generation generally,” which would include direct
 7     reprogramming processes. (Id. at 23-26.) The Court explained: “That the efficiency at
 8     issue was consistently described in the intrinsic record within the specific context of SCNT
 9     is important because both the specification of the asserted patents and Plaintiffs’ own
10     presentation at the February 27, 2023 [claim construction] hearing make clear that SCNT
11     is very different than direct reprogramming.” (Id. at 25-26 (citing ’369 Patent col. 1 ll. 46-
12     55, col. 2 ll. 4-13, col. 3 ll. 60-67, col. 4 ll. 30-32; Doc. No. 218 at 3-6).) In other words,
13     both the specification of the asserted patents and Plaintiffs’ presentation at the claim
14     construction hearing make clear that using Oct4 during the direct reprogramming process
15     is not equivalent to using Oct4 to prime a cell for subsequent SCNT reprogramming.
16     Because the Court specifically held that direct reprogramming processes are excluded from
17     the scope of the claims at issue, Plaintiffs cannot rely on the doctrine of equivalents to
18     recapture that claim scope as a matter of law. See Dolly, 16 F.3d at 400; Enzo, 702 F.
19     App’x at 977.
20            Plaintiffs contend that the Federal Circuit cases cited above are inapplicable here
21     because they merely “stand for the proposition that a patentee cannot resort to DOE to
22     encompass a feature that is the opposite of the recited limitation.” (Doc. No. 354 at 12
23     (emphasis removed).) The Court rejects Plaintiffs’ erroneous attempt to narrow the
24     holdings in Dolly and Enzo. There is no discussion in either Dolly or Enzo regarding
25     whether the accused product included a feature that is the “opposite” of the recited
26     limitation. Indeed, the word “opposite” is not even contained in either of those decisions.
27     See generally Dolly, 16 F.3d at 396-400; Enzo, 702 F. App’x at 972-77. Rather, those two
28     decisions broadly hold that “the concept of equivalency cannot embrace a structure that is

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 1     specifically excluded from the scope of the claims.” Dolly, 16 F.3d at 400; accord Enzo,
 2     702 F. App’x at 977. As such, the Court rejects Plaintiffs’ attempt to distinguish or narrow
 3     the holdings in Dolly and Enzo. 8
 4           Plaintiffs assert that the Federal Circuit has explained that subject matter is not
 5     “specifically excluded” from coverage under the doctrine of equivalents unless its inclusion
 6     is somehow inconsistent with the language of the claim. (Doc. No. 354 at 14 (citing
 7     Ethicon Endo-Surgery, Inc. v. U.S. Surgical Corp., 149 F.3d 1309, 1317 (Fed. Cir. 1998)).)
 8     See also Augme Techs., Inc. v. Yahoo! Inc., 755 F.3d 1326, 1335 (Fed. Cir. 2014) (“[W]e
 9     have found ‘specific exclusion’ where the patentee seeks to encompass a structural feature
10     that is the opposite of, or inconsistent with, the recited limitation.”). The Court reiterates
11     that both the specification of the asserted patents and Plaintiffs’ own presentation at the
12     claim construction hearing make clear that using Oct4 to prime a cell for the SCNT process
13     is very different than using Oct4 during the direct reprogramming process. (See Doc. No.
14     205 at 25-26.) And it would be inconsistent with those statements in the specification and
15     those prior statements made by Plaintiffs to permit the accused directed reprogramming
16     processes to be equivalent to priming a cell to improve the cloning efficiency of the
17     subsequent SCNT process as required by the Court’s claim construction. In sum, Plaintiffs’
18     theory of infringement under the doctrine of equivalents fails as a matter of law because
19     the Court has expressly held that direct reprogramming methods are excluded from the
20     scope of the asserted method claims.
21     ///
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             Plaintiffs also note that the Federal Circuit’s decision in Enzo is non-precedential.
       (Doc. No. 354 at 12.) The Court acknowledges that Enzo is an unpublished non-
26
       precedential decision from the Federal Circuit. But that is of no consequence because the
27     Court may still rely on it as persuasive authority, and the Court finds the decision to be
       persuasive. In addition, the Court’s analysis also relies on the Federal Circuit’s decision
28
       in Dolly, which is a published opinion that is binding authority on this Court.

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 1                  ii.   Prosecution History Estoppel
 2           Shoreline also argues that Plaintiffs’ theory of infringement under the doctrine of
 3     equivalents arguments is foreclosed by prosecution history estoppel. (Doc. No. 351 at 15-
 4     17.) In response, Plaintiffs argue that prosecution history estoppel does not bar their
 5     doctrine of equivalents arguments. (Doc. No. 354 at 15-19.)
 6           “‘Prosecution history estoppel applies as part of an infringement analysis to prevent
 7     a patentee from using the doctrine of equivalents to recapture subject matter surrendered
 8     from the literal scope of a claim during prosecution.’” Pharma Tech Sols., Inc. v. LifeScan,
 9     Inc., 942 F.3d 1372, 1380 (Fed. Cir. 2019) (quoting Trading Techs. Int’l, Inc. v. Open E
10     Cry, LLC, 728 F.3d 1309, 1322 (Fed. Cir. 2013)); see Traxcell Techs., LLC v. Nokia Sols.
11     & Networks Oy, 15 F.4th 1136, 1145 (Fed. Cir. 2021) (“If a patentee surrenders some
12     scope during prosecution, that territory isn’t available later as a doctrine-of-equivalents
13     battleground.”). Prosecution history estoppel can occur in two ways: either (1) by making
14     a narrowing amendment to the claim (“amendment-based estoppel”) or (2) by surrendering
15     claim scope through argument to the patent examiner (“argument-based estoppel”).
16     Pharma Tech, 942 F.3d at 1380. “The relevant inquiry is ‘whether a competitor would
17     reasonably believe that the applicant had surrendered the relevant subject matter.’”
18     Traxcell, 15 F.4th at 1146 (quoting Amgen Inc. v. Coherus BioSciences Inc., 931 F.3d
19     1154, 1159 (Fed. Cir. 2019)).
20           “A narrowing amendment is presumed to be a surrender of all equivalents within
21     ‘the territory between the original claim and the amended claim.’” Bio-Rad Lab’ys, Inc.
22     v. 10X Genomics Inc., 967 F.3d 1353, 1364 (Fed. Cir. 2020) (quoting Festo Corp. v.
23     Shoketsu Kinzoku Kogyo Kabushiki Co., 535 U.S. 722, 728 (2002)). “This presumption
24     can be overcome if the patentee can show that one of the following ‘exceptions’ to
25     prosecution history estoppel applies: (1) the rationale underlying the amendment bears no
26     more than a tangential relation to the equivalent in question; (2) the equivalent was
27     unforeseeable at the time of the application; or (3) there was some other reason suggesting
28     that the patentee could not reasonably be expected to have described the equivalent.” Id.

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 1           The Federal Circuit has explained that a court should “‘review[] a patent family’s
 2     entire prosecution history when applying . . . prosecution history estoppel.’” In re
 3     McDonald, 43 F.4th 1340, 1347 (Fed. Cir. 2022) (quoting MBO Lab’ys, Inc. v. Becton,
 4     Dickinson & Co., 602 F.3d 1306, 1318 (Fed. Cir. 2010)) (“‘Because the rule against
 5     recapture and prosecution history estoppel both protect the public’s interest in relying on a
 6     patent’s prosecution history, we think equity requires a review of a patent family’s
 7     prosecution history to protect against recapture in a reissue patent.’”).          “Whether
 8     prosecution-history estoppel applies is a question of law.” Traxcell, 15 F.4th at 1146.
 9           As detailed in the Court’s February 28, 2023 claim construction order, during the
10     prosecution of the ’536 Patent, the patentees attempted to obtain method claims
11     encompassing “a method of reprogramming a primary somatic cell to a less differentiated
12     state.” (Doc. No. 152-4, Snyder Decl. Ex. 27 at 508-09; see also Doc. No. 208 at 27-29.)
13     In an office action dated April 11, 2014, the examiner rejected these claims under 35 U.S.C.
14     § 112 ¶ 1 for failure to comply with the enablement requirement. (Doc. No. 113-5, Ex. B-
15     31 at 1-16; see also Doc. No. 113-3, Ex. B-23; Doc. No. 113-4, Ex. B-28.) In providing
16     the basis for these enablement rejections, the examiner explained:
17                  The specification provides specific guidance to the production of a
             transgenic mouse comprising in its genome an inducible exogenous Oct4
18
             gene. The specification provides specific guidance to the isolation of
19           fibroblasts from said transgenic mouse and inducing Oct4 expression in said
             fibroblasts by treatment with deoxycycline. The specification provides
20
             specific guidance to nuclear transfer experiments, wherein said fibroblasts
21           were treated with DOX to induce Oct4 expression and then transferred into
             enucleated oocytes to produce nuclear transfer units. The specification
22
             teaches that the nuclear transfer units were cultured to the blastocyst stage and
23           ES cell were derived from the nuclear transfer units. The specification further
             teaches that on average blastocyst formation and ES cell derivation is more
24
             efficient when Oct4 induced fibroblasts are used as compared to un-induced
25           fibroblasts. The specification thus concludes that inducing Oct4 expression
             in somatic cells makes these cells more susceptible to reprogramming.
26
                   While the specification provides specific guidance to a means of
27
             priming somatic cells for reprogramming, the specification fails to provide
28           any guidance to a method that predictably reprograms primary somatic cells

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 1           to a less differentiated state by solely introducing a nucleic acid encoding Oct4
             to said somatic cell or by solely introducing an Oct4 protein into said somatic
 2
             cell. The specification fails to assess the differentiation status of the somatic
 3           cells after induction of Oct4 but before reprogramming the somatic cell by
             nuclear transfer. As such, the specification has provided no evidence that
 4
             alone the exogenous Oct4 in the cell is reprogramming the somatic cell to a
 5           less differentiated state. The specification further fails to provide any teaching
             to the narrower embodiments of the claims encompassing introduction of
 6
             Oct4 into an adult stem cell, such as hematopoietic stem cells, neural stem
 7           cells, or mesenchymal stem cells. As such, the specification fails to
             demonstrate that introduction of Oct4 into such adult stem cells or any cells
 8
             will predictably result in a less differentiated state as the claims require.
 9
                   Thus, the specification fails to enable the instant claims because the
10           invention disclosed by the specification is not commensurate in scope with
             the method of the claims. . . .
11
                    The specification provides specific guidance to a method of priming a
12           somatic cell for reprogramming by introducing Oct4 activity into said somatic
13           cell. This cannot properly be interpreted as commensurate in scope with a
             method of reprogramming a somatic cell by solely introducing Oct4 because
14           the specification fails to teach that Oct4 alone reprograms a cell. As such, the
15           specification fails to enable a method of reprogramming a cell to a less
             differentiated state by introduction of Oct4 because the specification fails to
16           provide specific guidance to such embodiments and actually teaches an
17           invention of a total different scope.
18     (Doc. No. 113-5, Ex. B-31 at 3-5 (emphasis in original) (citations omitted); see also id. at
19     7 (“[T]he specification describes a method of priming a somatic cell for reprogramming by
20     solely introducing Oct4.”).) Here, in analyzing enablement, the examiner explained the
21     scope of the invention disclosed in the shared specification and explained why that scope
22     did not encompass a method of reprogramming a somatic cell to a less differentiated state
23     by introduction of Oct4 alone.
24           In response to the examiner’s enablement rejections, the patentees amended the
25     claims at issue to claim a method of making a primary somatic cell more susceptible to
26     reprogramming to a less differentiated state. (Doc. No. 113-5, Ex. B-32; see also Doc. No.
27     151 at 6.) For example, the patentees amended claim 1 of the application as follows:
28           1.     (Currently amended) A method of making reprogramming a primary

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 1           somatic cell more susceptible to reprogramming to a less differentiated state,
             comprising: introducing an exogenous nucleic acid encoding an Oct 4 protein
 2
             operably linked to at least one regulatory sequence into the somatic cell,
 3           wherein expression of the exogenously introduced nucleic acid results in
             making reprogramming the somatic cell more susceptible to reprogramming
 4
             to a less differentiated state.
 5
       (Doc. No. 113-5, Ex. B-32 at 2 (underlining and strike outs in original).) In providing these
 6
       amendments, the patentees did not dispute the examiner’s characterizations of the scope of
 7
       the invention disclosed in the specification. Rather, the patentees stated with respect to
 8
       enablement:
 9
                   Applicants submit that the presently claimed subject matter is enabled
10           by the as-filed specification, as acknowledged by the Office in the Actions
             mailed August 20, 2013, and April 11, 2014. See Office Action mailed April
11
             11, 2014, last sentence of second paragraph of page 3, paragraph bridging
12           pages 3-4, paragraph bridging pages 4-5, and first full paragraph of page 7.
13                 Accordingly, this basis for rejection is now moot and properly
             withdraw.
14
       (Id. at 5.) The examiner allowed the claims as amended. (See Doc. No. 113-5, Ex. B-33.)
15
             In the claim construction order, the Court held that the above amendments and
16
       correspondence with the examiner constitute a prosecution disclaimer, and the Court held
17
       that, as a result of that disclaimer, “the claims at issue are limited to a method of ‘priming’
18
       a somatic cell for reprogramming.” (Doc. No. 208 at 30 (citing Biogen Idec, Inc. v.
19
       GlaxoSmithKline LLC, 713 F.3d 1090 (Fed. Cir. 2013); SandBox Logistics LLC v.
20
       Proppant Express Invs. LLC, 813 F. App’x 548 (Fed. Cir. 2020)). These amendments and
21
       disclaimer are also relevant to the Court’s analysis of prosecution history estoppel.
22
             Because the patentees amended the claims at issue in light of the examiner’s
23
       enablement rejection, there is a presumption that the patentees surrendered “all equivalents
24
       within ‘the territory between the original claim and the amended claim.’” Bio-Rad, 967
25
       F.3d at 1364 (quoting Festo, 535 U.S. at 728). The original claim at issue encompassed
26
       reprogramming generally, including direct reprogramming. (See Doc. No. 385 at 33
27
       (Plaintiffs explaining: “Professor Jaenisch was attempting to get a claim that covered direct
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 1     reprogramming. And, to be clear, it’s going to cover any form of reprogramming, direct
 2     or SCNT. He was trying to get a claim that was going to cover reprogramming using
 3     exogenous Oct4.”), 65-66.) But that claim was rejected by the examiner on enablement
 4     grounds. Indeed, the examiner specifically stated that “the art at the time [of the invention]
 5     was not developed to the point of demonstrating any methods of direct reprogramming
 6     with pluripotency factors, let alone, solely the use of Oct4.” (Doc. No. 113-5, Ex. B-31 at
 7     5.) The claims as amended were narrowed to only encompass a two-step method of
 8     priming a cell to improve the cloning efficiency of the subsequent reprogramming step.
 9     (See Doc. No. 208 at 22-26, 31-32; Doc. No. 255 at 18-28.) As such, there is a presumption
10     that by amending the claims in the above manner, the patentees surrendered any equivalent
11     related to direct reprogramming, including any method of purportedly priming a cell to
12     improve the efficiency of direct reprogramming.
13           Plaintiffs argue that Shoreline’s prosecution history estoppel argument fails because
14     the rationale for the amendments at issue only bore a tangential relation to the equivalent
15     in question. (Doc. No. 354 at 16-19.) The presumption that a patentee has surrendered all
16     equivalents within the territory of the original claim and the amended claims can be
17     overcome if the patentee can show that “the rationale underlying the amendment bears no
18     more than a tangential relation to the equivalent in question.” Bio-Rad, 967 F.3d at 1364.
19     This criterion asks, in other words, “whether the reason for the narrowing amendment was
20     peripheral, or not directly relevant, to the alleged equivalent.” Festo Corp. v. Shoketsu
21     Kinzoku Kogyo Kabushiki Co., 344 F.3d 1359, 1369 (Fed. Cir. 2003). The inquiry
22     “focuses on the patentee’s objectively apparent reason for the narrowing amendment.” Id.
23     Plaintiffs cannot make the required showing for demonstrating a tangential relation.
24           Plaintiffs assert that the examiner’s rejection focused on the lack of enablement for
25     reprogramming with Oct4 alone. (Doc. No. 354 at 17.) Although the Court agrees with
26     Plaintiffs that this was one of the issues that the examiner focused on in making her
27     enablement rejection, it was not the only issue. The examiner also focused on the fact that
28     “the art at the time [of the invention] was not developed to the point of demonstrating any

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 1     methods of direct reprogramming with pluripotency factors, let alone, solely the use of
 2     Oct4.” (Doc. No. 113-5, Ex. B-31 at 5.) In addition, the narrowing amendments at issue
 3     were made in acquiescence to the examiner’s repeated characterizations of the specification
 4     as disclosing only a method of “priming” a somatic cell to improve the cloning efficiency
 5     of the subsequent SCNT reprogramming. (See id. at 4 (“The specification provides specific
 6     guidance to a method of priming a somatic cell for reprogramming by introducing Oct4
 7     activity into said somatic cell”), 7 (“The specification describes a method of priming a
 8     somatic cell for reprogramming by solely using Oct4”), 8 (“[T]he experiments described
 9     in the specification . . . solely demonstrate[] that addition of Oct4 expression enhances
10     nuclear transfer cloning efficiency and nuclear transfer’s reprogramming process.”), 13
11     (“[T]he nuclear transfer experimental model is only informative to the impact of Oct4
12     exogenous expression on the degree of cloning efficiency or the degree reprogramming
13     completeness or effectiveness upon the number of reprogrammed fibroblast nuclei.”); see
14     also Doc. No. 255 at 18-28.) Because the equivalent in question is an attempt to expand
15     the claim beyond SCNT and cloning efficiency and to instead encompass a method of using
16     Oct4 during the direct reprogramming process, it is directly related to the narrowing
17     amendments and the prosecution history at issue. As a result, prosecution history estoppel
18     applies and bars Plaintiffs’ theory of infringement under the doctrine of equivalents as to
19     the “[makes/making/make] the [somatic] cell more susceptible to reprogramming” claim
20     limitation.
21           Plaintiffs argue that Shoreline’s prosecution history estoppel argument is faulty
22     because Shoreline ignores that the earlier-issued ’856 Patent always included the “making
23     a cell more susceptible to reprogramming” limitation. (Doc. No. 354 at 15.) Plaintiffs
24     further state that Shoreline’s motion fails to explain how the amendments in the later ’536
25     Patent estop Plaintiff from relying on the doctrine of equivalents for the ’856 Patent. (Id.)
26     That the claims of the ’856 patent were never amended and issued before the ’536 Patent
27     is of no consequence. The Federal Circuit has explained that a court should review “‘a
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 1     patent family’s entire prosecution history’” when applying prosecution history estoppel.9
 2     McDonald, 43 F.4th at 1347 (quoting MBO, 602 F.3d at 1318); see also, e.g., Microsoft
 3     Corp. v. Multi-Tech Sys., Inc., 357 F.3d 1340, 1350 (Fed. Cir. 2004) (applying the
 4     prosecution history of one patent to an earlier issued related patent). The ’856 Patent and
 5     the ’536 Patent are part of the same patent family. (See Doc. No. 162, Supp. FAC ¶ 132
 6     (“The Asserted Patents are related, share a common specification, and claim priority to at
 7     least November 26, 2003.”); Doc. No. 354-24, Ex. 37, Plath Expert Report ¶ 36 (“I
 8     understand that each of the Patents-in-Suit claim priority to provisional application No.
 9     60/525,612, filed on November 26, 2003 and provisional application No. 60/530,042, filed
10     on December 13, 2003.”).) As such, the ’536 Patent’s prosecution history is relevant to
11     the ’856 Patent, and, thus, prosecution history estoppel applies to the ’856 Patent. See
12     McDonald, 43 F.4th at 1347.
13           In sum, prosecution history estoppel applies and bars Plaintiffs’ theory of
14     infringement under the doctrine of equivalents as to the “[primes/priming/prime] the
15     [somatic] cell to improve the cloning efficiency of the subsequent reprogramming” claim
16     limitation. As such, this is an additional reason why Plaintiffs’ claim for infringement
17     under the doctrine of equivalents fails as a matter of law.
18     ///
19     ///
20
21
       9
              Plaintiffs note that the Federal Circuit has explained that “[w]hen multiple patents
22
       derive from the same initial application, the prosecution history regarding a claim
23     limitation in any patent that has issued applies with equal force to subsequently issued
       patents that contain the same claim limitation.” Elkay, 192 F.3d at 980. (See Doc. No.
24
       354 at 15-16.) Although this is a correct statement of the law, Plaintiffs fail to acknowledge
25     that there is nothing in Elkay stating that the prosecution history regarding a certain
       limitation only applies to subsequently issued patents. There is nothing in Elkay stating
26
       that the prosecution history cannot also apply to earlier issued patents if they contain the
27     same limitation at issue. Both the Federal Circuit’s decisions in McDonald and MBO state
       that “‘a patent family’s entire prosecution history’” is relevant in applying prosecution
28
       history estoppel. McDonald, 43 F.4th at 1347 (quoting MBO, 602 F.3d at 1318).

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 1                     iii.   Insubstantial Differences Test
 2               Shoreline argues that Plaintiffs cannot satisfy the insubstantial differences test to
 3     support their theory of infringement under the doctrine of equivalents. (Doc. No. 351 at
 4     17-18.) Specifically, Shoreline argues that Plaintiffs cannot satisfy the insubstantial
 5     differences test because it is undisputed that SCNT and iPSC direct reprogramming are
 6     substantially different processes. (Id.) In response, Plaintiffs contend that Shoreline’s
 7     argument is improper because it focuses on the differences between SCNT and direct
 8     reprogramming techniques as opposed to specifically on the differences between “direct
 9     reprogramming efficiency” and “SCNT cloning efficiency.” (Doc. No. 354 at 19.)
10               Under the insubstantial differences test, an element in an accused method “‘is
11     equivalent to a claim limitation if the only differences between the two are insubstantial.’”
12     UCB, 927 F.3d at 1284. Plaintiffs assert that they can satisfy the insubstantial differences
13     test because “the efficiencies of SCNT and direct reprogramming are identical in that both
14     are measures of the yield of pluripotent stem cells from somatic cells.” (Doc. No. 354 at
15     19-20 (citing Doc. No. 313-4, Ex. 8, Plath Decl. ¶ 23; Doc. No. 354-7, Plath Decl. ¶ 55).)
16               Again, the Court rejects Plaintiffs’ attempt to isolate the phrase “cloning efficiency”
17     and divorce that phrase from the rest of the Court’s claim construction for the relevant
18     claim limitation. The relevant limitation for the purposes of evaluating the doctrine of
19     equivalents and the insubstantial differences test is “[primes/priming/prime] the [somatic]
20     cell to improve the cloning efficiency of the subsequent reprogramming.” (Doc. No. 208
21     at 33.)
22               The specification of the asserted patents notes that there are important differences
23     between using Oct4 to prime a cell for subsequent SCNT reprogramming – as claimed in
24     the method claims at issue – and using Oct4 in direct reprogramming processes. See ’856
25     Patent col. 2 ll. 4-13 (explaining that SCNT depends on “controversial sources” that have
26     “greatly compromised and slowed the study of such cells and their application” and that
27     there is “a great demand for alternative methods of generating pluripotent cells,” such as
28     direct reprogramming); see also id. col. 3 ll. 61-67 (“It would be useful to reprogram

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 1     somatic cells directly into pluripotent cells.      Nuclei from somatic cells retain the
 2     totopotency potential to direct development of an animal, as demonstrated by nuclear
 3     transfer technology. It would be useful to reprogram somatic cells directly into ES cells
 4     without the use of oocytes and nuclear transfer technology.”).) Indeed, at the claim
 5     construction hearing, Plaintiffs themselves described many important differences between
 6     using Oct4 to prime a cell for subsequent SCNT reprogramming and using Oct4 in the
 7     direct reprogramming process. (See Doc. No. 218 at 3-6.) For example, Plaintiffs
 8     described SCNT as “an old technique for reprogramming” that is an “incredibly difficult
 9     challenging technical technique that can only be done by a handful of labs in the world.”
10     (Doc. No. 218 at 3.) Plaintiffs contrasted that technique with “[d]irect reprogramming”
11     which according to Plaintiffs has “much more commercial appeal and universal
12     applicability.”10 (Doc. No. 218 at 4.) In light of these undisputed statements in the
13     specification and the statements made by Plaintiffs at the claim construction hearing, no
14     reasonable jury could find that the accused processes satisfy the insubstantial differences
15     test.
16     ///
17
18     10
              At the claim construction hearing, Plaintiffs also described the technique of SCNT
       as taking “a somatic cell” and either: (1) taking the nucleus out of that somatic cell and
19
       “put[ting] it into an egg cell” that has had its “genetic material removed;” or (2) taking “the
20     entire somatic cell” and “fus[ing] it together with an egg cell” that has had its genetic
       material removed. (Id.) Either method then “creates, in effect, a fertilized egg cell.” (Id.
21
       at 4.) See also ’369 Patent col. 1 ll. 46-55, col. 2 ll. 4-11 (describing the technique of SCNT
22     and referring to it as a method that “depend[s] on controversial sources” such as “embryos
       (either created naturally or via cloning)”).
23
              In contrast, Plaintiffs described the technique of direct reprogramming as including
24
       the following steps: taking somatic cells and inserting DNA that encodes certain proteins
25     “collectively called the Yamanaka factors;” then allowing the cells “to express the[]
       transcription factors in [a] first step;” then transferring the cells into “a priming medium;”
26
       and then “transfer[ring] them to the reprogramming step where the mediums change.” (Id.
27     at 5.) See also ’369 Patent col. 3 ll. 60-67 (describing “directly” reprogramming as
       reprogramming that does not use “oocytes and nuclear transfer technology” and does not
28
       use “controversial sources”).

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 1                  iv.   Function-Way-Results Test
 2           Shoreline argues that Plaintiffs cannot satisfy the function-way-results test because
 3     the function, way, and result of improving reprogramming efficiency for SCNT versus
 4     iPSC reprogramming are substantially different. (Doc. No. 351 at 18-21.)
 5           Under the function-way-result test, a process “that does not literally satisfy a claim
 6     limitation may nevertheless infringe ‘if it performs substantially the same function in
 7     substantially the same way to obtain the same result.’” Ajinomoto, 932 F.3d at 1356
 8     (quoting Duncan Parking, 914 F.3d at 1362).
 9           As for the “function” part of the test, Plaintiffs and their expert assert that Oct4
10     operates on a somatic cell nucleus in the same way during direct reprogramming as it does
11     in the SCNT experiment in the specification of the asserted patents. (Doc. No. 354 at 21-
12     22.) But based on Plaintiffs’ own assertions, priming with Oct4 provides a different
13     function in the direct reprogramming process than it does in the SCNT process.
14           Plaintiffs and their expert assert that Oct4 is “essential,” “critical,” and “necessary”
15     to the direct reprogramming process. (See Doc. No. 354 at 18 n.10 (asserting that Oct4 is
16     “critical and necessary” to the overall direct reprogramming process for making iPSCs),
17     23-24; Doc. No. 351-11, Plath Depo. at 430 (testifying that Oct4 “is an essential step of the
18     entire [direct reprogramming] process”); Doc. No. 354-7, Plath Decl. ¶¶ 35, 112-24 (testing
19     showing that direct reprogramming was unsuccessful without the inclusion of Oct4); Doc.
20     No. 354-24, Plath Expert Report ¶¶ 567-69.) Indeed, at the summary judgment hearing,
21     Plaintiffs responded to the question of whether Oct4 is essential to the direct
22     reprogramming process: “[T]he answer is emphatically yes.             Oct4 is required for
23     reprogramming. Priming with Oct4, as this Court has construed it, is required for direct
24     reprogramming.” (Doc. No. 385 at 28.)
25           In contrast, the intrinsic record of the asserted patents, including the specification
26     and the prosecution history, make clear that Oct4 is not essential to the SCNT process and
27     instead is merely an “additive factor” to the SCNT process that improves “nuclear transfer
28     cloning efficiency.” During the prosecution history of the asserted method patents, the

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 1     examiner explained:
 2           In regards to Oct4, one must remember that the results of the nuclear transfer
             experiments [in the specification] demonstrate that regardless of exogenous
 3
             Oct4 induction (i.e. in both fibroblast nuclei induced to express the exogenous
 4           Oct[4] and the fibroblast lacking such induction) the nuclear transfer units
             comprising fibroblast nucleic produce clones (i.e. reprogram the fibroblast
 5
             nuclei). This is important to remember because it demonstrates that regardless
 6           of exogenous Oct[4] expression reprogramming is occurring in both nuclear
             transfer units with fibroblasts nuclei exogenously expressing Oct4 and nuclear
 7
             transfer unit with fibroblast nuclei lacking endogenous expression of Oct4.
 8           As such, the measure of cloning efficiency between the two groups is solely
             able to measure changes in the completeness of reprogramming or changes in
 9
             the reprogrammed nuclear transfer units because regardless of Oct4 some
10           degree of reprogramming occurs due to present[sic] of the fibroblast nuclei in
             a nuclear transfer unit. Given that reprogramming is going to occur in the
11
             nuclear transfer experiments regardless of exogenous Oct4 expression, the
12           nuclear transfer experimental model is only informative to the impact of Oct4
             exogenous expression on the degree of cloning efficiency or the degree of
13
             reprogramming completeness or effectiveness upon the number of
14           reprogrammed fibroblast nuclei, not the ability of Oct4 alone to reprogram a
             fibroblast nuclei as Applicant suggests.
15
       (Doc. No. 113-5, Ex. B-31 at 13; see also id. at 8 (“The art and Applicant’s own
16
       experiments demonstrate that reprogramming is occurring by the process nuclear transfer.
17
       As such, the experiments described in the specification provided limited information to the
18
       degree that exogenous Oct4 itself is able to reprogram and solely demonstrates that addition
19
       of Oct4 expression enhances nuclear transfer’s reprogramming process.”). Consistent with
20
       this, the specification of the asserted method patents explains that SCNT is a method for
21
       creating pluripotent ES cells, and the specification discloses that the addition of Oct4 only
22
       made the process more “efficient.” See ’856 Patent col. 1, ll. 46-55, col. 19, ll. 21-33
23
       (Table 1).     Indeed, at the summary judgment hearing, Plaintiffs conceded that
24
       “reprogramming occurs anyway in somatic cell nuclear transfer.” (Doc. No. 385 at 29.)
25
       As such, it is undisputed that the use of Oct4 serves a substantially different function in the
26
       accused direct reprogramming processes compared to the claimed SCNT process.
27
             As for the “way” part of the test, it is also undisputed that the accused direct
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 1     reprogramming processes use Oct4 in a different way than the claimed SCNT process. As
 2     explained earlier, Plaintiffs and their expert Dr. Plath concede that Oct4 is part of the direct
 3     reprogramming process with Dr. Plath conceding that it is used as “the initial step” of the
 4     direct reprogramming process. (Doc. No. 351-11, Plath Depo. at 430; see Doc. No. 354 at
 5     10 (“The reprogramming process still entails two steps: Oct4 first primes the somatic cell
 6     genome for subsequent reprogramming independent of the other transcription factors.”);
 7     see also Doc. No. 354-7, Plath Decl. at pp. 23, 24, 26.) In contrast, the claimed SCNT
 8     process encompasses a two-step method where there is an initial priming step involving
 9     the use of Oct4 and then a subsequent SCNT reprogramming step. (See Doc. No. 208 at
10     22-26, 31-32; Doc. No. 255 at 18-28.) As such, it is undisputed that the accused direct
11     reprogramming processes and the claimed SCNT process use Oct4 in substantially
12     different ways.
13           As for the “results” part of the test, it is undisputed that the two processes at issue
14     produce different results. The specification of the asserted patents explains that the results
15     of the claimed process is increased “blastocyst formation and ES cell derivation.” ’856
16     Patent col. 19 l. 28. It is undisputed that the accused direct reprogramming processes do
17     not “result” in increased blastocyst formation and ES cell derivation. At the claim
18     construction hearing, Plaintiffs explained that “blastocyst formation” is “specific” to
19     SCNT. (Doc. No. 218 at 17 (explaining that “blastocyst formation” is “specific to the
20     particular technique . . . SCNT”); see also id. at 18 (“[T]he problem that we have with the
21     Court’s tentative constructions is that they read into the claim -- some of them seem to
22     recognize this concept of improved efficiency, but they read into the claims words . . . that
23     are unique to SCNT, things like blastocyst or cloning . . . .”).) Further, at the summary
24     judgment hearing, Plaintiffs conceded that direct reprogramming does not result in
25     increased blastocyst formation. (Doc. No. 385 at 36-37.) In addition, it is undisputed that
26     ES cells are not the same as iPSC cells. (See Doc. No. 354 at 20 (conceding that “SCNT
27     generates ES cells, while direct reprogramming generates iPSCs”).) In their briefing,
28     Plaintiffs assert that although they are different, ES cells are “functionally identical” to

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 1     iPSC cells. (Id. at 22.) But that assertion is directly contradicted by statements in the
 2     asserted patents’ specification, which explains that there are important differences between
 3     ES cells generated from “controversial sources,” such as SCNT, and cells that are generated
 4     through direct reprogramming. See ’856 Patent col. 2 ll. 4-13, col. 3 ll. 61-67. As such, it
 5     is undisputed that the use of Oct4 in the claimed SCNT process produces substantially
 6     different “results” compared to the use of Oct4 in the accused direct reprogramming
 7     processes. 11
 8            In sum, the undisputed evidence in the record demonstrates that the claimed SCNT
 9     process and the accused direct reprogramming processes utilize Oct4 for different
10     functions, in different ways, and with different results. As such, no reasonable jury could
11     find that Plaintiffs have satisfied the function-way-results test for the claim limitation
12     “[makes/making/make] the [somatic] cell more susceptible to reprogramming.”
13            C.       Conclusion
14            For the foregoing reasons, no reasonable jury could conclude that the accused direct
15     reprogramming processes satisfy the Court’s claim construction for the term
16     “[makes/making/make] the [somatic] cell more susceptible to reprogramming,” whether
17     under a literal infringement analysis or a doctrine of equivalents analysis. Thus, Plaintiffs’
18     claims for patent infringement under § 271(g) fail. As a result, the Court grants Shoreline’s
19     motion for summary judgment of Plaintiffs’ claims for patent infringement under
20
21     11
              The Court notes that even if it were to accept Plaintiffs’ contention that the relevant
22     claim limitation is the phrase “cloning efficiency” by itself, Plaintiffs would still be unable
       to satisfy the function-way-results test. Even when focused on just “cloning efficiency,” it
23     is undisputed that the two processes at issue produce different results (i.e., increased
24     blastocyst formation and ES cells versus iPSC cells).
              In addition, even if “cloning efficiency” is examined by itself, Plaintiffs also cannot
25
       satisfy the insubstantial differences test for the same reasons. The specification of the
26     asserted patents itself makes clear that there are substantial differences between ES cells
       and iPSC cells. See ’856 Patent col. 2 ll. 4-13, col. 3 ll. 61-67. And Plaintiffs have
27
       conceded that direct reprogramming does not result in increased blastocyst formation.
28     (Doc. No. 385 at 36-37.)

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 1     §271(g). 12
 2
 3     12
              In its motion for summary judgment, Shoreline also argues that it is entitled to
 4     summary judgment of Plaintiffs’ § 271(g) claims because the subsequent iPSC
 5     reprogramming by the third parties at issue materially changes of the results of those
       methods, precluding infringement under § 271(g)(1). (Doc. No. 351 at 21-23.) In addition,
 6     Shoreline argues that it does not infringe under § 271(g) as to the FCDI and ASC iPSC
 7     lines because Plaintiffs cannot show that the claimed methods were carried out after the
       issuance of the asserted method patents. (Id. at 8-10.) Because the Court grants summary
 8     judgment of Plaintiffs’ claims for patent infringement under §271(g) for the reasons above,
 9     the Court declines to address these additional grounds for summary judgment of those
       claims.
10
              Nevertheless, the Court briefly addresses Shoreline’s argument that it does not
11     infringe the asserted method patents under § 271(g) as to the Lonza line of iPSCs because
12     Plaintiffs cannot show that the claimed methods were carried out after the issuance of the
       asserted method patents. (See Doc. No. 351 at 8-10.) In order for there to be infringement
13     under § 271(g), the product at issue must have been manufactured “by a process patented
14     in the United States.” 35 U.S.C. § 271(g). If the asserted patent was not in existence at the
       relevant time of the manufacturing, then the product at issue was not made via a patented
15     process. See Gustafson, Inc. v. Intersystems Indus. Prod., Inc., 897 F.2d 508, 510 (Fed.
16     Cir. 1990) (“It is obvious that a party cannot be held liable for ‘infringement’ . . . of a
       nonexistent patent, i.e., no damages are payable on products manufactured and sold before
17     the patent issued.”).
18            The earliest issued asserted method patent in this case – the ’856 Patent – was issued
       on January 13, 2023. ’856 Patent at [45]; see also ’536 Patent at [45]; ’744 Patent at [45];
19
       ’917 Patent at [45]. As such, in order for there to be infringement under § 271(g), Plaintiffs
20     must demonstrate that for the iPSCs at issue, Lonza “primed” the cells with Oct4 on
       January 13, 2023 or later. The Court agrees with Shoreline that Plaintiffs have not made
21
       that showing. Rather, the only evidence in the record shows that Oct4 was used by Lonza
22     during the manufacturing of the iPSCs at issue by October 2014 or earlier. (See Doc. No.
       351-10, Ex. 9 at p. 182, Baghbaderani Supp. Decl. ¶ 9; id. at pp. 270-271; id. at p. 310.)
23
              Plaintiffs note that there is evidence in the record stating the iPSCs at issue were
24
       reprogramed in 2015 and that the manufacturing date of the iPSCs is January 29, 2015.
25     (Doc. No. 354 at 2-3 (citing Doc. No. 68-1, Ex. T; Doc. No. 68, Counterclaims ¶ 112; Doc.
       No. 354-10, Ex. 2, Cherok Decl. ¶ 5); see also Doc. No. 385 at 24-27.) But this is of no
26
       consequence. The asserted method patents do not claim a method of reprogramming a cell
27     or a method of making iPSCs. (See Doc. No. 208 at 18 (citing Doc. No. 149 at 7-8; Doc.
       No. 151 at 6; Doc. No. 113-5, Ex. B-31 at 2-16; Doc. No. 113-3, Ex. B-23; Doc. No. 113-
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       4, Ex. B-28); see also Doc. No. 385 at 66 (Plaintiffs conceding: “We can’t claim that we

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 1     III.   Plaintiffs’ Claims for Induced Infringement Under 35 U.S.C. § 271(b)
 2            In the operative complaint, Plaintiffs allege claims for induced infringement of the
 3     asserted patents under 35 U.S.C. § 271(b) against Shoreline. (Doc. No. 162, Supp. FAC
 4     ¶¶ 172-75, 207-10, 244-47, 279-82, 317-20, 352-55, 392-95.)           Shoreline moves for
 5     summary judgment of Plaintiffs’ claims for induced infringement. (Doc. No. 351 at 23-
 6     27.) Specifically, Shoreline argues that it cannot be liable for induced infringement
 7     because Plaintiffs cannot demonstrate any underlying act of direct infringement with
 8     respect to the asserted method claims. (Id. at 24.) In addition, Shoreline argues that it
 9     cannot be liable for induced infringement because it did not know how the iPSCs were
10     created by the third-party manufacturers at issue. (Id. at 24-25.)
11            Under 35 U.S.C. § 271(b), “whoever actively induces infringement of a patent shall
12     be liable as an infringer.” 35 U.S.C. § 271(b). Liability for induced infringement under §
13     271(b) must be predicated on an underlying act of direct infringement. Eli Lilly & Co. v.
14     Teva Parenteral Medicines, Inc., 845 F.3d 1357, 1363–64 (Fed. Cir. 2017); see Nalco Co.
15     v. Chem-Mod, LLC, 883 F.3d 1337, 1355 (Fed. Cir. 2018) (“‘It is axiomatic that [t]here
16     can be no inducement or contributory infringement without an underlying act of direct
17     infringement.’” (quoting In re Bill of Lading Transmission & Processing Sys. Pat. Litig.,
18     681 F.3d 1323, 1333 (Fed. Cir. 2012))).
19            “The patentee must also show that the alleged infringer possessed the requisite intent
20     to induce infringement, which [the Federal Circuit] ha[s] held requires that the alleged
21     infringer ‘knew or should have known his actions would induce actual infringements.” Eli
22     Lilly, 845 F.3d at 1364 (quoting DSU Med. Corp. v. JMS Co., 471 F.3d 1293, 1304 (Fed.
23
24
       have a method of direct reprogramming.”).) As such, the relevant time period for
25     determining infringement under § 271(g) as to the asserted method patents is not when the
       iPSCs at issue were manufactured or when reprogramming was completed by. Rather, it
26
       is when Oct4 was specifically used during the manufacturing process. The only evidence
27     in the record shows that Oct4 was used prior to 2015. As such, this is an additional reason
       why Shoreline is entitled to summary judgment of no infringement under § 271(g) as to
28
       the Lonza line of iPSCs.

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 1     Cir. 2006) (en banc)). Mere knowledge of the possibility of infringement by others is
 2     insufficient; “specific intent and action to induce infringement must be shown.” HZNP
 3     Medicines LLC v. Actavis Lab’ys UT, Inc., 940 F.3d 680, 702 (Fed. Cir. 2019); see
 4     Warner–Lambert Co. v. Apotex Corp., 316 F.3d 1348, 1364 (Fed. Cir. 2003). “Inducement
 5     can be found where there is ‘[e]vidence of active steps taken to encourage direct
 6     infringement,’ which can in turn be found in ‘advertising an infringing use or instructing
 7     how to engage in an infringing use.’” Takeda Pharms. U.S.A., Inc. v. W.-Ward Pharm.
 8     Corp., 785 F.3d 625, 630–31 (Fed. Cir. 2015) (quoting Metro–Goldwyn–Mayer Studios
 9     Inc. v. Grokster, Ltd., 545 U.S. 913, 936 (2005)). “But such instructions need to evidence
10     ‘intent to encourage infringement.’” Id. at 631 (emphasis in original) (quoting Vita–Mix
11     Corp. v. Basic Holding, Inc., 581 F.3d 1317, 1329 (Fed. Cir. 2009)).
12           A.     Inducement to Infringe Under § 271(g)
13           To support their claims for induced infringement, Plaintiffs assert that Shoreline
14     induced the third-party iPSC suppliers to infringe under § 271(g). (Doc. No. 354 at 28; see
15     also Doc. No. 354-245, Ex. 37, Plath Expert Report ¶¶ 574-91.) The Court has granted
16     summary judgment of Plaintiffs’ § 271(g) claims and held that no reasonable jury could
17     find that the accused iPSC direct manufacturing processes at issue satisfy the Court’s claim
18     construction for the term “[makes/making/make] the [somatic] cell more susceptible to
19     reprogramming.” (See supra Section II.) As such, this theory of induced infringement fails
20     because there is no underlying direct infringement under § 271(g). See Eli Lilly, 845 F.3d
21     at 1363–64 (“liability for induced infringement under § 271(b) ‘must be predicated on
22     direct infringement’”); Nalco, 883 F.3d at 1355 (“‘It is axiomatic that [t]here can be no
23     inducement or contributory infringement without an underlying act of direct
24     infringement.’” (quoting Bill of Lading, 681 F.3d at 1333)). As such, the Court grants
25     summary judgment of Plaintiffs’ induced infringement claims to the extent they are based
26     on underlying acts of direct infringement under § 271(g).
27     ///
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 1           B.     Induced Infringement by Thermo Fisher
 2           In support of their claims for induced infringement, Plaintiffs also assert that
 3     Shoreline induced Thermo Fisher Scientific (“Thermo Fisher”) to infringe the asserted
 4     composition patents. (Doc. No. 354 at 28; see also Doc. No. 354-245, Ex. 37, Plath Expert
 5     Report ¶¶ 592-666.) Shoreline argues that it is entitled to summary judgment of these
 6     induced infringement claims because Plaintiffs’ evidence does not raise a triable issue of
 7     fact as to Shoreline’s knowledge of Thermo Fisher’s manufacturing process. (Doc. No.
 8     351 at 24-25.)
 9           In December 2021, Shoreline obtained four iPSC lines from Thermo Fisher. (Doc.
10     No. 351 at 5; see Doc. No. 354-22, Ex. 35.) Shoreline provided Thermo Fisher with two
11     types of somatic cells, and Thermo Fisher reprogrammed the cells into the four iPSC lines.
12     (See Doc. No. 351 at 5; Doc. No. 354-29, Ex. 42 at Rogge Depo. at 32, 37; Doc. No. 354-
13     24, Plath Expert Report ¶¶ 123-26.) This was a standard service that Thermo Fisher offered
14     to anyone. (Doc. No. 351-16, Ex. 15, Rogge Depo at 103; see Doc. No. 385 at 15, 38.)
15     The four iPSC lines were created using Thermo Fisher’s commercially available CytoTune
16     2.0 kit. (See Doc. No. 351 at 5; Doc. No. 354-24, Plath Expert Report ¶¶ 124, 127-63.)
17     Plaintiffs’ expert Dr. Plath opines that Thermo Fisher’s manufacturing of the iPSCs at issue
18     via the CytoTune 2.0 kit infringes the asserted composition patents. (See Doc. No. 354-
19     24, Ex. 37, Plath Expert Report ¶¶ 592-666.)
20           Plaintiffs assert that Shoreline possessed the requisite knowledge for induced
21     infringement because Shoreline knew of and instructed Thermo Fisher’s manufacturing of
22     iPSCs using the CytoTune 2.0 kit from the cells that Shoreline provided. (Doc. No. 354 at
23     29.) The evidence in the record shows that during the purchasing process, on July 7, 2021,
24     Mr. Huafeng Wang of Shoreline emailed Thermo Fisher and provided Thermo Fisher with
25     a paper entitled Hiramatsu et al., “An analysis of monocytes and dendritic cells
26     differentiated from human peripheral blood monocyte-derived induced pluripotent stem
27     cells,” Med. Mol Morphol. (“Hiramatsu”). (Doc. No. 354-22, Ex. 35 at p. 742.) In the
28     email, Mr. Wang stated: “We came across a paper using CytoTune 2.0 to generate iPSCs

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 1     from PB monocytes. It is attached here.” (Id.) In one sentence of the ten-page paper,
 2     Hiramatsu briefly discloses that “[c]ells were infected with the commercial Sendai virus
 3     vector CytoTune®-iPS 2.0 L” on culture day 2. (Id. (citing TFS_FATE_000238).) On
 4     July 21, 2021, Thermo Fisher request some information from Shoreline on “protocols on
 5     growth condition for the monocytes” and attached the Hiramatsu paper. (Doc. No. 354-
 6     24, Ex. 37, Plath Expert Report ¶ 124 (citing TFS_FATE_000136).) In response, Shoreline
 7     told Thermo Fisher that the Hiramatsu paper would be “ok to use . . . for our project.” (Id.
 8     (citing TFS_FATE_000134).)
 9           Viewing this evidence in the light most favorable to Plaintiffs, this evidence at best
10     shows that Shoreline knew that Thermo Fisher would use the CytoTune 2.0 kit to
11     manufacture the iPSCs at issue. But this evidence does not show that Shoreline knew of
12     the precise processes utilized by the CytoTune 2.0 kit, and there is no evidence in the record
13     showing that Shoreline ever instructed or directed Thermo Fisher to specifically use Oct4
14     during the manufacturing process for the iPSCs at issue. 13 Indeed, the unrebutted evidence
15     in the record demonstrates that the relevant actors at Shoreline did not know what the
16     CytoTune 2.0 kit is or how it works. (See Doc. No. 351-13, Ex. 12, Rodgers Depo. at 200-
17     201, 204 (“I do not know anything about the CytoTune 2.0 kit . . . .”); Doc. No. 351-3, Ex.
18     2, Cherok Depo. at 236-37, 336.) And, at the summary judgment hearing, Plaintiffs
19     conceded that the Hiramatsu paper does not “specifically say Oct4.” (Doc. No. 385 at 52.)
20     Further, the unrebutted evidence demonstrates that Shoreline did not know what
21     reprogramming factors Thermo Fisher was going to use to manufacture the iPSC line at
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23
       13
              It is important that there is no evidence in the record demonstrating that Shoreline
24
       specifically instructed or directed Thermo Fisher to use Oct4. As Plaintiffs conceded at
25     the hearing, the asserted composition patents do not claim a method of direct
       reprogramming. (Doc. No. 385 at 40.) Rather, they merely claim a somatic cell that has
26
       exogenous Oct4. (Id. at 40-41.) As such, in order for Plaintiffs to demonstrate the requisite
27     intent for their claims of induced infringement, they must specifically show that Shoreline
       took active steps to encourage the use of Oct4 with a somatic cell during the manufacturing
28
       process at issue. See Takeda, 785 F.3d at 630–31.

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 1     issue, and Shoreline did not give Thermo Fisher any direction of how to perform the
 2     reprogramming. (See Doc. No. 351-13, Ex. 12, Rodgers Depo. at 126, 129, 202-04; Doc.
 3     No. 351-3, Ex. 2, Cherok Depo. at 239, 336; Doc. No. 351-16, Ex. 15, Rogge Depo at 39-
 4     40, 103.) Plaintiffs have not provided the Court with any evidence to the contrary. As
 5     such, the undisputed evidence in the record demonstrates that Shoreline did not know what
 6     specific process or reprogramming factors Thermo Fisher was going to use to manufacture
 7     the iPSC line at issue. Thus, the evidence in the record is insufficient to demonstrate that
 8     Shoreline encouraged or had intent to encourage Thermo Fisher’s alleged infringement of
 9     the asserted composition patents. See Takeda, 785 F.3d at 630–31.
10           Plaintiffs assert that there is evidence in the record showing that prior to Shoreline
11     soliciting and purchasing the infringing iPSCs from Thermo Fisher, Dr. Kaufman used the
12     CytoTune 2.0 reprogramming kit and, thus, knew the reprogramming process entailed by
13     that kit. (Doc. No. 354 at 29 (citing Doc. No. 354-15, Kaufman Depo. at 81-86; Doc. No.
14     319-1, Ex. 45). But, even assuming this is true, this fact is of no consequence because
15     Plaintiffs do not identify any evidence in the record showing that Dr. Kaufman had any
16     involvement in the solicitation and purchase of the iPSCs at issue from Thermo Fisher.
17     (See also Doc. No. 385 at 39.) As such, Kaufman’s potential knowledge of the CytoTune
18     2.0 reprogramming process cannot be utilized to demonstrate that Shoreline induced
19     Thermo Fisher to infringe the asserted composition patents.
20           Plaintiffs also note that their technical expert, Dr. Plath, has explained that all
21     commercially available iPSCs, including those acquired by Shoreline, are made by
22     introducing exogenous Oct4 during the reprogramming process. (Doc. No. 354 at 29
23     (citing Doc. No. 354-24, Ex. 37, Plath Expert Report ¶¶ 109, 567-70).) But, at most, this
24     evidence demonstrates that Shoreline knew that it possible that Thermo Fisher might use
25     Oct4 during the iPSC manufacturing process. “[M]ere knowledge of possible infringement
26     by others does not amount to inducement; specific intent and action to induce infringement
27     must be proven.” Warner–Lambert, 316 F.3d at 1364; see Takeda, 785 F.3d at 630–31.
28     Again, there is no evidence in the record demonstrating that Shoreline ever instructed,

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 1     directed, or encouraged Thermo Fisher to specifically use Oct4 during the manufacturing
 2     process for the iPSCs at issue. As such, the evidence in the record is insufficient to
 3     demonstrate intent to induce infringement. See Takeda, 785 F.3d at 630–31.
 4           In sum, Plaintiffs have failed to present sufficient evidence to raise a triable issue of
 5     fact as to the required intent by Shoreline to support a claim for induced infringement based
 6     on Thermo Fisher’s manufacturing of the iPSCs at issue. See, e.g., Gammino v. Cellco
 7     P’ship, 527 F. Supp. 2d 395, 399 (E.D. Pa. 2007) (granting summary judgment of induced
 8     infringement claims and noting “nothing in this record suggests that [defendant]
 9     specifically intended for the local providers to infringe [plaintiff]’s patents. Rather, the
10     evidence indicates that [defendant] merely purchased call-blocking features in the normal
11     course of trade and left it to the providers of those features to ensure that their methods
12     complied with the patent laws”). As such, the Court grants summary judgment of
13     Plaintiffs’ claims for induced infringement under § 271(b).
14     IV.   Plaintiffs’ Claims for Direct Infringement Under 35 U.S.C. § 271(a)
15           In the operative complaint, Plaintiffs allege that Shoreline directly infringes the
16     asserted patents under 35 U.S.C. § 271(a). (Doc. No. 162, Supp. FAC ¶¶ 159-69, 192-204,
17     232-41, 264-76, 304-14, 337-49, 377-89.) Shoreline moves for summary judgment that it
18     does not directly infringe the asserted patents under § 271(a). (Doc. No. 351 at 27-28.)
19     Specifically, Shoreline argues that it is entitled to summary judgment of Plaintiffs’ § 271(a)
20     claims because it is undisputed that Shorelines does not reprogram somatic cells to iPSCs,
21     does not use iPSCs made by the claimed methods, and does not make or use the claimed
22     compositions. (Id. at 27.)
23           In response, Plaintiffs assert that based on Shoreline’s representations above, “there
24     is no activity to accuse of direct infringement.” (Doc. No. 354 at 32-33; see Doc. No. 385
25     at 22, 41.) Plaintiffs argue, therefore, there is nothing to adjudicate, and the Court should
26     deny Shoreline’s motion for summary judgment of the direct infringement claims under §
27     271(a) as moot. (Id.) As such, the Court denies Shoreline’s motion for summary judgment
28     of Plaintiffs’ claims for direct infringement under § 271(a) as moot.

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 1     V.     Plaintiffs’ Motion for Partial Summary Judgment
 2            Plaintiffs move for partial summary judgment regarding the underlying direct
 3     infringement of the ’369 Patent by ThermoFisher in support of their claim for induced
 4     infringement under § 271(b). (Doc. No. 352-14 at 1, 7-8.) In addition, Plaintiffs move for
 5     summary judgment of certain affirmative defenses and certain counterclaims that the
 6     asserted method claims are invalid under 35 U.S.C. §§ 101, 102, and 103. (Id. at 1-2, 8-
 7     15.)
 8            The Court has granted Defendants’ motion for summary judgment of all of
 9     Plaintiffs’ claims for patent infringement in this action, including Plaintiffs’ claims for
10     induced infringement under § 271(b). (See supra.) As a result, Plaintiffs’ motion for partial
11     summary judgment is now moot, and the Court denies the motion as moot.
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 1                                             Conclusion
 2           For the reasons above, the Court grants Shoreline’s motion for summary judgment
 3     of non-infringement, 14 and the Court denies Plaintiffs’ motion for partial summary
 4     judgment as moot. The Clerk of Court is directed to enter a judgment in favor of Defendant
 5     Shoreline and against Plaintiffs Fate and Whitehead and close the case. 15
 6           IT IS SO ORDERED.
 7     DATED: August 30, 2023
 8
                                                     MARILYN L. HUFF, District Judge
 9                                                   UNITED STATES DISTRICT COURT
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17     14
              In its motion, Shoreline also argues that the Court should grant summary judgment
18     of non-infringement for its use of the Lonza iPSC line because Shoreline’s use of the Lonza
       line falls within the safe harbor for activities reasonably related to FDA regulatory
19
       submissions. (Doc. No. 351 at 28-30.) Because the Court grants Shoreline’s motion for
20     summary judgment of non-infringement for the reasons above, the Court declines to
       address this additional basis for summary judgment by Shoreline.
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       15
              Along with their motions for summary judgment, Shoreline filed a Daubert motion
22
       to exclude the expert report of Plaintiffs’ damages expert Dr. Michael C. Keeley, and
23     Plaintiffs filed: (1) a motion to strike a certain witness, Dr. Behnam Ahmadian
       Baghbaderani; (2) a Daubert motion to exclude the opinions of Shoreline’s invalidity
24
       expert Dr. Martin F. Pera; (4) a Daubert motion to exclude the opinions of Shoreline’s
25     technical expert Dr. Evan Y. Snyder; and (5) a Daubert motion to exclude portions of the
       expert report of Shoreline’s damages expert Mr. Schoettelkotte. (Doc. Nos. 280, 281, 287,
26
       288, 291.) In light of the Court’s entry of a judgment in this action in favor of Shoreline
27     and against Plaintiffs, the Court denies these five motions as moot. In addition, the Court
       notes that this order does not cite to or rely on any of the testimony or opinions challenged
28
       in those Daubert motions and the motion to strike.

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                         CERTIFICATE OF SERVICE

      I hereby certify that on February 8, 2024, I electronically filed the foregoing

with the Clerk of the Court for the United States Court of Appeals for the Federal

Circuit using the Court’s CM/ECF system. Counsel for all parties to the case are

registered CM/ECF users and will be served by the CM/ECF system.



                                             /s/ Kevin P. Martin
                                             Kevin P. Martin
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                     CERTIFICATE OF COMPLIANCE

      This brief complies with the type-volume limitation of Federal Circuit Rule

32(b)(1) because, excluding the parts of the document exempted by Federal Rule of

Appellate Procedure 32(f) and Federal Circuit Rule 32(b)(2), it contains 12,593

words.

      This brief complies with the typeface requirements of Federal Rule of

Appellate Procedure 32(a)(5) and the type-style requirements of Federal Rule of

Appellate Procedure 32(a)(6) because it has been prepared using Microsoft Word

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February 8, 2024                           /s/ Kevin P. Martin
                                           Kevin P. Martin
